                                      Plaintiff’s Smith Master Exhibit List (04/27/2010)
Ex#      Date   Beg Bates                End Bates             Pages Description                                               Exhibit Source
PX0040          000006-85BAH-00046       000006-85BAH-00655      610 Medical Records: Baptist Hospital                         Smith Medical Records
PX0041          000006-82BAH-00001       000006-82BAH-00012       12 Medical Records: Baptist Hospital Pathology               Smith Medical Records
PX0042          000006-78BAH-00001       000006-78BAH-00033       33 Medical Records: Baptist Hospital Psychiatric             Smith Medical Records
PX0043          000006-52FMB-00007       000006-52FMB-00056       50 Medical Records: Berklacich, Frank MD                     Smith Medical Records
PX0044          000006-45BCB-00001       000006-45BCB-00097       97 Medical Records: Blue Cross Blue Shield of TN             Smith Medical Records
PX0045          SmithMED00002                                    149 Medical Records: Cato, James MD                           Smith Medical Records
PX0046          000006-36CMD-00051       000006-36CMD-00063       13 Medical Records: Centennial Medical Center                Smith Medical Records
PX0047          000006-64CMD-00064       000006-64CMD-00217      154 Medical Records: Centennial Medical Center                Smith Medical Records
PX0048          000006-68CMMS-00001      000006-68CMMS-00001      11 Medical Records: Centers for Medicare Medicaid Services   Smith Medical Records
PX0049          000006-48CRSA-00001      000006-48CRSA-00011      11 Medical Records: Colon & Rectal Surgery Associates        Smith Medical Records
PX0050          000006-126MAC-00001      000006-126MAC-00004       4 Medical Records: Crawford, Myles DC                       Smith Medical Records
PX0051          SmithMED00003                                      2 Medical Records: Eckerd Drug #3483 Pharmacy               Smith Medical Records
PX0052          000006-58ECK-00003       000006-58ECK-00006        4 Medical Records: Eckerd Drugs Pharmacy                    Smith Medical Records
PX0053          SmithMED00004                                      1 Medical Records: Eckerd Drugs Pharmacy                    Smith Medical Records
PX0054          000006-83MOM-00001       000006-83MOM-00005        5 Medical Records: Forensic Medical Autopsy                 Smith Medical Records
PX0055          SmithMED00006                                     19 Medical Records: Forensic Medical Autopsy                 Smith Medical Records
PX0056          SmithMED00007                                      1 Medical Records: Hampf, Carl MD                           Smith Medical Records
PX0057          000006-53CAH-00001       000006-53CAH-00025       25 Medical Records: Hampf, Carl MD                           Smith Medical Records
PX0058          000006-60CAH-00026       000006-60CAH-00028        3 Medical Records: Hampf, Carl MD                           Smith Medical Records
PX0059          000006-38WBH-00002       000006-38WBH-00009        8 Medical Records: Harwell, William B., Jr. MD              Smith Medical Records

PX0060          000006-39WBH-00010       000006-39WBH-00027       18 Medical Records: Harwell, William B., Jr. MD              Smith Medical Records
PX0061          000006-51HVC-00001       000006-51HVC-00004        4 Medical Records: Heart & Vascular Clinic                  Smith Medical Records
PX0062          000006-50HVC-00001       000006-50HVC-00016       16 Medical Records: Heart & Vascular Clinic                  Smith Medical Records
PX0063          000006-67HMA-00001       000006-67HMA-00001       36 Medical Records: Heritage Medical Associates              Smith Medical Records
PX0064          000006-42HMA-00076       000006-42HMA-00267      192 Medical Records: Heritage Medical Associates              Smith Medical Records
PX0065          SmithMED00008                                    168 Medical Records: Heritage Medical Associates              Smith Medical Records
PX0066          SmithMED00009                                     19 Medical Records: Heritage Medical Assocs                  Smith Medical Records
PX0067          000006-129HMA-00304      000006-129HMA-00312       9 Medical Records: Heritage Medical Assocs                  Smith Medical Records
PX0068          SmithMED00024                                      1 Medical Records: Heritage Medical Assocs                  Smith Medical Records
PX0069          SmithMED00010                                      2 Medical Records: Kaswinkel, Daryl MD                      Smith Medical Records

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                           Case 3:05-cv-00444 Document 184-1 Filed 04/28/10 Page 1 of 43 PageID #: 4425
Ex#      Date   Beg Bates              End Bates              Pages Description                                             Exhibit Source
PX0070          000006-47LVC-00001     000006-47LVC-00029        29 Medical Records: Loden Vision Center                    Smith Medical Records
PX0071          SmithMED00011                                    24 Medical Records: Mackey, Edward MD                      Smith Medical Records
PX0072          SmithMED00012                                     1 Medical Records: Mackey, Edward MD                      Smith Medical Records
PX0073          SmithMED00013                                     1 Medical Records: McCombs, Paul MD                       Smith Medical Records
PX0074          SmithMED00014                                   100 Medical Records: McCombs, Paul MD                       Smith Medical Records
PX0075          000006-130DPM-0001     000006-130DPM-0073        73 Medical Records: McCombs, Paul MD Howell Allen Clinic   Smith Medical Records
PX0076          000006-92MOM-00006     000006-92MOM-00024        19 Medical Records: Medical Examiner's Report              Smith Medical Records
PX0077          000006-121MMS-00001    000006-121MMS-00015       15 Medical Records: MOHS Surgery & Dermatology             Smith Medical Records
PX0078          SmithMED00015                                     7 Medical Records: Neurological Surgeons                  Smith Medical Records
PX0079          000006-77NEA-00001     000006-77NEA-00003         3 Medical Records: Neurosurgical Associates               Smith Medical Records
PX0080          000006-81NEA-00001     000006-81NEA-00004         4 Medical Records: Neurosurgical Associates               Smith Medical Records
PX0081          000006-63OAT-00004     000006-63OAT-00005         2 Medical Records: Otolaryngology Assoc of TN             Smith Medical Records
PX0082          000006-61OAT-00003                                1 Medical Records: Otolaryngology Assoc of TN             Smith Medical Records
PX0083          000006-120POS-00001    000006-120POS-00010       10 Medical Records: Premier Orthopedics                    Smith Medical Records
PX0084          000006-66SNUC-00070    000006-66SNUC-00078        9 Medical Records: Spalding & Nesbitt Urology Clinic      Smith Medical Records
PX0085          000006-62SNUC-00006    000006-62SNUC-00069       64 Medical Records: Spalding & Nesbitt Urology Clinic      Smith Medical Records
PX0086          SmithMED00016                                    10 Medical Records: Stasko, Thomas MD                      Smith Medical Records
PX0087          000006-69AQC-00001     000006-69AQC-00144       144 Medical Records: TN Orthopedic Alliance Medical         Smith Medical Records
PX0088          SmithMED00017                                    48 Medical Records: University Medical Center              Smith Medical Records
PX0089          000006-37UMC-00095     000006-37UMC-00097         3 Medical Records: University Medical Center              Smith Medical Records
PX0090          000006-35UMC-00045     000006-35UMC-00094        50 Medical Records: University Medical Center              Smith Medical Records
PX0091          000006-113UAS-00001    000006-113UAS-00032       32 Medical Records: Urology Associates                     Smith Medical Records
PX0092          000006-79VANPA-00001   000006-79VANPA-00004       4 Medical Records: Vanderbilt University Medical Center   Smith Medical Records
PX0093          000006-40VUM-00001     000006-40VUM-00013        13 Medical Records: Vanderbilt University Medical Center   Smith Medical Records
PX0094          SmithMED00005                                    56 Medical Records: Walgreens Pharmacy                     Smith Medical Records
PX0095          000006-135WAG-00001    000006-135WAG-00002        2 Medical Records: Walgreens Pharmacy                     Smith Medical Records
PX0096          000006-86CLW-00002     000006-86CLW-00009         8 Medical Records: Wood, Christopher DDS                  Smith Medical Records
PX0097          000006-128CLW-00010    000006-128CLW-00023       14 Medical Records: Wood, Christopher DDS                  Smith Medical Records
PX0100                                                               Smith Family Photos
PX0101          SmithMISC00018                                    1 Death Certificate                                       Smith Case Specific
PX0102          SmithMISC00019                                   29 Funeral Home Signature Book                             Smith Case Specific
PX0103          000006-84RAT-00001     000006-84RAT-00061        61 Internal Revenue Service                                Smith Case Specific

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Ex#      Date       Beg Bates                End Bates                Pages Description                                                           Exhibit Source
PX0104              SmithMISC00020                                        1 Letters Testamentary                                                  Smith Case Specific
PX0105              SmithMISC00021                                       27 Nashville Office Machines                                             Smith Case Specific
PX0106              000006-91MNP-00002       000006-91MNP-00016          15 Nashville Police Dept Report                                          Smith Case Specific
PX0107              SmithMISC00022                                        2 Obituary                                                              Smith Case Specific
PX0108                                                                        Smith Family DVD                                                    Smith Case Specific
PX0109              SmithMISC00023                                        1 Suicide note                                                          Smith Case Specific
PX0110                                                                        Call Notes                                                          Smith Case Specific
PX0111                                                                        Call Notes                                                          Smith Case Specific
PX0112                                                                        Samples                                                             Smith Case Specific
PX0113                                                                        XLS of McCombs NDC data                                             Smith Case Specific
PX0114                                                                        Call Notes                                                          Smith Case Specific
PX0115                                                                        Handwritten Notes on Medical Records by Smith                       Smith Case Specific
PX0116                                                                        Handwritten Notes on Medical Records by Smith                       Smith Case Specific
PX0117                                                                        Mackey CV                                                           Smith Case Specific
PX0118                                                                        Mackey Smith Records                                                Smith Case Specific
PX0119                                                                        Mackey Call Notes                                                   Smith Case Specific
PX0120                                                                        2004 Neurontin Label                                                Smith Case Specific
PX0121                                                                        Information                                                         Smith Case Specific
PX0122                                                                        1992 Clinical Review                                                Smith Case Specific
PX0123                                                                        Affidavit of David Franklin
PX0199              000006_96MNP_00010       000006_96MNP_00015           6 Metropolitan Police Department Homicide Unit Supplemental Report -     Depo Exhibit: Trimble, Michael
                                                                            Richard Smith                                                          9/3/2008 EX:023
PX2000                                                                   40 Warner-Lambert guilty plea in United States v. Warner Lambert dated    Pleading: Declaration of
                                                                            June 7, 2004                                                           Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0002
PX2001                                                                   15   Information in United States v. Warner Lambert, dated May 13, 2004 Pleading: Declaration of
                                                                                                                                                   Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0041
PX2002                                                                   54   Sentencing Memorandum of the United States                           Depo Exhibit: Grabowski,
                                                                                                                                                   Henry 1/21/2009 EX:009
PX2003              PFIZER_LALPHS_0084359    PFIZER_LALPHS_0084479      121   Division of Neuropharmacological Drug Products Combined Medical- Depo Exhibit: Marino, John
                                                                              Statistical Review NDA: 20-235, Indication: Adjunctive Medication in 7/3/2007 EX:029
                                                                              Refractory Partial Epilepsy
PX2004              PFIZER_CPACELLA0009404   PFIZER_CPACELLA0009421      18   Behavioural Disturbance with Gabapentin, Professor Michael Trimble Depo Exhibit: Trimble, Michael
                                                                                                                                                   10/19/2007 EX:024
PX2005              WLC_CBU_102999           WLC_CBU_103012              14   Michael Trimble, Psychosis with Gabapentin (1995);                   Pleading: Declaration of Scott
                                                                                                                                                   W. Slayer ESQ. (Su2D1160.pdf)
                                                                                                                                                   EX:0029
PX2006   20031014   PFIZER_CTAYLOR_0015442   PFIZER_CTAYLOR_0015444       3   RE: GABA and PMDD                                                    MISC


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Ex#      Date   Beg Bates                End Bates                Pages Description                                                            Exhibit Source
PX2007                                                                  FDA Advisory Committee meeting slide presentation by Dr. J Cramer      Expert Report: Gibbons002
                                                                        on July 10, 2008
PX2008                                                                  FDA. Joint Meeting of the Peripheral and Central Nervous System        Expert Report: Weiss Smith001
                                                                        Drugs Advisory Committee and the Psychopharmacologic Drugs             - Materials Considered
                                                                        Advisory Committee July 10,2008. Questions 2008-43 7b-01 -FDA-
                                                                        Katz.pdf At:
                                                                        http://www.fda.gov/ohrms/dockets/ac/O8/questions/2008-43
PX2009                                                               93 Background Package for July 10 Advisory Committee                      Depo Exhibit: Gibbons, Robert
                                                                                                                                               2/4/2009 EX:026
PX2010                                                                   Pfizer Lyrica & Neurontin slide presentation presented at FDA         Expert Report: Gibbons002
                                                                         Advisory Committee meeting on July 10, 2008.
PX2011                                                                   GlaxoSmithKline Lamictal slide presentation at FDA Advisory           Expert Report: Gibbons002
                                                                         Committee Meeting on July 10, 2008
PX2012                                                                   Katz R. Memorandum. Briefing Document for the July 10,2008 FDA        Expert Report: Weiss Smith001
                                                                         Advisory Committee Meeting to Discuss Antiepileptic Drugs (AEDs)      - Materials Considered
                                                                         and Suicidality. June 12, 2008
PX2014                                                                   Transcript of Joint Meeting of the Peripheral and Central Nervous     Expert Report: Ruggieri001
                                                                         System Drugs Advisory Committee and the Psychopharmacologic
                                                                         Drugs Advisory Committee July 10, 2008.
PX2015                                                                   Video of July 10, 2008 Advisory Committee Hearing                     MISC
PX2016                                                                   FDA Advisory Committee Meeting Briefing Documents dated July 10, Expert Report: Gibbons002
                                                                         2008:Katz LetterLevenson, M. Statistical Review & Evaluation:
                                                                         Antiepileptic Drugs & SuicidalityMentari, E Clinical Review
PX2017                                                                   FDA Alert May 5, 2009                                            MISC
PX2018                                                               12 FDA Letter to Sponsors 12/2008                                         Depo Exhibit: Weiss-Smith,
                                                                                                                                               Sheila 12/22/2008 EX:026
PX2019                                                                   Neurontin Label April 2009                                            MISC
PX2020                                                                   Disclosure of Information By David Franklin (Exhibit 3)               MISC
PX2021                                                                   Crone Notice to Admit 11/29/2006                                      MISC
PX2022                                                                   Crone Defendant Responses to Notice to Admit 2/5/2007                 MISC
PX2023                                                                   Crone Defendant Responses to Notice to Admit 7/31/2007                MISC
PX2024                                                                   Crone Defendant Responses to Notice to Admit 12/7/2007                MISC
PX2041                                                               45 Curriculum Vitae of Dr. Michael Robert Trimble                         Pleading: Declaration of
                                                                                                                                               Andrew Finkelstein
                                                                                                                                               (OppMIL1197.pdf) EX:0003
PX2046                                                               27 label for Neurontin (gabapentin capsules, tablets and oral solution)   Pleading: Declaration of
                                                                        distributed by Parke-Davis, Revised January 2007                       Andrew Finkelstein
                                                                                                                                               (OppMIL1197.pdf) EX:0011
PX2054          PFIZER_LCASTRO_0075642   PFIZER_LCASTRO_0075643       2 excepts of David J. Rowbotham, Clinical Expert Report and Written      Pleading: Declaration of
                                                                        Summary of Clinical Studies, Neuropathic Pain, Neurontin Capsules,     Andrew Finkelstein
                                                                        100 mg, Neurontin Capsules, 300 mg, Neurontin Capsules, 500 mg         (OppMIL1197.pdf) EX:0022
                                                                        (June, 1999)
PX2055          PFIZER_CTAYLOR_0005343   PFIZER_CTAYLOR_0005343       1 excepts from custodial file C. Taylor Gabapentin: Pharmacology         Pleading: Declaration of
                                                                        Written Summary                                                        Andrew Finkelstein
                                                                                                                                               (OppMIL1197.pdf) EX:0024
PX2061                                                                9 Gabapentin Data Capture Aid                                            Pleading: Declaration of
                                                                                                                                               Andrew Finkelstein
                                                                                                                                               (OppMIL1197.pdf) EX:0032

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                           Case 3:05-cv-00444 Document 184-1 Filed 04/28/10 Page 4 of 43 PageID #: 4428
Ex#      Date   Beg Bates                 End Bates                 Pages Description                                                              Exhibit Source
PX2067                                                                  2 Zoloft web site About Zoloff – How Zoloff Works                          Pleading: Declaration of
                                                                                                                                                   Andrew Finkelstein
                                                                                                                                                   (OppMIL1197.pdf) EX:0069
PX2073                                                                 16 excerpt of Food and Drug Administration, HHS, 21 CFR Ch. I (4-1-07       Pleading: Declaration of
                                                                          Edition) §201.57                                                         Andrew Finkelstein
                                                                                                                                                   (OppMIL1197.pdf) EX:0085
PX2078                                                                  2 Pfizer Global Research and Development Research Report No.: RR-          Pleading: Declaration of
                                                                          REG 720-30134 (November 28, 2001)                                        Andrew Finkelstein
                                                                                                                                                   (OppMIL1197.pdf) EX:0094
PX2079                                                                  1 Parke-Davis Pharmaceutical Research Division Memorandum from V.          Pleading: Declaration of
                                                                          Trudeau to R. DeJong (May 8, 1990)                                       Andrew Finkelstein
                                                                                                                                                   (OppMIL1197.pdf) EX:0095
PX2084          PFIZER_LCASTRO_0068012    PFIZER_LCASTRO_0068022       11 Defendant Lyrica Risk Management Committee Meeting, Power Point          Pleading: Declaration of
                                                                          of Rachel E. Sobel, Epidemiology and Risk Management (September          Andrew Finkelstein
                                                                          17, 2004)                                                                (OppMIL1197.pdf) EX:0105
PX2088                                                                  8 Curriculum Vitae of Cheryl D. Blume, Ph.D.                               Pleading: Declaration of
                                                                                                                                                   Andrew Finkelstein
                                                                                                                                                   (OppMIL1197.pdf) EX:0116
PX2089                                                                  5 United States Patent No. 4,910,023 (March 20, 1990)                      Pleading: Declaration of
                                                                                                                                                   Andrew Finkelstein
                                                                                                                                                   (OppMIL1197.pdf) EX:0118
PX2090                                                                 50 Declaration of Keith Altman (April 4, 2008)                              Pleading: Declaration of
                                                                                                                                                   Andrew Finkelstein
                                                                                                                                                   (OppMIL1197.pdf) EX:0120
PX2093          PFIZER_LALPHS_0084480     PFIZER_LALPHS_0084498        19 Cynthia G. McCormick, M.D., Division of Neuropharmacological             Pleading: Declaration of
                                                                          Drug Products, Review and Evaluation of Clinical Data (September 27,     Andrew Finkelstein
                                                                          1993)                                                                    (OppMIL1197.pdf) EX:0132
PX2103          PFIZER_LALPHS_0084627     PFIZER_LALPHS_0084703        77 FDA FOI Documents for Neurontin NDA Approval (July 28, 1994)             Pleading: Declaration of
                                                                                                                                                   Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0017
PX2105          NDA20235_SUB_001_0011     NDA20235_SUB_001_0011         1 page from the Neurontin NDA 20-235 which includes listing of patents     Pleading: Declaration of
                                                                                                                                                   Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0018
PX2106                                                                 11 portion of FDA's clinical review of Neurontin associated with the 2002   Pleading: Declaration of
                                                                          approval for post herpetic neuralgia (PHN) dated May 24, 2002. 23        Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0020
PX2107          RR 720-04305                                            2 portion of the Gabapentin Pediatric Integrated Summary of Safety         Pleading: Declaration of
                                                                          dated December 3, 1999                                                   Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0021
PX2109                                                                 11 Appendix C.55 of Pfizer’s Integrated Summary of Safety for the Post      Pleading: Declaration of
                                                                          Herpetic Neuralgia NDA dated August 6, 2001                              Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0023
PX2110                                                                  1 chart created under F.R.E 1006 entitled “Percentage of Serious Reports   Pleading: Declaration of
                                                                          for Suicidal and Self Injurious Behaviors(HLT) By Indication Group.”     Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0024
PX2111          PFIZER_MPATEL_0036447     PFIZER_MPATEL_0036448         2 Pfizer correspondence From Manini Patel of Pfizer to Russell Katz of     Pleading: Declaration of
                                                                          the FDA dated September 10, 2004                                         Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0026
PX2114          PFIZER_MEVERTSZ_0109461   PFIZER_MEVERTSZ_0109463       3 FDA letter from Russell Katz to Mary Ann Evertsz dated May 3, 2006       Pleading: Declaration of
                                                                                                                                                   Andrew Finkelstein
                                                                                                                                                   (OppMSJ1200.pdf) EX:0030
PX2115          PFIZER_LKNAPP_0062000     PFIZER_LKNAPP_0062002         3 memorandum from Maribeth Lazzaro, Ph.D. to Tina Carriero, dated          Pleading: Declaration of
                                                                          May 13, 2005                                                             Andrew Finkelstein

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                           Case 3:05-cv-00444 Document 184-1 Filed 04/28/10 Page 5 of 43 PageID #: 4429
Ex#      Date   Beg Bates                  End Bates                  Pages Description                                                              Exhibit Source
                                                                                                                                                     (OppMSJ1200.pdf) EX:0031
PX2118                                                                    3 pages from the transcript of the December 14, 1992 meeting of FDA’s      Pleading: Declaration of
                                                                            Peripheral and Central Nervous Systems Drugs Advisory Committee          Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0034
PX2123                                                                   37 FDA Approval Letter dated May 24, 2002                                   Pleading: Declaration of
                                                                                                                                                     Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0039
PX2127          PFIZER_LCASTRO_0085939     PFIZER_LCASTRO_0085941         3 letter from Lisa Stockbridge of FDA to Andrea Garrity of Pfizer, dated   Pleading: Declaration of
                                                                            June 29, 2001                                                            Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0043
PX2128                                                                    3 FDA alert concerning Gabitril dated February 18, 2005 printed from       Pleading: Declaration of
                                                                            the FDA website, www.fda.gov                                             Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0050
PX2129                                                                    2 portion of the product label for Avonex                                  Pleading: Declaration of
                                                                                                                                                     Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0051
PX2134          NDA21397_SUB1_002_0005     NDA21397_SUB1_002_0006         2 form 356h dated August 6, 2001 signed by Drusilla Scott                  Pleading: Declaration of
                                                                                                                                                     Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0058
PX2135                                                                    1 chart created under F.R.E 1006 entitled “Cumulative Percentage           Pleading: Declaration of
                                                                            Reports of Suicidal and Self Injurious behavior(HLT) for Neurontin vs.   Andrew Finkelstein
                                                                            Background of All Other Drugs”                                           (OppMSJ1200.pdf) EX:0059
PX2136                                                                    2 chart created under F.R.E 1006 entitled “High Level Terms Greater        Pleading: Declaration of
                                                                            that 1% of Serious Adverse Event Reports Through March 31, 2002          Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0060
PX2138          PFIZER_DKARGMAN_0002911    PFIZER_DKARGMAN_0002911       10 e-mail from Dennis Kargman, dated March 6, 2006, with Gabapentin         Pleading: Declaration of
                                                                            Data Capture Aid attached                                                Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0063
PX2145          PFIZER_CTAYLOR_0010853     PFIZER_CTAYLOR_0010853         1 portion of a PowerPoint Presentation entitled “Clinical Development in   Pleading: Declaration of
                                                                            the Slipstream of Gabapentin”                                            Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0073
PX2146          WLC_CBU_115732             WLC_CBU_115732                 1 portion of a document entitled “Neurontin Product Monograph.”            Pleading: Declaration of
                                                                                                                                                     Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0075
PX2151                                                                    7 memorandum from Paul Leber of FDA to Robert Temple of FDA,               Pleading: Declaration of
                                                                            dated December 13, 1993                                                  Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0082
PX2153          PFIZER_REGULATORY_000964   PFIZER_REGULATORY_000988      25 document entitled “Response to FDA Regarding Suicide and Suicide         Pleading: Declaration of
                                                                            Attempts in Neurontin (Gabapentin) Clinical Trials – Phase I studies”,   Andrew Finkelstein
                                                                            dated November 16, 2004 authored by Bruce Parsons                        (OppMSJ1200.pdf) EX:0087
PX2154                                                                    5 21. C.F.R. § 314.70. Ch. I (4-1-06 Edition)                              Pleading: Declaration of
                                                                                                                                                     Andrew Finkelstein
                                                                                                                                                     (OppMSJ1200.pdf) EX:0088
PX2159                                                                    4 portion of Appendix C.3. of Parke-Davis Research Report 720-02957        Pleading: Declaration of
                                                                            entitled “Narrative Summaries and Tabular Data for Study Participants    Andrew Finkelstein
                                                                            Who Withdrew Due To Adverse Events.”                                     (OppMSJ1200.pdf) EX:0101
PX2160          NDA21397_MISC_007_0067                                    1 "Annotated Labeling" from NDA 21-397 Vol 001                             Pleading: Declaration of
                                                                                                                                                     Andrew Finkelstein
                                                                                                                                                     (AGF_Su_Re.pdf) EX:0002
PX2169                                                                    8 FDA Manual of Policies and Procedures policy MAPP 6020.10 dated          Pleading: Declaration of
                                                                            July 2, 2003 concerning “Dear Health Care Professional” letter           Andrew G. Finkelstein
                                                                                                                                                     (AGF_Pre_SRe.pdf) EX:0001


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Ex#      Date   Beg Bates                   End Bates                  Pages Description                                                            Exhibit Source
PX2176          PFIZER_MEVERTSZ_0079951     PFIZER MEVERTSZ 0079969       18 Jeffrey Mohan, Gabapentin and Suicide (Mar. 14, 2006)                    Pleading: Declaration of Mary
                                                                                                                                                      Coronel (SuDo1159.pdf)
                                                                                                                                                      EX:0003
PX2191          PFIZER_BPARSONS_0141815     PFIZER_BPARSONS_0141816        2   Record of FDA Contact regarding NDA 20-235 (Apr. 26, 2004)             Pleading: Declaration of Mary
                                                                                                                                                      Coronel (MSJ1167.pdf)
                                                                                                                                                      EX:0018
PX2193          PFIZER_REGULATORY_000001    PFIZER_REGULATORY_000001       1   Email from Courtney Calder, Center for Drug Evaluation and Research Pleading: Declaration of Mary
                                                                               (FDA), to Molly Powers, Pfizer (Oct. 20,2005)                          Coronel (MSJ1167.pdf)
                                                                                                                                                      EX:0021
PX2194          PFIZER_REGULATORY_000002    PFIZER_REGULATORY_000002       1   Email from Courtney Calder, Center for Drug Evaluation and Research Pleading: Declaration of Mary
                                                                               (FDA), to Manini Patel, Pfizer (Oct. 27, 2005)                         Coronel (MSJ1167.pdf)
                                                                                                                                                      EX:0022
PX2195          PFIZER_REGULATORY_000031    PFIZER_REGULATORY_000032       2   Email from Manini Patel, Pfizer, to Courtney Calder, Center for Drug Pleading: Declaration of Mary
                                                                               Evaluation and Research (FDA) (Nov. 18,2005)                           Coronel (MSJ1167.pdf)
                                                                                                                                                      EX:0023
PX2196          PFIZER_MEVERTSZ_0128892     PFIZER_MEVERTSZ_0128918       26   letter from Mary Ann C. Evertsz, Pfizer, to Russell Katz, M.D., Center Pleading: Declaration of Mary
                                                                               for Drug Evaluation and Research (FDA) (with enclosed revised          Coronel (MSJ1167.pdf)
                                                                               Neurontin labeling only) (Dec. 21,2005)                                EX:0025
PX2224          RR 720-02957                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0002: 720-                  Pleading: ECF 1761 Declaration
                                                                               02957_(Official)                                                       of Ilyas Rona Exhibit EX:0002
PX2228                                                                         ECF 1761 Declaration of Ilyas Rona Exhibit 0007: 2008-4372b1-01-       Pleading: ECF 1761 Declaration
                                                                               FDA                                                                    of Ilyas Rona Exhibit EX:0007
PX2243          RR 720-03392                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0041: 720-                  Pleading: ECF 1761 Declaration
                                                                               03092_Investigators'_Brochure - Part 1                                 of Ilyas Rona Exhibit EX:0041
PX2247          WLC_FRANKLIN_0000199668                                        ECF 1761 Declaration of Ilyas Rona Exhibit 0048:                       Pleading: ECF 1761 Declaration
                                                                               WLC_FRANKLIN_0000199668                                                of Ilyas Rona Exhibit EX:0048
PX2324          RR 720-03908                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0156: 720-03908             Pleading: ECF 1761 Declaration
                                                                                                                                                      of Ilyas Rona Exhibit EX:0156
PX2329          RR 720-04130                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0162: 720-04130             Pleading: ECF 1761 Declaration
                                                                                                                                                      of Ilyas Rona Exhibit EX:0162
PX2332          RR 430-00125                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0167: 430-00125             Pleading: ECF 1761 Declaration
                                                                                                                                                      of Ilyas Rona Exhibit EX:0167
PX2342          PFIZER_LKNAPP_0050385                                          ECF 1761 Declaration of Ilyas Rona Exhibit 0178:                       Pleading: ECF 1761 Declaration
                                                                               PFIZER_LKNAPP_0050385                                                  of Ilyas Rona Exhibit EX:0178
PX2366          PFIZER_LESLIETIVE_0020631                                      ECF 1761 Declaration of Ilyas Rona Exhibit 0218:                       Pleading: ECF 1761 Declaration
                                                                               PFIZER_LESLIETIVE_0020631                                              of Ilyas Rona Exhibit EX:0218
PX2475          RR 720-03675                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0367: 720-                  Pleading: ECF 1761 Declaration
                                                                               03675_(Official)                                                       of Ilyas Rona Exhibit EX:0367
PX2476          RR 430-00124                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0368: 430-00124             Pleading: ECF 1761 Declaration
                                                                                                                                                      of Ilyas Rona Exhibit EX:0368
PX2477          RR 995-00070                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0369: 995-00070_945-        Pleading: ECF 1761 Declaration
                                                                               211_(Part_I)                                                           of Ilyas Rona Exhibit EX:0369
PX2487          RR 995-00057                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0380: 995-                  Pleading: ECF 1761 Declaration
                                                                               00057_(Official)                                                       of Ilyas Rona Exhibit EX:0380
PX2502          PFIZER_LKNAPP_0023336                                          ECF 1761 Declaration of Ilyas Rona Exhibit 0397:                       Pleading: ECF 1761 Declaration
                                                                               PFIZER_LKNAPP_0023336                                                  of Ilyas Rona Exhibit EX:0397
PX2535          RR 720-03779                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0435: 720-03779             Pleading: ECF 1761 Declaration
                                                                                                                                                      of Ilyas Rona Exhibit EX:0435
PX2543                                                                         ECF 1761 Declaration of Ilyas Rona Exhibit 0445: FDA Approved          Pleading: ECF 1761 Declaration
                                                                               Labeling Text dated February 2005                                      of Ilyas Rona Exhibit EX:0445
PX2571          RR 4301-00066                                                  ECF 1761 Declaration of Ilyas Rona Exhibit 0477: 4301-                 Pleading: ECF 1761 Declaration
                                                                               00066_(Official)                                                       of Ilyas Rona Exhibit EX:0477


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Ex#      Date   Beg Bates                   End Bates                   Pages Description                                                              Exhibit Source
PX2573          RR 995-00074                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0479: 995-00074_(p1-         Pleading: ECF 1761 Declaration
                                                                               366)                                                                    of Ilyas Rona Exhibit EX:0479
PX2574          RR 995-00085                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0480: 995-00085              Pleading: ECF 1761 Declaration
                                                                                                                                                       of Ilyas Rona Exhibit EX:0480
PX2743          RR 720-04378                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0663: 720-04378              Pleading: ECF 1761 Declaration
                                                                                                                                                       of Ilyas Rona Exhibit EX:0663
PX2744          RR 720-04483                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0664: 720-                   Pleading: ECF 1761 Declaration
                                                                               04483_(Official)                                                        of Ilyas Rona Exhibit EX:0664
PX2745          RR 720-04479                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0665: 720-04479              Pleading: ECF 1761 Declaration
                                                                                                                                                       of Ilyas Rona Exhibit EX:0665
PX2746          RR 720-04455                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0666: 720-04455              Pleading: ECF 1761 Declaration
                                                                                                                                                       of Ilyas Rona Exhibit EX:0666
PX2747          RR 720-04471                                                   ECF 1761 Declaration of Ilyas Rona Exhibit 0667: 720-04471              Pleading: ECF 1761 Declaration
                                                                                                                                                       of Ilyas Rona Exhibit EX:0667
PX2781          PFIZER_LESLIETIVE_0032603   PFIZER_LESLIETIVE_0032604       2 E-mail from Larry Alphs to John Marino re: National Public Radio-        Depo Exhibit: Alphs, Larry
                                                                              NEURONTIN Story to be aired TONIGHT                                      6/21/2007 EX:020
PX2784          FAL007604                   FAL007604                       2 E-mail from Christine Aschenbach to Allison Fannon, Larry Alphs,         Depo Exhibit: Alphs, Larry
                                                                              Angela Crespo, Steve Piron, Bruce Parsons, Ellen Dukes re: PSC           6/21/2007 EX:039
                                                                              Meeting Materials 1-15-03
PX2787          PFIZER_LESLIETIVE_0034178   PFIZER_LESLIETIVE_0034179       2 E-mail from Kirk Taylor to Leslie Tive & Timothy Hsu re: Professor       Depo Exhibit: Alphs, Larry
                                                                              Martin Koltzenburg question                                              6/22/2007 EX:047
PX2788          PFIZER_LESLIETIVE_0038763   PFIZER_LESLIETIVE_0038764       2 E-mail from Cathy Sigler to Leslie Tive re: Neurontin NPR Story-Med      Depo Exhibit: Alphs, Larry
                                                                              Info Q&A                                                                 6/22/2007 EX:050
PX2789                                                                      4 Presentation: Suicidality: The Problem and Emerging Solutions by         Depo Exhibit: Alphs, Larry
                                                                              Larry Alphs                                                              6/22/2007 EX:051
PX2790          PFIZER_LESLIETIVE_0041008   PFIZER_LESLIETIVE_0041017      10 E-mail from Larry Alphs to Cathy Sigler & Leslie Tive re: Robert         Depo Exhibit: Alphs, Larry
                                                                              Siegel, host; my critique of the NPR report                              6/22/2007 EX:B
PX2791                                                                      8 Division of Neuropharmacological Drug Products Review and                Depo Exhibit: Alphs, Larry
                                                                              Evaluation of Clinical Data, NDA 20-235                                  6/22/2007 EX:D
PX2798          UNREADABLE                  UNREADABLE                     59 Response to FDA Regarding Suicide and Suicide Attempt in Neurontin       Depo Exhibit: Arrowsmith-
                                                                              (gabapentin) Clinical Trials and Postmarketing Surveillance dated Sept   Lowe, Janet 1/24/2008 EX:008
                                                                              .9, 2004
PX2799          PFIZER_LKNAPP_0022176       PFIZER_LKNAPP_0022177           2 E-mail from Atul Pande to Lloyd Knapp re: GBP in Bipolar Disorder        Depo Exhibit: Arrowsmith-
                                                                                                                                                       Lowe, Janet 1/24/2008 EX:012
PX2806                                                                     12 Generic Dear Sponsor Letter re: new drug application                     Depo Exhibit: Arrowsmith-
                                                                                                                                                       Lowe, Janet 1/8/2009 EX:020
PX2808                                                                     45 Statistical Review and Evaluation Antiepileptic Drugs and Suicidality    Depo Exhibit: Arrowsmith-
                                                                                                                                                       Lowe, Janet 1/8/2009 EX:024
PX2810                                                                    240 Finkelstein Neurontin November 12, 2007                                  Depo Exhibit: Blume, Cheryl
                                                                                                                                                       11/12/2007 EX:005
PX2812                                                                     23 Guidance for Industry, Good Pharmacovigilance Practices and              Depo Exhibit: Blume, Cheryl
                                                                              Pharmacoepidemiologic Assessment March 2005                              11/12/2007 EX:009
PX2813                                                                      1 Chart of suicide and self-injurious behaviour                            Depo Exhibit: Blume, Cheryl
                                                                                                                                                       11/12/2007 EX:010
PX2818                                                                    194 Gabapentin Capsules 8.6 Integrated Summary of Safety Information         Depo Exhibit: Blume, Cheryl
                                                                                                                                                       11/13/2007 EX:019
PX2819                                                                    143 5-29-92 Application to Market a New Drug for Human Use or an             Depo Exhibit: Blume, Cheryl
                                                                              Antibiotic Drug for Human Use, Neurontin                                 11/13/2007 EX:020
PX2828          PFIZER_REGULATORY_000003    PFIZER_REGULATORY_000003        1 E-mail from Courtney Calder to Manini Patel re: proceeding with          Depo Exhibit: Blume, Cheryl
                                                                              minor labeling changes pertaining ro suicide-related events              11/13/2007 EX:032
PX2866          AET019862                   AET019881                      20 Gabapentin for acute and chronic pain (Review) The Cochrane              Depo Exhibit: Brodeur, Michael
                                                                              Collaboration                                                            7/1/2008 EX:024


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Ex#      Date   Beg Bates                 End Bates                 Pages Description                                                             Exhibit Source
PX2887          PFIZER_MBROWN_0001134     PFIZER_MBROWN_0001136         3 Rheumatology Orthopedic Neurology Team Challenges and                   Depo Exhibit: Brown, Mark
                                                                          Opportunities                                                           10/2/2007 EX:001
PX2898          PFIZER_CGLOVER_0002219    PFIZER_CGLOVER_0002220        2 E-mail from Tamela Martin to Louis Burke, Jefferson Campbell,           Depo Exhibit: Brown, Mark
                                                                          Jeffrey Dodd, Craig Glover, Edwin McDaries, Daniel Morgan, Nicole       10/2/2007 EX:012
                                                                          Parker, Henry Schaefer & Derrick Surratt re: NEU-0063569 Neurontin
                                                                          Medical Letter Issue 1180
PX2902          PFIZER_MBROWN_0000877     PFIZER_MBROWN_0000879         3 E-mail from Frederick Schmalberger to Stephen Sacchetti, Kurt           Depo Exhibit: Brown, Mark
                                                                          Phillips and Mark Brown re: NEU-0183019 New Gabapentin Article in       10/2/2007 EX:016
                                                                          Med Letter April 2004
PX2908          PFIZER_MBROWN_0000718     PFIZER_MBROWN_0000719         2 Agents of Change Journal Club Report, RON Specialty Representative:     Depo Exhibit: Brown, Mark
                                                                          Sean Chase, Meeting Month: June 2002                                    10/2/2007 EX:022
PX2910          PFIZER_MBROWN_0000615     PFIZER_MBROWN_0000615         1 Pfizer FYI only: Neurontin - Make it your #1 add on Therapy Start       Depo Exhibit: Brown, Mark
                                                                          with Efficacy End with Efficacy                                         10/2/2007 EX:024
PX2912          PFIZER_KBRETT_0002217     PFIZER_KBRETT_0002218         2 E-mail from Mark Brown re: phn notes, Summary notes from David          Depo Exhibit: Brown, Mark
                                                                          Fantini's team                                                          10/2/2007 EX:026
PX2919          PFIZER_SDOFT_0034317      PFIZER_SDOFT_0034318          2 E-mail from Mark Brown to Daniel Linden,Suzanne Doft, Tamela            Depo Exhibit: Brown, Mark
                                                                          Martin, Christopher Dowd and David Probert re: Topamax moving up        10/2/2007 EX:033
                                                                          with Neurologists
PX2921          PFIZER_DPROBERT_0016709   PFIZER_DPROBERT_0016710       2 NTN 2003 Operating Plan                                                   Depo Exhibit: Brown, Mark
                                                                                                                                                    10/2/2007 EX:035
PX2922          PFIZER_SDOFT_0010719      PFIZER_SDOFT_0010721          3   E-mail from Suzanne Doft to Shilpa Patel re: NEU-0020717 Neurontin Depo Exhibit: Brown, Mark
                                                                            Advisory Boards, first recommendation to the board                      10/2/2007 EX:036
PX2966          PFIZER_LKNAPP_0050019     PFIZER_LKNAPP_0050021         3   E-mail from Lloyd Knapp to Drusilla Scott, Atul Pande, Stephen          Depo Exhibit: Castro, Lucy
                                                                            Gracon, Byron Scott, Robert Michael Poole re: GDRC-Nerve                7/10/2007 EX:006
                                                                            Conduction Discussion
PX2970          PFIZER_LCASTRO_0004053    PFIZER_LCASTRO_0004054        2   E-mail from Marino Garcia to Angela Crespo, Michael Rowbotham,          Depo Exhibit: Castro, Lucy
                                                                            David Probert, John Marino, Joan Kaplan, Kenna Reehil, Valerie          7/10/2007 EX:010
                                                                            Flapan, Lucy Castro, Andrea Garrity, Meg Yoder, Leslie Tive, Robert
                                                                            Glanzman, John Krayacich, Nicky Towse, Steve Pomerantz re: Please
                                                                            read - Article: ""Emerging Therapies in Chronic Pain""
PX2971          PFIZER_LCASTRO_0007990    PFIZER_LCASTRO_0008004       15   E-mail from Meg Yoder to John Marino, Christine Grogan, Craig           Depo Exhibit: Castro, Lucy
                                                                            Glover, Suzanne Doft, Marino Garcia, Michael Rowbotham, David           7/10/2007 EX:011
                                                                            Probert, Allison Fannon, Steve Piron, Joan Kaplan, Angela Crespo,
                                                                            Leigh Anne Hemenway, Leslie Tive, Robert Glanzman, Elizabeth
                                                                            Mutisya, Lucy Castro, Valerie Flapan, John Krayacich re: 2002
                                                                            Neurontin Team Goals
PX2972          PFIZER_LCASTRO_0016712    PFIZER_LCASTRO_0016717        6   E-mail from Nancy Mancini to Lucy Castro, Daphne Nugent Laiken,         Depo Exhibit: Castro, Lucy
                                                                            Manini Patel re: Neurontin sales information needed                     7/10/2007 EX:012
PX2973          PFIZER_LCASTRO_0007518    PFIZER_LCASTRO_0007531       14   Presentation: Rationale for a Social Phobia Clinical Program with       Depo Exhibit: Castro, Lucy
                                                                            Neurontin,GDRC Meeting November 8, 2001                                 7/10/2007 EX:013
PX2982                                                                  4   Letter from Lisa Stockbridge, Ph.D, Regulatory Reviewer to Lucy         Depo Exhibit: Castro, Lucy
                                                                            Castro re: NDA #s 20-235, 20-882 Neurontin (gabapentin) MACMIS 7/11/2007 EX:025
                                                                            #10738, representations about Neurontin which are false or misleading
PX2983                                                                 14   Letter from Lisa Stockbridge, Ph.D, Regulatory Reviewer to Andrea       Depo Exhibit: Castro, Lucy
                                                                            Garrity re: NDA #s 20-235, 20-882 Neurontin (gabapentin) MACMIS 7/11/2007 EX:026
                                                                            #10174, a slim jim for Neurontin that is misleading and in violation of
                                                                            the Federal Food, Drug, and Cosmetic Act
PX2988          PFIZER_BPARSON_0155116    PFIZER_BPARSON_0155117        2   E-mail from Manini Patel to Rudolf Altevogt, Bruce Parsons, Lloyd       Depo Exhibit: Castro, Lucy
                                                                            Knapp, Ileen Roos, Larry Alphs, Lucy Castro, Claire Wohlhuter,          7/11/2007 EX:031
                                                                            Manfred Hauben, Paul Nitschmann, Robert Clark, Phyllis Christesen,
                                                                            Nicky Hall, Suzanne Doft, Stephen Cristo, Mary Kuskin re: FDA
                                                                            request for teleconference with Pfizer to discuss safety concerns with
                                                                            Neurontin

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Ex#      Date   Beg Bates                   End Bates                   Pages Description                                                              Exhibit Source
PX2994                                                                     20 Gabitril (tiagabine hydrochloride) Tablets, Feb. 2005 product labeling   Depo Exhibit: Castro, Lucy
                                                                              text                                                                     7/11/2007 EX:040
PX2998                                                                     16 Guidance for Industry, Adverse Reactions Section of Labeling for         Depo Exhibit: Castro, Lucy
                                                                              Human Prescription Drug and Biological Products - Content and            7/11/2007 EX:046
                                                                              Format, January 2006
PX3017          WLC_CBU_090238              WLC_CBU_090256                 19 Memo from Epilepsy Marketing Team re: Situation Analysis for             Depo Exhibit: Cavic, George
                                                                              Neurontin, replace with attached 5/29/96                                 9/26/2007 EX:017
PX3022          WLC_FRANKLIN_0000069499     WLC_FRANKLIN_0000069549        51 Memo from Edda Guerrero re: Neurontin Tactics Planning Meeting           Depo Exhibit: Cavic, George
                                                                                                                                                       9/27/2007 EX:024
PX3023          WLC_FRANKLIN_0000056596     WLC_FRANKLIN_0000056615        20 1997 National Strategies and Tactics                                     Depo Exhibit: Cavic, George
                                                                                                                                                       9/27/2007 EX:025
PX3042          WLC_FRANKLIN_0000045531     WLC_FRANKLIN_0000045549        19 Neurontin War Games Summary Report, April 3, 1996                        Depo Exhibit: Cheng, Clare
                                                                                                                                                       1/29/2008 EX:002
PX3049          WLC_FRANKLIN_0000173393     WLC_FRANKLIN_0000173450        58 Presentation: Toolbox Meeting, January 30, 1997                          Depo Exhibit: Cheng, Clare
                                                                                                                                                       1/29/2008 EX:009
PX3051          WLC_FRANKLIN_0000047983     WLC_FRANKLIN_0000047984         2 Memo from Clare Cheng & Carla Dago to A. Crook, J. Knoop, J.             Depo Exhibit: Cheng, Clare
                                                                              Rizzo, L. Ciancio, M. Friedman, S. Miller, D. Saltel, T. Albright re:    1/29/2008 EX:011
                                                                              Notes - Telefocus Group, Telefocus Group with high AED deciled
                                                                              neurologists held on August 14, 1996
PX3056          WLC_FRANKLIN_0000055066     WLC_FRANKLIN_0000055096        31 Neurontin gabapentin capsules New Hire Training, October 14, 1997       Depo Exhibit: Cheng, Clare
                                                                                                                                                      1/29/2008 EX:016
PX3057          WLC_FRANKLIN_0000112859     WLC_FRANKLIN_0000112883        25   1998 Neurontin Tactics, Prepard 7/30/97 by Cline, Davis & Mann        Depo Exhibit: Cheng, Clare
                                                                                                                                                      1/29/2008 EX:017
PX3065          WLC_CBU_083783              WLC_CBU_083799                 17   1999 Marketing Plan Neurontin                                         Depo Exhibit: Cheng, Clare
                                                                                                                                                      1/29/2008 EX:027
PX3068          MAC_E_0011587               MAC_E_0011629                  43   Neurontin 2003 Publications Plan Review of Capabilities and Strategic Depo Exhibit: Cooper, David
                                                                                Plan, September 2002                                                  12/20/2007 EX:001
PX3071          PFIZER_LESLIETIVE_0014685   PFIZER_LESLIETIVE_0014689       5   E-mail from Robert Glantzman to David Cooper, Allison Fannon,         Depo Exhibit: Cooper, David
                                                                                Angela Crespo, Bruce Parsons, David Probert, Suzanne Doft, Erica      12/20/2007 EX:004
                                                                                Johansson-Neil, Jeremy Mierop, Larry Alphs, Leslie Tive re:
                                                                                Australian Analysis of Refractory NeP in pivotal trials
PX3091          MAC_0000084                 MAC_0000086                     3   E-mail from David Cooper to Angela Crespo, Robert Glanzman, Sue       Depo Exhibit: Cooper, David
                                                                                Huang re: Backonja, proposed use of the non-peer reviewed IASP        12/20/2007 EX:025
                                                                                poster that MAC ghost-wrote along with the Neurontin PSC for Dr.
                                                                                Backonja
PX3111          WLC_FRANKLIN_0000056368     WLC_FRANKLIN_0000056384        17   Neurontin Market Overview                                             Depo Exhibit: DeSimone,
                                                                                                                                                      Christopher 10/1/2007 EX:008
PX3114          WLC_FRANKLIN_0000056218     WLC_FRANKLIN_0000056250        33   1998 Marketing Plan, Neurontin                                        Depo Exhibit: DeSimone,
                                                                                                                                                      Christopher 10/2/2007 EX:013
PX3118          WLC_CBU_090682              WLC_CBU_090684                  3   Handwritten Memo from Trevor Polischuk to Laura re: data useful for Depo Exhibit: DeSimone,
                                                                                Neurontin in neuropathic pain                                         Christopher 10/2/2007 EX:018
PX3120          WLC_CBU_092022              WLC_CBU_092025                  4   Memo from Lynne Fredericks re: Anticonvulsant Market New Patient Depo Exhibit: DeSimone,
                                                                                Starts - January 1999 Data                                            Christopher 10/2/2007 EX:020
PX3121          WLC_CBU_079871              WLC_CBU_079874                  4   Memo from Lynne Fredericks re: Anticonvulsant Market New Patient Depo Exhibit: DeSimone,
                                                                                Starts - April 1999 Data                                              Christopher 10/2/2007 EX:021
PX3122          MDL_VENDORS_007574          MDL_VENDORS_007577              4   Memo from Lynne Fredericks re: Anticonvulsant Market New Patient Depo Exhibit: DeSimone,
                                                                                Starts - June 1999 Data                                               Christopher 10/2/2007 EX:022
PX3123          MDL_VENDORS_007578          MDL_VENDORS_007594             17   New Prescriptions Chart                                               Depo Exhibit: DeSimone,
                                                                                                                                                      Christopher 10/2/2007 EX:023
PX3124          MDL_VENDORS_007595          MDL_VENDORS_007624             30   Neurontin: 1999 Situation Analysis                                    Depo Exhibit: DeSimone,
                                                                                                                                                      Christopher 10/2/2007 EX:024
PX3129          PFIZER_SDOFT_0010403        PFIZER_SDOFT_0010431           29   E-mail from Suzanne Doft to XTEC Media re: NEU-0020634                Depo Exhibit: Doft, Suzanne
                                                                                Employer Ad Bd Slides                                                 6/12/2007 EX:003

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Ex#      Date   Beg Bates                   End Bates                      Pages Description                                                            Exhibit Source
PX3133          PFIZER_SDOFT_0003454        PFIZER_SDOFT_0003459               6 Suzanne Doft, Individual Development Plan                              Depo Exhibit: Doft, Suzanne
                                                                                                                                                        6/12/2007 EX:006
PX3134          PFIZER_SDOFT_0002465        PFIZER_SDOFT_0002527              63 Presentation: Incremental Market Potential With An FDA Approved        Depo Exhibit: Doft, Suzanne
                                                                                 Indication for Neuropathic Pain                                        6/12/2007 EX:007
PX3135          PFIZER_SDOFT_0002862        PFIZER_SDOFT_0002962             101 Presentation: Neuropathic Pain Positioning Strategy Research-Final     Depo Exhibit: Doft, Suzanne
                                                                                 Results from the U.S.                                                  6/13/2007 EX:008
PX3136          PFIZER_SDOFT_0005463        PFIZER_SDOFT_0005466               4 Suzanne Doft, Neurontin Marketing Team Draft, 2002 Personal Goals      Depo Exhibit: Doft, Suzanne
                                                                                                                                                        6/13/2007 EX:009
PX3138          PFIZER_SDOFT_0052466        PFIZER_SDOFT_0052541              76 Neurontin, Neuropathic Pain Issues in the Workplace, Meeting Report    Depo Exhibit: Doft, Suzanne
                                                                                                                                                        6/13/2007 EX:013
PX3143          PFIZER_SDOFT_0067075        PFIZER_SDOFT_0067075               1 E-mail from John Marino re:NEU-0006528 OP2002 Review                   Depo Exhibit: Doft, Suzanne
                                                                                                                                                        6/13/2007 EX:018
PX3145          PFIZER_SDOFT_0068277        PFIZER_SDOFT_0068322              46 Presentation: Neurontin/Pregabalin Strategic Priorities Discussion,    Depo Exhibit: Doft, Suzanne
                                                                                 June 10, 2003                                                          6/13/2007 EX:020
PX3153          PFIZER_SDOFT_0069755        PFIZER_SDOFT_0069759               5 E-mail from Clare Kennedy to Suzanne Doft, Joe Butera, David           Depo Exhibit: Doft, Suzanne
                                                                                 Probert, Avanish Mishra, Andrea Zeuschner re: Lost revenue in Top 3    6/13/2007 EX:033
                                                                                 PBM Mail order
PX3156          PFIZER_SDOFT_0050578        PFIZER_SDOFT_0050591              15 Presentation: Neurontin, Performance, Market Overview,                 Depo Exhibit: Doft, Suzanne
                                                                                 Opportunities/Strategies, Medical Platform, Finances                   6/13/2007 EX:037
PX3157          FAL007964                   FAL007966                          3 E-mail from Angela Crespo to Christine Aschenbach, Allison Fannon      Depo Exhibit: Doft, Suzanne
                                                                                 re: Reckless contact information                                       6/13/2007 EX:038
PX3161          PFIZER_MPATEL_0131638       PFIZER_MPATEL_0131642              5 E-mail from Larry Alphs re: Neurontin in the WSJ and NY Times          Depo Exhibit: Dowd,
                                                                                 Today - December 20, 2002                                              Christopher 9/14/2007 EX:001
PX3165          PFIZER_CDOWD_0000043        PFIZER_CDOWD_0000098              56 E-mail from Timothy Hylan to Lois Fitton, Richard O'Sullivan, Steve    Depo Exhibit: Dowd,
                                                                                 Romano, Jim Sage, Christopher Dowd re: NEU-0085355 Some                Christopher 9/14/2007 EX:005
                                                                                 information on Neurontin, some discusses bipolar
PX3166          PFIZER_LKNAPP_0071138       PFIZER_LKNAPP_0071147             10 E-mail from Claire Wohlhuter to Lloyd Knapp re: Q&A Backgrounder       Depo Exhibit: Dowd,
                                                                                 on suicide issue for distribution to PD2, Vista RX and Neurology       Christopher 9/14/2007 EX:006
PX3179          PFIZER_EDUKES_0022802       PFIZER_EDUKES_0022819             18 Draft: 2003 Unabridged Neurontin Medical Operating Plan, July 16,      Depo Exhibit: Dukes, Ellen
                                                                                 2002                                                                   6/28/2007 EX:014
PX3198          PFIZER_AFANNON_0002969      PFIZER_AFANNON_0003021_00030      54 2003 Neurontin Strategic and Tactical Planning Meeting July 31, 2002   Depo Exhibit: Dukes, Ellen
                                            23                                                                                                          6/29/2007 EX:036
PX3199          PFIZER_LESLIETIVE_0015410   PFIZER_LESLIETIVE_0015416          7   Memo from Cynthia de Luise re: Neurontin Product Maintenance and Depo Exhibit: Dukes, Ellen
                                                                                   Pharmacovigilance (PMP) Team Meeting Minutes (17 January 2002) 6/29/2007 EX:038
PX3209          PFIZER_RGLANZMAN_0090432 PFIZER_RGLANZMAN_0090570            139   Presentation: Neurontin 2001 U. S. Operating Plan, October 11, 2000 Depo Exhibit: Fannon, Allison
                                                                                                                                                        6/19/2007 EX:009
PX3210          PFIZER_LESLIETIVE_0003556   PFIZER_LESLIETIVE_0003573         18   Presentation: Neurontin Global Operating Plan 2001                   Depo Exhibit: Fannon, Allison
                                                                                                                                                        6/19/2007 EX:010
PX3211          PFIZER_LKNAPP_0038962       PFIZER_LKNAPP_0038987             26   Neurontin Publication Planning Meeting July 12, 2001                 Depo Exhibit: Fannon, Allison
                                                                                                                                                        6/19/2007 EX:011
PX3277                                                                        77   Parke-Davis Pharmaceutical Research Division Research Report No.     Depo Exhibit: Furberg, Curt
                                                                                   RR-X 720-02455 Titled: Investigator's Brochure - Gabapentin (CI-945) Daniel 3/11/2009 EX:003
                                                                                   Dated: 4/28/89
PX3278                                                                       104   Parke-Davis Pharmaceutical Research Division Research Report No.     Depo Exhibit: Furberg, Curt
                                                                                   RR-X 720-03092 Titled: Investigator's Brochure - Gabapentin (CI-945) Daniel 3/11/2009 EX:004
                                                                                   Dated: 5/21/92
PX3279                                                                        23   Parke-Davis Pharmaceutical Research Division Research Report No.     Depo Exhibit: Furberg, Curt
                                                                                   RR-X 720-03362 Titled: Investigator's Brochure for Neurontin-        Daniel 3/11/2009 EX:005
                                                                                   Gabapentin (CI-945) For Studies Conducted in the United States
                                                                                   Dated: 4/19/94
PX3280                                                                        39   Parke-Davis Pharmaceutical Research Division Research Report No.     Depo Exhibit: Furberg, Curt
                                                                                   RR-X 720-03381 Titled: Investigator's Brochure for Neurontin-        Daniel 3/11/2009 EX:006
                                                                                   Gabapentin (CI-945) For Studies Conducted in the United States

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Ex#      Date   Beg Bates                  End Bates                      Pages Description                                                          Exhibit Source
                                                                                 Dated: 5/31/94
PX3294          PFIZER_AGARRITY_0000618    PFIZER_AGARRITY_0000619            2 E-mail from Andrea Garrity to Lucy Castro, Manini Patel re: Policy on Depo Exhibit: Garrity, Andrea
                                                                                reprints/Washington Legal Foundation Ruling                           6/19/2007 EX:015
PX3296          PFIZER_AGARRITY_0009938    PFIZER_AGARRITY_0009943            6 E-mail from Joe Feczko re: Neurontin, promotion and marketing         Depo Exhibit: Garrity, Andrea
                                                                                                                                                      6/19/2007 EX:017
PX3297          PFIZER_AGARRITY_0004556    PFIZER_AGARRITY_0004571           15 E-mail from John Marino re: DPC Neurontin - Final                     Depo Exhibit: Garrity, Andrea
                                                                                                                                                      6/19/2007 EX:018
PX3303          PFIZER_AGARRITY_0002142    PFIZER_AGARRITY_0002142            1 E-mail from John Wolleben to Lucy Castro, Martha Brumfield,           Depo Exhibit: Garrity, Andrea
                                                                                Andrew Clair, Andrea Garrity re: Neurontin NOV                        6/19/2007 EX:025
PX3304          PFIZER_AGARRITY_0002730    PFIZER_AGARRITY_0002741_0002       6 Summary of Spontaneous Post-Marketing Reports for Gabapentin, as Depo Exhibit: Garrity, Andrea
                                           745                                  of December 31, 2000                                                  6/20/2007 EX:027
PX3309          PFIZER_AGARRITY_0001851    PFIZER_AGARRITY_0001913           63 E-mail from Lucy Castro to Valerie Flapan, Andrea Garrity re:         Depo Exhibit: Garrity, Andrea
                                                                                Neurontin Major Markets Business Plan                                 6/20/2007 EX:033
PX3316                                                                       38 Center for Drug Evaluation and Research, Application 21-397, 21-423, Depo Exhibit: George, Timothy
                                                                                21-424 Approval Letter                                                6/21/2007 EX:007
PX3343                                                                       31 Assessment of Suicide and Related Behaviors in Patients Treated with Depo Exhibit: Gibbons, Robert
                                                                                the -Ligands, Gabapentin and Pregabalin, April 29, 2008               2/3/2009 EX:016
PX3344          PFIZER_REGULATORY_000510   PFIZER_REGULATORY_000936_00       24 Letter from Mary Ann Coronel Evertsz,RPh to Russell Katz, MD re:      Depo Exhibit: Gibbons, Robert
                                           0954                                 Neurontin (gabapentin) capsules NDA 20-235, Neurontin (gabapentin) 2/3/2009 EX:017
                                                                                tablets NDA 20-882, Neurontin (gabapentin) oral solution NDA 21-
                                                                                129, Request for Information - Response to FDA suicidality
PX3345                                                                        7 Letter from Molly Powers to Russell Katz re: NDA 21-446-Lyrica        Depo Exhibit: Gibbons, Robert
                                                                                (pregabalin) Capsules C-V, Request for Information - Response to      2/3/2009 EX:018
                                                                                FDA Suicidality Request
PX3347                                                                       21 The Relationship Between Antiepileptics and Suicide Attempts          Depo Exhibit: Gibbons, Robert
                                                                                                                                                      2/3/2009 EX:020
PX3351                                                                        3 Chart: Columns titled Trial, Eposure Days, etc.                       Depo Exhibit: Gibbons, Robert
                                                                                                                                                      2/4/2009 EX:024
PX3352                                                                       21 Robert Gibbons invoices to Wheeler Trigg and Kenedy LLP               Depo Exhibit: Gibbons, Robert
                                                                                                                                                      2/4/2009 EX:025
PX3354                                                                        7 Chart: All Diags for Bipolar                                          Depo Exhibit: Gibbons, Robert
                                                                                                                                                      2/4/2009 EX:028
PX3373                                                                        4 SAS Output                                                            Depo Exhibit: Gibbons, Robert
                                                                                                                                                      3/5/2009 EX:048
PX3385                                                                       56 Presentation: Statistical Issues in Drug Safety: The curious case of  Depo Exhibit: Gibbons, Robert
                                                                                Antidepressants, Anticonvulsants,…, and Suicide                       3/5/2009 EX:059
PX3402          PFIZER_RGLANZMAN_0004287 PFIZER_RGLANZMAN_0004289             3 E-mail from Robert Glanzman re: Neurontin Product Profiles            Depo Exhibit: Glanzman, Robert
                                                                                                                                                      8/1/2007 EX:012
PX3404          PFIZER_RGLANZMAN_0035401 PFIZER_RGLANZMAN_0035422            22 Presentatin dated May 23, 2001                                        Depo Exhibit: Glanzman, Robert
                                                                                                                                                      8/1/2007 EX:015
PX3410          PFIZER_RGLANZMAN_0106496 PFIZER_RGLANZMAN_0106503             8 Presentation: Roles and Responsiblities for Manuscript Teams          Depo Exhibit: Glanzman, Robert
                                                                                                                                                      8/1/2007 EX:022
PX3412          PFIZER_RGLANZMAN_0170204 PFIZER_RGLANZMAN_0170214            11 Key Message Sign-Off Sheet - Neurontin Publication Plan Key           Depo Exhibit: Glanzman, Robert
                                                                                Messages                                                              8/1/2007 EX:024
PX3436          PFIZER_RGLANZMAN_0065528 PFIZER_RGLANZMAN_0065528             1 E-mail from John Marino re: Neurontin Overdose Reported               Depo Exhibit: Glanzman, Robert
                                                                                                                                                      8/2/2007 EX:052
PX3437          PFIZER_RGLANZMAN_0071542 PFIZER_RGLANZMAN_0071544             3 E-mail from Robert Glanzman to John Marino re: Neurontin Overdose Depo Exhibit: Glanzman, Robert
                                                                                Reported                                                              8/2/2007 EX:053
PX3438          PFIZER_RGLANZMAN_0033743 PFIZER_RGLANZMAN_0033747             5 E-mail from Robert Glanzman re: Post Herpetic Neuralgia               Depo Exhibit: Glanzman, Robert
                                                                                                                                                      8/2/2007 EX:054
PX3439          PFIZER_RGLANZMAN_0023036 PFIZER_RGLANZMAN_0023036             1 E-mail from Robert Glanzman re: Neurontin News, the data in bipolar Depo Exhibit: Glanzman, Robert
                                                                                disease with gabapentin isn't very good                               8/2/2007 EX:055

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Ex#      Date   Beg Bates                   End Bates                   Pages Description                                                             Exhibit Source
PX3442          PFIZER_RGLANZMAN_0148233 PFIZER_RGLANZMAN_0148241           9 Mechanisms of action: A Guide for Sales Colleagues                       Depo Exhibit: Glanzman, Robert
                                                                                                                                                       8/2/2007 EX:058
PX3450          PFIZER_RGLANZMAN_0141301 PFIZER_RGLANZMAN_0141303           3   NTN 2003 Operating Plan, Strategies and Tactics                        Depo Exhibit: Glanzman, Robert
                                                                                                                                                       8/2/2007 EX:066
PX3461          PFIZER_RGLANZMAN_0141302 PFIZER_RGLANZMAN_0141303           3   NTN 2003 Operating Plan - Strategies and Tactics                       Depo Exhibit: Grabowski,
                                                                                                                                                       Henry 1/21/2009 EX:015
PX3462          PFIZER_JMARINO_0002350      PFIZER_JMARINO_0002379         30   Neurontin: 2001 Situation Analysis                                     Depo Exhibit: Grabowski,
                                                                                                                                                       Henry 1/21/2009 EX:016
PX3463          WLC_CBU_057865              WLC_CBU_057873                  9   Letter from Lesley Frank to William Merino re: Parke-Davis promoting Depo Exhibit: Grabowski,
                                                                                Neurontin for ""off-label"" uses                                       Henry 1/21/2009 EX:017
PX3469                                                                     11   FAX from Laura Governale to Robin Ditts re: Neurontin Meeting          Depo Exhibit: Grabowski,
                                                                                Minutes                                                                Henry 1/21/2009 EX:028
PX3470          PFIZER_CGROGAN_0027897      PFIZER_CGROGAN_0027920         24   Presentation: SE CBU 1T 2000                                           Depo Exhibit: Grogan, Christina
                                                                                                                                                       6/25/2007 EX:001
PX3484                                                                     42   Corporate Integrity Agreement betweent the Office of Inspector         Depo Exhibit: Grogan, Christina
                                                                                General of the Deparment of Health and Human Services and Pfizer       6/26/2007 EX:018
PX3520          MDL_VENDORS_059152          MDL_VENDORS_059161             10   Letter from Paula Trushin to James Jefferson re: article               Depo Exhibit: Gutierrez, Ruben
                                                                                ""Benzodiazepines and Anticonvulsants for Social Anxiety Disorder      10/10/2007 EX:019
                                                                                (Social Phobia)""
PX3521                                      MDL_VENDORS_058938              2   Letter from James Jefferson to Jane Byun re: ""Benzodiazepines and     Depo Exhibit: Gutierrez, Ruben
                                                                                Anticonvulsants for Social Anxiety Disorder (Social Phobia)""          10/10/2007 EX:020
PX3538                                                                    702   Neurontin U.S. Market Update November 2000                             Depo Exhibit: Hartman,
                                                                                                                                                       Raymond 6/26/2008 EX:007
PX3551                                                                      4   21 CRF (4-1-06 Edition), Change in ownership of an application         Depo Exhibit: Hauben, Manfred
                                                                                                                                                       7/13/2007 EX:006
PX3554                                                                    177   Periodic Safety Update Report for: Gabapentin, August 1, 1998 -        Depo Exhibit: Hauben, Manfred
                                                                                January 31, 1999                                                       7/13/2007 EX:012
PX3556          PFIZER_REGULATORY_000484    PFIZER_REGULATORY_000485        2   request for additional trail-level information pertaining analysis of  Depo Exhibit: Hauben, Manfred
                                                                                suicidal thoughts and behavior in anti-epileptic drugs                 7/13/2007 EX:014
PX3557          PFIZER_LALPHS_0084680       PFIZER_LALPHS_0084687           8   Division of Neuropharmacological Drug Products Combined Medical- Depo Exhibit: Hauben, Manfred
                                                                                Statistical Review, NDA: 20-235, Indication: Refractory Partial        7/13/2007 EX:015
                                                                                Epilepsy
PX3594                                                                     13   Letter from Russell Katz to Robert Clark re: safety labeling changes   Depo Exhibit: Jacobs, Douglas
                                                                                                                                                       1/15/2009 EX:002
PX3608          PFIZER_LESLIETIVE_0001830   PFIZER_LESLIETIVE_0001878      49   Presentation: Neurontin by Leslie Tive                                 Depo Exhibit: Kerrick-Walker,
                                                                                                                                                       Jill 7/10/2007 EX:014
PX3617          PFIZER_RGLANZMAN_0046614 PFIZER_RGLANZMAN_0046615           2   E-mail from Robert Glanzman to Jill Kerrick-Walker re: GBP and         Depo Exhibit: Kerrick-Walker,
                                                                                mood                                                                   Jill 7/10/2007 EX:023
PX3637          PFIZER_LCASTRO_0015324      PFIZER_LCASTRO_0015330          7   Memo from Cynthia de Luise re: Neurontin PMP Team Meeting (09          Depo Exhibit: Knapp, Lloyd
                                                                                May 2001) Minutes                                                      6/27/2007 EX:006
PX3651          PFIZER_LCASTRO_0073451      PFIZER_LCASTRO_0073454          4   Fax from Lisa Stockbridge to Andrea Garrity re: NDA #21-129            Depo Exhibit: Knapp, Lloyd
                                                                                Neurontin (gabapentin) Oral Solution, MACMIS #9821, comments on 6/28/2007 EX:030
                                                                                proposed launch promotional materials for the pediatric indication for
                                                                                Neurontin oral solution
PX3653          PFIZER_LKNAPP_0137046       PFIZER_LKNAPP_0137084          38   E-mail from Drusilla Scott re: Agency version of Neurontin Label       Depo Exhibit: Knapp, Lloyd
                                                                                (action date of 4/24/02 targeted) Emergency meeting of LSC             6/28/2007 EX:032
PX3678          WLC_FRANKLIN_0000112201     WLC_FRANKLIN_0000112230        30   E-mail from Clare Cheng to A. Crook re: Neurontin 1997 Tactical Plan Depo Exhibit: Knoop, John
                                                                                                                                                       1/24/2008 EX:028
PX3683          WLC_CBU_092879              WLC_CBU_092934                 56   Neurontin (gabapentin) Program Overview, Feb. 23, 1999                 Depo Exhibit: Knoop, John
                                                                                                                                                       1/24/2008 EX:037
PX3724                                                                      3   Research Report titled: An Iterim Report on an Open-Label,             Depo Exhibit: Kruszewski,
                                                                                Uncontrolled, Multicenter Study to Determine the Long Term Safety      Stefan 12/7/2007 EX:030
                                                                                and Efficacy of Gabapentin (CI-945) Administered as Monotherapy or

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Ex#      Date   Beg Bates                   End Bates                   Pages Description                                                           Exhibit Source
                                                                                in Combination with Other Antiepileptic Drugs in Patients with
                                                                                Medically Uncontrolled Partial or Generalized Epileptic Seizures
PX3729                                                                      2   Research Report: Integrated Summary of Safety Information of          Depo Exhibit: Kruszewski,
                                                                                Gabapentin Capsules (Item 8.6 of the gabapentin NDA)                  Stefan 12/7/2007 EX:036
PX3747          PFIZER_LESLIETIVE_0013908   PFIZER_LESLIETIVE_0013937      30   Presentation: Neurontin OP Presentation Market Analytics Review,      Depo Exhibit: Mancini, Nancy
                                                                                Nancy Mancini, May 1, 2001                                            7/9/2007 EX:002
PX3748          PFIZER_LESLIETIVE_0015418   PFIZER_LESLIETIVE_0015424       7   Memo from Cynthia de Luise re: Draft: Neurontin PMP Team Meeting      Depo Exhibit: Mancini, Nancy
                                                                                (09 May 2001) Minutes                                                 7/9/2007 EX:003
PX3750          PFIZER_NMANCINI_0006296     PFIZER_NMANCINI_0006297         2   E-mail from Nancy Mancini to Avanish Mishra re: Update request,       Depo Exhibit: Mancini, Nancy
                                                                                NTN's uses by indication                                              7/9/2007 EX:005
PX3764          PFIZER_NMANCINI_0003737     PFIZER_NMANCINI_0003780        44   Presentation: Market Analytic Update                                  Depo Exhibit: Mancini, Nancy
                                                                                                                                                      7/10/2007 EX:019
PX3769          PFIZER_JMARINO_0002486      PFIZER_JMARINO_0002543         58   Presentation: Quarterly Brand Review Neurontin 4/98                   Depo Exhibit: Marino, John
                                                                                                                                                      7/2/2007 EX:005
PX3770          PFIZER_JMARINO_0004619      PFIZER_JMARINO_0004620          2   Neurontin Proposed Strategies and Tactics                             Depo Exhibit: Marino, John
                                                                                                                                                      7/2/2007 EX:006
PX3772          PFIZER_JMARINO_0000533      PFIZER_JMARINO_0000535          3   Global Development Review Committee Meeting, September 19, 2001 Depo Exhibit: Marino, John
                                                                                                                                                      7/2/2007 EX:011
PX3773          PFIZER_JMARINO_0000159      PFIZER_JMARINO_0000175         17   Presentation: Rationale for an Expanded DPN Clinical Program with     Depo Exhibit: Marino, John
                                                                                Neurontin                                                             7/2/2007 EX:012
PX3775          PFIZER_JMARINO_0000931      PFIZER_JMARINO_0000932          2   E-mail from John Marino to Stephen Graco, Lloyd Knapp, Atul Pande, Depo Exhibit: Marino, John
                                                                                Drusilla Scott, Byron Scott re: GDRC - Nerve Conduction Discussion 7/2/2007 EX:015
PX3776          PFIZER_LESLIETIVE_0076417   PFIZER_LESLIETIVE_0076418       2   E-mail from Kirk Taylor re: My thoughts on the POPP Study             Depo Exhibit: Marino, John
                                                                                Investigator meeting                                                  7/2/2007 EX:020
PX3777          PFIZER_JMARINO_0000941      PFIZER_JMARINO_0000944          4   John Marino 2001 Goals                                                Depo Exhibit: Marino, John
                                                                                                                                                      7/3/2007 EX:026
PX3778          PFIZER_LCASTRO_0010342      PFIZER_LCASTRO_0010345          4   John Marino OP2002 Goals                                              Depo Exhibit: Marino, John
                                                                                                                                                      7/3/2007 EX:027
PX3779          PFIZER_LESLIETIVE_0042066   PFIZER_LESLIETIVE_0042068       3   WW Neurontin Team 2003 Goals                                          Depo Exhibit: Marino, John
                                                                                                                                                      7/3/2007 EX:028
PX3780          WLC_FRANKLIN_0000209771     WLC_FRANKLIN_0000209771         1   Letter from Norm Phillips, Vice President Physicians' World           Depo Exhibit: Marino, John
                                                                                Communications Group to John Marino re: contract with group in        7/3/2007 EX:030
                                                                                Morris Plains
PX3783          PFIZER_JMARINO_0000950      PFIZER_JMARINO_0000950          1   E-mail from John Marino to Marino Garcia re: Neurontin in Bipolar     Depo Exhibit: Marino, John
                                                                                Disorder                                                              7/3/2007 EX:033
PX3785          NDA20235_MISC_008_0113      NDA20235_MISC_008_0121          9   Letter from Lesley Frank, Department of Health & Human Services to Depo Exhibit: Marino, John
                                                                                William Merino re: Parke-Davis promoting Neurontin for ""off label"" 7/3/2007 EX:035
                                                                                use
PX3787          PFIZER_AGARRITY_0002030     PFIZER_AGARRITY_0002037         8   Memo from Cynthia de Luise re: Draft: Neurontin PMP Team Meeting Depo Exhibit: Marino, John
                                                                                (09 May 2001) Minutes                                                 7/3/2007 EX:038
PX3788          PFIZER_CTAYLOR_0011179      PFIZER_CTAYLOR_0011179          1   Slide titled: Neurontin (drug uses)                                   Depo Exhibit: Marino, John
                                                                                                                                                      7/3/2007 EX:039
PX3790          PFIZER_LTIVE_0006484        PFIZER_LTIVE_0006497           14   Slides: US Neurontin Use Data                                         Depo Exhibit: Marino, John
                                                                                                                                                      7/3/2007 EX:042
PX3791          PFIZER_CGROGAN_0021032      PFIZER_CGROGAN_0021035          4   Letter from Lisa Stockbridge to Lucy Castro re: a model for Neurontin Depo Exhibit: Marino, John
                                                                                that is in violation of the Federal Food, Drug, and Cosmetic Act      7/3/2007 EX:044
PX3799                                                                     54   CV of Ronald W. Maris, PhD                                            Depo Exhibit: Maris, Ronald
                                                                                                                                                      10/20/2008 EX:050
PX3803                                                                     26   Presentation: Suicide and SSRIs, Ronald Wm Maris, PhD, A.A.F.S.       Depo Exhibit: Maris, Ronald
                                                                                Annual Conference, February 20, 2007                                  10/20/2008 EX:057
PX3816          WLC_CBU_166600              WLC_CBU_166628                 29   Presentation: SE CBU 3T 99 Sales and Marketing Plan                   Depo Exhibit: Martin, Tamela
                                                                                                                                                      10/4/2007 EX:009


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Ex#      Date   Beg Bates                 End Bates                      Pages Description                                                            Exhibit Source
PX3823          PFIZER_TMARTIN_0000562    PFIZER_TMARTIN_0000629            68 Presentation: Neurontin Market Assessment Meeting                        Depo Exhibit: Martin, Tamela
                                                                                                                                                        10/5/2007 EX:018
PX3849                                                                       3   FDA Alert: Information for Healthcare Professionals Suicidality and    Depo Exhibit: McCormick,
                                                                                 Antiepileptic Drugs                                                    Cynthia 2/14/2008 EX:003
PX3850                                                                       4   FDA Alert: Information for Healthcare Professionals Suicidality and    Depo Exhibit: McCormick,
                                                                                 Antiepileptic Drugs                                                    Cynthia 2/14/2008 EX:003A
PX3851          WLC_JTURNER_000459        WLC_JTURNER_000461                 3   Record of FDA Contact, Report Outcome of FDA Gabapentin NDA            Depo Exhibit: McCormick,
                                                                                 acceptability to file review meeting of 3/11/92                        Cynthia 2/14/2008 EX:004
PX3852                                                                       1   Memo from V. Trudeau to R. Delong re: Follow-up Adverse Event          Depo Exhibit: McCormick,
                                                                                 Report                                                                 Cynthia 2/14/2008 EX:006
PX3853                                                                      15   Presentation: Suicidality and Anti-Epileptic Drugs: Status of Clinical Depo Exhibit: McCormick,
                                                                                 Trial Data Analysis by Evelyn Mentari MD                               Cynthia 2/14/2008 EX:007
PX3854                                                                      27   Affidavit of David Franklin PhD                                        Depo Exhibit: McCormick,
                                                                                                                                                        Cynthia 2/14/2008 EX:008A
PX3855                                                                       1   Client Register, Shook, Hardy & Bacon LLP                              Depo Exhibit: McCormick,
                                                                                                                                                        Cynthia 2/14/2008 EX:010
PX3856                                                                       6   McCormick Consultation, LLC invoices to Shook, Hardy & Bacon           Depo Exhibit: McCormick,
                                                                                                                                                        Cynthia 2/14/2008 EX:011
PX3857                                                                       4   Letter from Andrew Finkelstein to Russell Katz re: 258 MedWatch        Depo Exhibit: McCormick,
                                                                                 forms, each represents a suicide of an American who was on Neurontin Cynthia 2/14/2008 EX:012
PX3862                                                                      38   Letter from Robert Temple to Janeth Turner re: NDA 20-235, new drug Depo Exhibit: McCormick,
                                                                                 application dated January 15, 1992                                     Cynthia 2/14/2008 EX:019
PX3865          WLC_JTURNER_002615        WLC_JTURNER_002616                 2   Record of FDA Contact - Request clarification from the gabapentin      Depo Exhibit: McCormick,
                                                                                 NDA                                                                    Cynthia 2/14/2008 EX:022
PX3867                                                                       2   Appendix C.3 Narrative Summaries and Tabular Data for Study            Depo Exhibit: McCormick,
                                                                                 Participants Who Withdrew Due to Adverse Events                        Cynthia 2/14/2008 EX:025
PX3868                                                                       5   Gabapentin Open Label-Treatment Forms                                  Depo Exhibit: McCormick,
                                                                                                                                                        Cynthia 2/14/2008 EX:026
PX3901          PFIZER_SPIRON_0022692     PFIZER_SPIRON_0022813            122   Presentation: The Neurontin and Pregabalin Positioning Study, May      Depo Exhibit: Milan, Janet
                                                                                 2001                                                                   11/29/2007 EX:003
PX3982          PFIZER_SPIRON_0011527     PFIZER_SPIRON_0011629            103   Presentation: Neurontin 2004 Operating Plan, September 30, 2003        Depo Exhibit: Mishra, Avanish
                                                                                                                                                        6/14/2007 EX:006
PX3986          PFIZER_SDOFT_0065713      PFIZER_SDOFT_0065715               3   Email from Suzanne Doft to Avanish Mishra re: NEU-0019169 Article: Depo Exhibit: Mishra, Avanish
                                                                                 Change in Opiod use after the initiation of gabapentin therapy in      6/14/2007 EX:010
                                                                                 patients with postherpetic neuralgia
PX3989          PFIZER_AMISHRA_0000594    PFIZER_AMISHRA_0000602             9   Presentation: Neurontin Business in 2H 2004                            Depo Exhibit: Mishra, Avanish
                                                                                                                                                        6/14/2007 EX:014
PX3996          PFIZER_SDOFT_0067568      PFIZER_SDOFT_0067572               5   US Neurontin Marketing Team 2004 Goals                                 Depo Exhibit: Mishra, Avanish
                                                                                                                                                        6/15/2007 EX:021
PX4034          PFIZER_LCASTRO_0005596    PFIZER_LCASTRO_0005602             7   Memo from Cynthia de Luise re: Draft: Neurontin PMP Team Meeting Depo Exhibit: Pacella,
                                                                                 (09 May 2001) Minutes                                                  Christopher 10/2/2007 EX:001
PX4038          PFIZER_CPACELLA_0050918   PFIZER_CPACELLA_0001589_0001      20   Pfizer Drug Safety (Ann Arbor) Product Reference Guide Gabapentin Depo Exhibit: Pacella,
                                          592                                    CI #0945, NDA #20-235, International Birth Date Feb. 5, 1993           Christopher 10/2/2007 EX:005
PX4040          PFIZER_LTIVE_0031886      PFIZER_LTIVE_0031886               1   Email from Michael Campbell to Cathy Sigler, Cynthia de Luise,         Depo Exhibit: Pacella,
                                                                                 Christopher Pacella, Larry Alphs, Leslie Tive, Rudolf Altevogt,        Christopher 10/2/2007 EX:007
                                                                                 Manfred Hauben re: Gabapentin literature cases, overdose/suicide
PX4042          PFIZER_CPACELLA_0015537   PFIZER_CPACELLA_0015537            1   Appendix, Second Safety Update Summary of Adverse Events               Depo Exhibit: Pacella,
                                                                                                                                                        Christopher 10/2/2007 EX:010
PX4045          PFIZER_CPACELLA_0022701   PFIZER_CPACELLA_0022726           26   Summary of Spontaneous Post-Marketing Reports for Gabapentin, as Depo Exhibit: Pacella,
                                                                                 of March 31, 2002 All Cases                                            Christopher 10/2/2007 EX:013
PX4046          PFIZER_CPACELLA_0061231   PFIZER_CPACELLA_0061257           27   Email from Christopher Pacella to Philip Arena, Lisa Cortina, Robert Depo Exhibit: Pacella,
                                                                                 Glanzman, Alan Hassell, Manfred Hauben, Manini Patel, Alvaro           Christopher 10/2/2007 EX:014
                                                                                 Quintana, Tina Zhang re: Gabapentin Core Working Group Meeting

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Ex#      Date   Beg Bates                 End Bates                 Pages Description                                                           Exhibit Source
                                                                            scheduled for July 25, 2002
PX4047          PFIZER_CPACELLA_0029393   PFIZER_CPACELLA_0029396       4 Memo from Christopher Pacella re: Gabapentin Product Maintenance      Depo Exhibit: Pacella,
                                                                          and Pharmacovigilance Labeling Core Working Group, July 25, 2002      Christopher 10/2/2007 EX:015
PX4048          PFIZER_CPACELLA_MULTIPLE PFIZER_MPATEL_MULTIPLE       139 Angina Pectoris/Chest Pain/Chest Pain Substernal/Pain Chest and       Depo Exhibit: Pacella,
                                                                          Gabapentin (Draft)                                                    Christopher 10/2/2007 EX:016
PX4049          PFIZER_CPACELLA_0061978   PFIZER_CPACELLA_0061981       4 Memo from Christopher Pacella re: Gabapentin Product Maintenance      Depo Exhibit: Pacella,
                                                                          and Pharmacovigilance Labeling Core Working Group, Octover 14,        Christopher 10/2/2007 EX:017
                                                                          2002
PX4050          PFIZER_CPACELLA_0061982   PFIZER_CPACELLA_0061984       3 Memo from Christopher Pacella re: Gabapentin Product Maintenance      Depo Exhibit: Pacella,
                                                                          and Pharmacovigilance Labeling Core Working Group, Octover 23,        Christopher 10/2/2007 EX:018
                                                                          2002
PX4051          PFIZER_CPACELLA_0030209   PFIZER_CPACELLA_0030220      12 Pfizer Pharmaceutical Group (Private) Core Data Sheet, Product         Depo Exhibit: Pacella,
                                                                          Document title: Gabapentin, January 30, 2003                           Christopher 10/2/2007 EX:019
PX4053          WLC_FRANKLIN_0000088763   WLC_FRANKLIN_0000088763       1 Memo from Alan Walker to Dr. Klaus Laesecke, Dr. Mark Pierce, Ms.      Depo Exhibit: Pande, Atul
                                                                          Lene Ulrich re: $500 Million                                           9/19/2007 EX:004
PX4056          WLC_FRANKLIN_0000134638   WLC_FRANKLIN_0000134638       1 Memo from Atul Pande to John Boris re: Gabapentin approvals            Depo Exhibit: Pande, Atul
                                                                                                                                                 9/19/2007 EX:007
PX4062          WLC_CBU_108865            WLC_CBU_108894               30   Marketing Assessment Neurontin in Neuropathic Pain and Spasticity    Depo Exhibit: Pande, Atul
                                                                                                                                                 9/19/2007 EX:014
PX4069          PFIZER_LKNAPP_0071019     PFIZER_LKNAPP_0071021         3   Email from Lloyd Knapp to Timothy Hsu re: Gabapentin in bipolar      Depo Exhibit: Pande, Atul
                                                                            disorder: randomized controlled trials                               9/20/2007 EX:025
PX4077                                                                  1   Table 15: Summary of All Adverse Events in >1% of Patients in        Depo Exhibit: Pande, Atul
                                                                            Placebo-Controlled Studies, by Body System and Treatment Group       9/20/2007 EX:034
PX4078                                                                  4   Narrative Summaries and Tabular Data for Study Participants Who      Depo Exhibit: Pande, Atul
                                                                            Withdrew Due to Adverse Events                                       9/20/2007 EX:035
PX4081                                                                231   Parke-Davis Pharmaceutical Research Division of Warner-Lambert       Depo Exhibit: Pande, Atul
                                                                            Company Research Report Title: Gabapentin Adjunctive Treatment in 9/20/2007 EX:038
                                                                            Patients with Bipolar Disorder
PX4082          PFIZER_TMF_CRF_087451     PFIZER_TMF_CRF_087506        56   Parke-Davis Pharmaceutical Research Division of Warner-Lambert       Depo Exhibit: Pande, Atul
                                                                            Company Research Report Title: Investigators' Brochure - Neurontin 9/20/2007 EX:039
                                                                            (Gabapentin, CI-945)
PX4087                                                                  8   Chart: AER ID/ AER NO/SEQ REACT/NAME/PF_NAME/HIT                     Depo Exhibit: Pande, Atul
                                                                            NAME/HLGT NAME/SOC NAME/DATE                                         9/20/2007 EX:048
                                                                            REPORTED/YQ/SENOUS REPORT/CLINICAL TRIAL
PX4132                                                                  2   MedWatch report                                                      Depo Exhibit: Ruggieri,
                                                                                                                                                 Alexander 1/17/2008 EX:008
PX4133                                                                  1   Case details                                                         Depo Exhibit: Ruggieri,
                                                                                                                                                 Alexander 1/17/2008 EX:009
PX4143                                                                  2   Memo to Mary Parks from Kate Gelperin, Lanh Green re:                Depo Exhibit: Ruggieri,
                                                                            Thiazolidinediones and Cardiovascular Adverse Effects                Alexander 12/5/2008 EX:021
PX4144                                                                  1   Graph: Percentage of Cardiac SOC Reports for Various Anti-Diabetic Depo Exhibit: Ruggieri,
                                                                            Drugs                                                                Alexander 12/5/2008 EX:022
PX4147                                                                103   Declaration of Cheryl Blume, PhD                                     Depo Exhibit: Ruggieri,
                                                                                                                                                 Alexander 2/14/2009 EX:023
PX4148                                                                  9   Parke-Davis Pharmaceutical Research Division, Warner-Lambert         Depo Exhibit: Ruggieri,
                                                                            Company Gabapentin Open-Label Treatment Forms                        Alexander 2/14/2009 EX:024
PX4149                                                                  4   Parke-Davis Pharmaceutical Research Division, Warner-Lambert         Depo Exhibit: Ruggieri,
                                                                            Company Gabapentin Open-Label Treatment Forms                        Alexander 2/14/2009 EX:025
PX4157                                                                 60   Assessment of Suicide and Related Behaviors in Patients Treated with Depo Exhibit: Ruggieri,
                                                                            the -Ligands, Gabapentin and Pregabalin, April 29, 2008              Alexander 2/14/2009 EX:034
PX4159                                                                 52   Declaration of Keith Altman                                          Depo Exhibit: Ruggieri,
                                                                                                                                                 Alexander 2/14/2009 EX:036

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Ex#      Date   Beg Bates                End Bates                Pages Description                                                             Exhibit Source
PX4160          PFIZER_CGROGAN_0005992   PFIZER_CGROGAN_0006002      11 Pfizer Neuropathic Pain PBM Advisory Board Executive Summary,           Depo Exhibit: Samuels, Jennifer
                                                                        March 3-4, 2002                                                         10/9/2007 EX:001
PX4207                                                                1 Gabapentin Mechanism Work Group - Team Charter, September 5,            Depo Exhibit: Scott, Druscilla
                                                                        2000                                                                    12/12/2007 EX:017
PX4208                                                                4 Email from John Marino re: Neurontin Labeling - Ground Rules and        Depo Exhibit: Scott, Druscilla
                                                                        Agenda - Meeting May 22                                                 12/12/2007 EX:018
PX4209                                                                4 Email from Drusilla Scott re: Neurontin PHN sNDA; status and            Depo Exhibit: Scott, Druscilla
                                                                        labeling                                                                12/12/2007 EX:019
PX4212                                                                4 Letter from Lisa Stockbridge to Lucy Castro re: a model for Neurontin   Depo Exhibit: Scott, Druscilla
                                                                        that is in violation of the Federal Food, Drug, and Cosmetic Act        12/12/2007 EX:022
PX4235                                                                2 Lidoderm Label                                                          Depo Exhibit: Scott, Druscilla
                                                                                                                                                12/13/2007 EX:047
PX4253                                                                3   Description of gabapentin                                             Depo Exhibit: Su, Julia
                                                                                                                                                6/28/2007 EX:001
PX4254                                                                5   Summary of gabapentin                                                 Depo Exhibit: Su, Julia
                                                                                                                                                6/28/2007 EX:002
PX4256                                                                5   Summary of neurontin                                                  Depo Exhibit: Su, Julia
                                                                                                                                                6/28/2007 EX:004
PX4265          PFIZER_JSU_0031998       PFIZER_JSU_0032003           6   Email from John Marino re: National Public Radio - Neurontin Story to Depo Exhibit: Su, Julia
                                                                          be Aired Tonight                                                      8/16/2007 EX:013
PX4273                                                               68   Pfizer Global Research & Development Research Report titled:          Depo Exhibit: Taylor, Charles Jr
                                                                          Summary of Preclinical Pharmacological Studies with Gabapentin (CI- 6/4/2007 EX:003
                                                                          0945, PD 0087842-0000) In Vitro and in Laboratory Animals
PX4274          PFIZER_JSU_0018966       PFIZER_JSU_0018981          16   Mechanisms of action - A guide for sales colleagues                   Depo Exhibit: Taylor, Charles Jr
                                                                                                                                                6/4/2007 EX:004
PX4285                                                                9   Letter from Lesley Frank to William Merino re: Parke-Davis promoting Depo Exhibit: Teicher, Martin
                                                                          Neurontin for "off-label" uses                                        7/7/2006 EX:001
PX4286                                                              115   Review and Evaluation of Clinical Data, NDA 20-235 Indication:        Depo Exhibit: Teicher, Martin
                                                                          Refractory Epilepsy, January 31, 1992                                 7/7/2006 EX:002
PX4287                                                               14   Letter from Lisa Stockbridge to Andrea Garrity re: a slim jim for     Depo Exhibit: Teicher, Martin
                                                                          Neurontin that is misleading and in violation of the Federal Food,    7/7/2006 EX:003
                                                                          Drug, and Cosmetic Act and applicable regulations
PX4288                                                                4   Letter from Lisa Stockbridge to Lucy Castro re: a model for Neurontin Depo Exhibit: Teicher, Martin
                                                                          that is in violation of the Federal Food, Drug, and Cosmetic Act      7/7/2006 EX:004
PX4289                                                               76   Settlement Agreement and Release between the United States of         Depo Exhibit: Teicher, Martin
                                                                          America and Pfizer and Warner-Lambert                                 7/7/2006 EX:005
PX4290                                                               15   United States of America v Warner Lambert Company General             Depo Exhibit: Teicher, Martin
                                                                          Allegations                                                           7/7/2006 EX:007
PX4291          V084264                  V084294                     31   Neurontin: 1998 Situation Analysis                                    Depo Exhibit: Teicher, Martin
                                                                                                                                                7/7/2006 EX:009
PX4292          PFIZER_LCASTRO_0002807   PFIZER_LCASTRO_0002814       8   Email from Elaine Vennard to The Hallelujah Core Team re:             Depo Exhibit: Teicher, Martin
                                                                          Hallelujah Core Team Meeting Minutes - 2/27/01                        7/7/2006 EX:010
PX4293          PFIZER_LCASTRO_0068393   PFIZER_LCASTRO_0068399       7   Development Request, Category: Sleep (New), Type of Project: Rx to Depo Exhibit: Teicher, Martin
                                                                          OTC Switch, Date: March 31, 2003                                      7/7/2006 EX:011
PX4294          PFIZER_LTIVE_0008553     PFIZER_LTIVE_0008559         7   Neurontin: 2001 Operating Plan Executive Summary                      Depo Exhibit: Teicher, Martin
                                                                                                                                                7/7/2006 EX:012
PX4295          V054146                  V054149                      4   Memo from Mi Dong to Neurontin (Anticonvulsant) Development           Depo Exhibit: Teicher, Martin
                                                                          Team re: Minutes - May 22, 1997, Neurontin Development Team           7/7/2006 EX:013
                                                                          Meeting
PX4296          PFIZER_LTIVE_0027352     PFIZER_LTIVE_0027353         2   Medical Director - Neurontin                                          Depo Exhibit: Tive, Leslie
                                                                                                                                                7/19/2006 EX:017
PX4301          PFIZER_LTIVE_0005484     PFIZER_LTIVE_0005491         8   Memo from Cynthia De Luise re: Neurontin Product Maintenance and Depo Exhibit: Tive, Leslie
                                                                          Pharmacovigilance (PMP) Team Meeting (18 October 2001) Minutes 7/19/2006 EX:022

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Ex#      Date   Beg Bates                 End Bates                 Pages Description                                                             Exhibit Source
PX4315          PFIZER_LTIVE_0042546      PFIZER_LTIVE_0042663        118 Presentation: Neurology Group 2003 Global Operating Plan, July 26,     Depo Exhibit: Tive, Leslie
                                                                          2002                                                                   7/19/2006 EX:044
PX4323                                                                  2 Application to Market a New Drug, Biologic, or an Antibiotic Drug for  Depo Exhibit: Tive, Leslie
                                                                          Humane Use                                                             7/11/2007 EX:053
PX4324          PFIZER_LTIVE_0008005      PFIZER_LTIVE_0008008          4 Pfizer Consultants Meeting September 6, 2001                           Depo Exhibit: Tive, Leslie
                                                                                                                                                 7/11/2007 EX:054
PX4336                                                                 53   Declaration of Michael Trimble, MD in Relation to Neurontin Causing Depo Exhibit: Trimble, Michael
                                                                            Negative Mood and Behavioural Alterations, Including Suicidal        10/18/2007 EX:003
                                                                            Behavior, in Treated Patients
PX4360                                                                593   NDA Reviewer's Guide Content and Format                              Depo Exhibit: Turner, Janeth
                                                                                                                                                 10/11/2007 EX:002
PX4364          WLC_JTURNER_000583        WLC_JTURNER_000602           20   Gabapentin NDA/FDA Questions & Requests                              Depo Exhibit: Turner, Janeth
                                                                                                                                                 10/11/2007 EX:006
PX4365          PFIZER_LALPHS_0082420     PFIZER_LALPHS_0082908       490   Gabapentin NDA FDA Questions/Requests Responses to FDA               Depo Exhibit: Turner, Janeth
                                                                            Requests Book 1                                                      10/11/2007 EX:007
PX4366          PFIZER_LALPHS_0082979     PFIZER_LALPHS_0083398       418   Gabapentin NDA FDA Questions/Requests Responses to FDA               Depo Exhibit: Turner, Janeth
                                                                            Requests Book 2                                                      10/11/2007 EX:008
PX4368          PFIZER_LALPHS_0087185     PFIZER_LALPHS_0087186         2   Record of FDA Contact: Review SBA and revised package insert         Depo Exhibit: Turner, Janeth
                                                                                                                                                 10/11/2007 EX:010
PX4376                                                                 37   Letter from Robert Temple to Janeth Turner re: NDA 20-235, new drug Depo Exhibit: Turner, Janeth
                                                                            application dated January 15, 1992                                   10/11/2007 EX:022
PX4379          WLC_JTURNER_000698        WLC_JTURNER_000701            4   Record of FDA Contact: Discuss December 15, 1992 Advisory            Depo Exhibit: Turner, Janeth
                                                                            Committee Meeting to review the gabapentin NDA                       10/11/2007 EX:029
PX4380          NDA20235_MISC_001_0270    NDA20235_MISC_001_0271        2   Record of FDA Contact: Confirm that Parke-Davis does not plan to     Depo Exhibit: Turner, Janeth
                                                                            make formal presentations at the Advisory Committee Meeting          10/11/2007 EX:030
PX4381          NDA20235_MISC_001_0102    NDA20235_MISC_001_01236     150   Record of FDA Contact: Obtain copy of FDA gabapentin Advisory        Depo Exhibit: Turner, Janeth
                                                                            Committee Briefing Document                                          10/11/2007 EX:031
PX4382          WLC_JTURNER_003660        WLC_JTURNER_003661            2   Application to Market a New Drug for Human Use or an Antibiotic      Depo Exhibit: Turner, Janeth
                                                                            Drug for Human Use - Neurontin                                       10/11/2007 EX:033
PX4383          NDA20235_MISC_001_0096    NDA20235_MISC_001_0098        3   Record of FDA Contact: Request clarification from FDA briefing       Depo Exhibit: Turner, Janeth
                                                                            document                                                             10/12/2007 EX:035
PX4384          WLC_JMARINO_0001274       WLC_JMARINO_0001316          43   Memo from O. Brandicourt re: Neurontin Marketing Assessment          Depo Exhibit: Turner, Janeth
                                                                                                                                                 10/12/2007 EX:036
PX4385          WLC_FRANKLIN_0000134389   WLC_FRANKLIN_0000134390       2   Memo from Mi Dong to Neurontin (Anticonvulsant) Development          Depo Exhibit: Turner, Janeth
                                                                            Team re: Minutes, November 9, 1994, Neurontin Development            10/12/2007 EX:038
                                                                            Strategy Meeting
PX4386                                                                  6   Memo from Mi Dong to Neurontin (Anticonvulsant) Development          Depo Exhibit: Turner, Janeth
                                                                            Team re: Minutes, March 14, 1995 Neurontin Development Strategy      10/12/2007 EX:039
                                                                            Meeting
PX4388          WLC_FRANKLIN_0000090128   WLC_FRANKLIN_0000090130       3   Letter from Paul Leber to Janeth Turner re: supplemental new drug    Depo Exhibit: Turner, Janeth
                                                                            application dated September 13, 1996                                 10/12/2007 EX:043
PX4394          PFIZER_LKNAPP_0035987     PFIZER_LKNAPP_0035989         3   Email from Marino Garcia re: Key Messages                            Depo Exhibit: Valerio, Stephen
                                                                                                                                                 11/28/2007 EX:003
PX4396          PFIZER_LKNAPP_0039256     PFIZER_LKNAPP_0039282        27   MAC Publications Plan Template                                       Depo Exhibit: Valerio, Stephen
                                                                                                                                                 11/28/2007 EX:005
PX4397          PFIZER_RGLANZMAN_0082261 PFIZER_RGLANZMAN_0082317      57   Presentation: Neurontin Publications Subcommittee Current Status and Depo Exhibit: Valerio, Stephen
                                                                            2002 Plans                                                           11/28/2007 EX:006
PX4416                                                                138   Parke-Davis Pharmaceutical Research, titled: A Double-Blind Placebo- Depo Exhibit: Vega, Adrian
                                                                            Controlled Trial with 3 Doses of Gabapentin for Treatment of Painful 6/13/2007 EX:008
                                                                            Diabetic Neuropathy
PX4418          PFIZER_LCASTRO_0043325    PFIZER_LCASTRO_0043398       74   Gabapentin vs. Placebo in Patients with Neuropathic Pain. A          Depo Exhibit: Vega, Adrian
                                                                            Randomized, Double-Blind, Cross-Over, Multi-Center Study in the      6/13/2007 EX:010
                                                                            Nordic Area - Final Report

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Ex#      Date   Beg Bates                 End Bates                 Pages Description                                                             Exhibit Source
PX4422                                                                  7 Parke-Davis Pharmaceutical Research, titled: Gabapentin Adjunctive      Depo Exhibit: Vega, Adrian
                                                                          Treatment in Patients with Bipolar Disorder                             6/13/2007 EX:016
PX4425                                                                 62 Goadecke AG - Research and Development Report titled: A Double-         Depo Exhibit: Vega, Adrian
                                                                          Blind, Placebo-Controlled, Parallel Group, Multicenter Study of the     6/13/2007 EX:021
                                                                          Safety and Efficacy of Gabapentin (CI-945) as a Prophylactic Interval
                                                                          Therapy in Patients with Common Migraine
PX4429                                                                  2 Summary: Neurontin is not approved by the FDA for perioperative         Depo Exhibit: Vega, Adrian
                                                                          treatment of pain                                                       6/13/2007 EX:025
PX4430                                                                 50 Parke-Davis Pharmaceutical Research Report titled: A Single-Dose,       Depo Exhibit: Vega, Adrian
                                                                          Double-Blind, Placebo-Controlled, Comparative Efficacy Study of         6/13/2007 EX:026
                                                                          Gabapentin and Hydrocodone, Alone or in Combination, in Patients
                                                                          with Postoperative Dental Pain
PX4440                                                                  5 Summary of Neurontin, Clinical Data                                  Depo Exhibit: Vega, Adrian
                                                                                                                                               6/14/2007 EX:036
PX4441                                                                  6   Parke-Davis Pharmaceutical Research Division Report titled:        Depo Exhibit: Vega, Adrian
                                                                            Integrated Summary of Safety Information of Gabapentin Capsules    6/14/2007 EX:037
PX4474                                                                  3   Isotretinoin (marketed as Accutane)                                Depo Exhibit: Weiss-Smith,
                                                                                                                                               Sheila 1/9/2008 EX:009
PX4476          PFIZER_THO_0074421        PFIZER_THO_0074422            2   MedWatch report                                                    Depo Exhibit: Weiss-Smith,
                                                                                                                                               Sheila 1/9/2008 EX:011
PX4487          PFIZER_THO_0000792        PFIZER_THO_0000809           17   Serious Adverse Events, Gabapentin Related Clinical Study Cases    Depo Exhibit: Weiss-Smith,
                                                                            01/01/1980-31/12/2003                                              Sheila 12/22/2008 EX:022
PX4496          WLC_FRANKLIN_0000097442   WLC_FRANKLIN_0000097442       1   Slide titled: Top 10 Uses of Neurontin                             Depo Exhibit: Windom,
                                                                                                                                               Timothy 12/6/2007 EX:002
PX4527          PFIZER_SDOFT_0026365      PFIZER_SDOFT_0026340              Page from 01/09/2002 Neurontin Publications Subcommittee Plans     Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4528          X028957                   X028962                           Parke-Davis Memorandum: Meeting Minutes, March 14, 1995,           Expert Report: 2 King B Report
                                                                            Neurontin Development Team Meeting                                 REF MATERIALS
PX4529          V090836                   V090877                           Marketing Assessment: Neurontin in Psychiatric Disorders           Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4530          V091389                                                     Parke-Davis Memorandum: Neurontin Verbatims                        Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4531          W003095                   W003109                           Neurontin 1996 SE CBU Plan                                         Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4532          WL 07520                  WL 07547                          Neurontin Marketing Assessments                                    Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4533          X001884                   X001900                           Neurontin Northeast CBU 1997                                       Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4534          X003630                   X003658                           T196 Neurontin/Pharmamceutical Sector 1996 Operating Plan          Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4535          X005102                   X005110                           Letter to Phil Magistro from Jacki Gordon                          Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4536          X005384                   X005386                           Parke-Davis Memorandum: Selected Physician Titration Update        Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4537          V086787                   V086792                           Parke-Davis Marketing Planning: Meeting Minutes/Action Items from Expert Report: 2 King B Report
                                                                            Marketing Council Meeting Feb 28-March 2, 1995, Lyon, France       REF MATERIALS
PX4538          X028920                   X028924                           Parke-Davis Memorandum: Minutes, November 14, 1995, Neurontin Expert Report: 2 King B Report
                                                                            Development Team Meeting                                           REF MATERIALS
PX4539          V084073                                                     1998 Strategic Plan and A and P Allocation Grid                    Expert Report: 2 King B Report
                                                                                                                                               REF MATERIALS
PX4540                                                                      Rx List website, “Seldane,”                                        Expert Report: 2 King B Report
                                                                            http://www.rxlist.com/cgi/generic/terfen.htm, accessed October 22, REF MATERIALS
                                                                            2007.

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Ex#      Date   Beg Bates                End Bates           Pages Description                                                              Exhibit Source
PX4541                                                              MediceNet.com website, “Definition of Placebo Effect,”                  Expert Report: 2 King B Report
                                                                    http://www.medterms.com/script/main/art.asp?articlekey=31481,           REF MATERIALS
                                                                    accessed October 22, 2007.
PX4542                                                              Mayo Clinic website,                                                    Expert Report: 2 King B Report
                                                                    http://www.mayoclinic.com/health/postherpeticneuralgia/DS00277,         REF MATERIALS
                                                                    accessed October 22, 2007.
PX4543                                                              King, C., Statement Before the Committee on Governmental Affairs,       Expert Report: 2 King B Report
                                                                    Subcommittee on Oversight of Government Management,                     REF MATERIALS
                                                                    Restructuring and the District of Columbia, United States Senate, May
                                                                    14, 2002 (available at <http://hsgac.senate.gov/051302king.pdf> as
PX4544                                                              Drugs.com website, http://www.drugs.com/top200_2003.html,            Expert Report: 2 King B Report
                                                                    accessed October 22, 2007.                                           REF MATERIALS
PX4545                                                              21 CFR 202.1.                                                        Expert Report: 2 King B Report
                                                                                                                                         REF MATERIALS
PX4546          X029226                  X029227                    Interoffice Memorandum from Atul Pande: Gabapentin Psychiatric       Expert Report: 2 King B Report
                                                                    Studies                                                              REF MATERIALS
PX4547          X029017                  X029025                    Parke-Davis Memorandum: Meeting Minutes, October 18, 1994,           Expert Report: 2 King B Report
                                                                    Neurontin Development Team Meeting                                   REF MATERIALS
PX4548          X028974                  X028975                    Parke-Davis Memorandum: Meeting Minutes, January 17, 1995,           Expert Report: 2 King B Report
                                                                    Neurontin Development Team Meeting                                   REF MATERIALS
PX4549          X028965                  X028969                    Parke-Davis Memorandum: Meeting Minutes, February 21, 1995,          Expert Report: 2 King B Report
                                                                    Neurontin Development Team Meeting                                   REF MATERIALS
PX4550          X005926                  X005950                    1998 Neurontin Tactics                                               Expert Report: 2 King B Report
                                                                                                                                         REF MATERIALS
PX4551          PFIZER_AFANNON_0002934                              Neurontin Publication Planning 2003 by Allison Fannon                Expert Report: 2 King B Report
                                                                                                                                         REF MATERIALS
PX4552          V082736                  V 082736 – 082761          V082761                                                              Expert Report: 2 King B Report
                                                                                                                                         REF MATERIALS
PX4553          V042352                  V042363                    Parke-Davis Product Planning                                         Expert Report: 2 King B Report
                                                                                                                                         REF MATERIALS
PX4554          V047116                  V047129                    Neurontin Core Marketing Team Meeting, New York, NY                  Expert Report: 2 King B Report
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PX4555          V049269                  V049274                    Parke-Davis Memorandum: Meeting Minutes from August 29, 1995,        Expert Report: 2 King B Report
                                                                    Neurontin Indications Decision Analysis Group Meeting                REF MATERIALS
PX4556          V053877                                             Neurontin (CI-945) Indication Publications Decision Analysis         Expert Report: 2 King B Report
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PX4557          V057651                                             Emerging Applications in the Uses of AEDs_An Educational Proposal Expert Report: 2 King B Report
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PX4558          V058083                                             Northeast CBU 1997 Situation Analysis                                Expert Report: 2 King B Report
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PX4560          V090268                                             Parke-Davis Fax from Alan Walker                                     Expert Report: 2 King B Report
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PX4562                                                              US Department of Justice, “Warner-Lambert to Pay $430 Million to     Expert Report: 2 King B Report
                                                                    Resolve Criminal & Civil Health Care Liability Relating to Off-Label REF MATERIALS
                                                                    Promotion,”available at
                                                                    http://www.usdoj.gov/opa/pr/2004/May/04_civ_322.htm, accessed
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PX4563          PFIZER_JMARINO_0001272                              Fax including the Exploratory Development Plan for Psychiatric       Expert Report: 2 King B Report
                                                                    Indications for Gabapentin                                           REF MATERIALS
PX4564          PFIZER_LTIVE_0008259                                Neurontin 2002 Operating Plan                                        Expert Report: 2 King B Report
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PX4565          PFIZER_LTIVE_0008284                                Neurontin US Field Force Allocation                                  Expert Report: 2 King B Report
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PX4566          PFIZER_RGLANZMAN_0000067 PFIZER_RGLANZMAN_00000677            2001 Key Issues and Strategies                                          Expert Report: 2 King B Report
                7                                                                                                                                     REF MATERIALS
PX4567          PFIZER_RGLANZMAN_0000669 PFIZER_RGLANZMAN_0000669             Share of Voice Data                                                     Expert Report: 2 King B Report
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PX4568          PFIZER_SDOFT_0026340      PFIZER_SDOFT_0026340                Page from 01/09/2002 Neurontin Publications Subcommittee Plans          Expert Report: 2 King B Report
                                                                                                                                                      REF MATERIALS
PX4569          V069673                   V069676                             Neurontin Article Series                                                Expert Report: 2 King B Report
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PX4570          PFIZER_SDOFT_0026346      PFIZER_SDOFT_0026340                Page from 01/09/2002 Neurontin Publications Subcommittee Plans          Expert Report: 2 King B Report
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PX4571          PFIZER_SDOFT_0026347      PFIZER_SDOFT_0026349                Page from 01/09/2002 Neurontin Publications Subcommittee Plans          Expert Report: 2 King B Report
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PX4572          V082736                   V082761                             Parke-Davis Memorandum: Neurontin Marketing Assessment                  Expert Report: 2 King B Report
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PX4574                                                                        Greenland re: gabapentin                                                Expert Report: 3 Greenland B
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PX4575          PFIZER_LTIVE_0007563      PFIZER_LTIVE_0007580                RR-REG 740-03550, Pfizer. 3.2 Studies With Gabapentin Directed at       Expert Report: 6 Kruszewski B
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PX4576          IND_28454_SUB_004_0_101                                       Research Report                                                         Expert Report: 6 Kruszewski B
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PX4577                                                                        Blunberg, Alan. (March 30, 1992) Memo to Distribution: Gabapentin       Expert Report: 6 Kruszewski B
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PX4578          PFIZER_LALPHS_0084360                                         Page from FDA FOI Documents for Neurontin NDA Approval                  Expert Report: 6 Kruszewski B
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PX4579                                                                        Warner-Lambert. (7/20/1987) Gabapentin versus placebo in Patients       Expert Report: 6 Kruszewski B
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PX4580                                                                        Warner-Lambert. (4/8/1988) Gabapentin versus placebo in Patients        Expert Report: 6 Kruszewski B
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PX4581                                                                        Official research report from 945-15 Warner-Lambert. (5/8/1990)         Expert Report: 6 Kruszewski B
                                                                              Adverse Event Information, Patient 945-15-01 #001 RWB. Parke-           Report REF MATERIALS 111
                                                                              Davis Pharmaceutical Research Division, Warner-Lamber Company.
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PX4582                                                                        193                                                                Expert Report: 6 Kruszewski B
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PX4583          PFIZER_L_CASTRO_0011361                                       Pfizer (alpha-2-gamma) Compounds in Development, January 2002      Expert Report: 6 Kruszewski B
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PX4584                                                                        Parke-Davis. (Aug 2003) Neurontin (Gabapentin) Capsules: Neurontin Expert Report: 6 Kruszewski B
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PX4587          PFIZER_CTAYLOR_0010782    PFIZER_CTAYLOR_0010807              Investigator's Brochure Neurontin (gabapentin) October 2001        Expert Report: 8 Roth
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PX4590          PFIZER_RGLANZMAN_0125468 PFIZER _ RGLANZMAN_ 0127300          NeP ISS                                                            Expert Report: Arrowsmith-
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PX4592          PFIZER_MPATEL_0088542     PFIZER_MPATEL_0088860               RR-MEMO 720-03847 (Safety Info for Study 945-177)                  Expert Report: Arrowsmith-
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PX4593          PFIZER_MEVERTSZ_0034364   PFIZER_MEVERTSZ_0034693             Monotherapy ISS                                                    Expert Report: Arrowsmith-
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PX4594          PFIZER_LCASTRO_0057483     PFIZER _ LCASTRO _ 0058337            Research Report for Study 945-077                                    Expert Report: Arrowsmith-
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PX4595          PFIZER_LCASTRO_0021988     PFIZER_LCASTRO_0023071                Research Report for Study 945-092                                    Expert Report: Arrowsmith-
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PX4596          PFIZER_AGARRITY_0007313    PFIZER _ AGARRITY _ 0009693           PHN ISS                                                              Expert Report: Arrowsmith-
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PX4599          WLC_CBU_061841             WLC_CBU_062079                        Pediatric ISS                                                        Expert Report: Arrowsmith-
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PX4600          PFIZER_REGULATORY_000260                                         Appendix 5, Pfizer Safety and Risk Management Literature Review:     Expert Report: Arrowsmith-
                                                                                 Gabapentin Use Among Persons with a History of Psychotic Disorder    Lowe002
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PX4609          PFIZER_LKNAPP_0062278                                            Letter from Dr. Russell Katz, Director, FDA Division of               Expert Report: Arrowsmith-
                                                                                 Neuropharmacology to Pfizer (March 16, 2005) .                        Lowe002
PX4611          PFIZER_JMOHAN_0000479                                            Appendix 4, Pfizer Response to EMEA, (December 14, 2005)              Expert Report: Arrowsmith-
                                                                                 Pfizer_JMohan_0000479.                                                Lowe002
PX4620          RR 720-03236                                                     RR-Reg 720-03236, NDA 20-235, Appendix B.3 (May 12, 1993)             Expert Report: Arrowsmith-
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PX4664          RR 720-03315                                                     RR-Reg 720-03315, NDA 20-235, Fourth Safety Update (December          Expert Report: Arrowsmith-
                                                                                 15, 1992), including appendices.                                      Lowe002
PX4678          RR-X 720-02455                                                   Investigator Brochure RR-X 720-02455 dated 05/21/1992                 Expert Report: Barkin supp
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PX4688          WLC_FRANKLIN_0000127967    WLC_FRANKLIN_0000127971           4   Neurontin Studies                                                     Expert Report: Blume, Cheryl
                                                                                                                                                       10/22/2007 p90 fn56
PX4689          WLC_FRANKLIN_0000041507    WLC_FRANKLIN_0000041510           4   Letter to James Parker re: NDA# 20-235 Neurontin (gabapentin          Expert Report: Blume, Cheryl
                                                                                 capsules) MACMIS ID# 3323                                             10/22/2007 p90 fn56
PX4690          WLC_FRANKLIN_0000046767    WLC_FRANKLIN_0000046772           6   Parke-Davis Memorandum: Meeting Minutes-February 25, 1997,            Expert Report: Blume, Cheryl
                                                                                 Neurontin Development Team Meeting                                    10/22/2007 p2 fn3
PX4691          WLC_FRANKLIN_0000052952    WLC_FRANKLIN_0000052957           6   Parke-Davis Memorandum: Minutes-April 22, 1997, Neurontin             Expert Report: Blume, Cheryl
                                                                                 Development Team Meeting                                              10/22/2007 p2 fn3
PX4692          WLC_FRANKLIN_0000053292    WLC_FRANKLIN_0000053300           9   Letter to William Marino re: NDA 20-235 Neurontin (gabapentin         Expert Report: Blume, Cheryl
                                                                                 capsules) MACMIS File ID# 4162                                        10/22/2007 p3 fn7; p90 fn56;
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PX4693          WLC_FRANKLIN_0000053306    WLC_FRANKLIN_0000053309           4   Letter to Joan Hankin re: Advertizing MACMIS ID# 3424                 Expert Report: Blume, Cheryl
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PX4694          WLC_FRANKLIN_0000087284    WLC_FRANKLIN_0000087293          10   Fax to B. Garofalo from L. Hayes re: Gabapentin for Treatment of Pain Expert Report: Blume, Cheryl
                                                                                 Consultants Meeting, September 28, 1995; Boston, MA                   10/22/2007 p85 fn50
PX4695          WLC_FRANKLIN_0000127963    WLC_FRANKLIN_0000127966           4   Warner-Lambert Company Responses to Questions 1-7 and                 Expert Report: Blume, Cheryl
                                                                                 Specifications 12, 13 and 14                                          10/22/2007 p90 fn56
PX4696          WLC_JTURNER_000230         WLC_JTURNER_000231                2   Summary of teleconference                                             Expert Report: Blume, Cheryl
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PX4697          RR 720-02480                                                     RR 720-02480                                                          Expert Report: Blume, Cheryl
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PX4698          RR 720-03991                                                     Research Report_No:RR-MEMO 720-03991                                  Expert Report: Blume, Cheryl
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PX4699          WLC_FRANKLIN_0000041500    WLC_FRANKLIN_0000041506           7   Letter to James Parker re: NDA# 20-235 Neurontin (gabapentin          Expert Report: Blume, Cheryl
                                                                                 capsules) MACMIS ID# 3323                                             10/22/2007 p90 fn56
PX4700          IND28454_MISC_005_0026     IND28454_MISC_005_0030            5   Pre-NDA Meeting Summary                                               Expert Report: Blume, Cheryl
                                                                                                                                                       10/22/2007 p8 fn23
PX4701          WLC_FRANKLIN_0000127961    WLC_FRANKLIN_0000127962           2   Letter to Lesley Frank re: MACMIS File ID #4162 NDA-20-235,           Expert Report: Blume, Cheryl
                                                                                 Neurontin (gabapentin capsules)                                       10/22/2007 p90 fn56
PX4702          PFIZER_JSU_0027004         PFIZER_JSU_0027008                5   Executive Summary- Suicide Rates in Neurontin-treated Population      Expert Report: Blume, Cheryl
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PX4703          PFIZER_LLAMOREAUX_001865 PFIZER_LLAMOREAUX_0018673         22 Research Study report: An open-label multicenter study of the safety   Expert Report: Blume, Cheryl
                2                                                             and efficacy of gabapentin as monotherapy or add-on therapy in the     10/22/2007 p13 fn37
                                                                              long-term treatment of epileptic seizures
PX4704                                                                        JONCA BULL STATEMENT                                                   Expert Report: Blume, Cheryl
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PX4705                                                                         WARNER-LAMBERT TO PAY $430 MILLION                                    Expert Report: Blume, Cheryl
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PX4706          WLC_JTURNER_000284                                             WLC_JTURNER_000284                                                    Expert Report: Blume, Cheryl
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PX4707          PFIZER_CTAYLOR_0001913      PFIZER_CTAYLOR_0001962         50 Antileptic Drugs for Treatment of Neuropathic Pain                     Expert Report: Blume, Cheryl
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PX4708          PFIZER_JSU_0023289          PFIZER_JSU_0023314             26 Charles Dellinger vs. Pfizer, Summons to Proceed before a Magistrate   Expert Report: Blume, Cheryl
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PX4709          IND60622_MISC_002_0011                                        IND60622_MISC_002_0011                                                 Expert Report: Blume, Cheryl
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PX4710          PFIZER_JSU_0026538          PFIZER_JSU_0026542              5 Suicide Clinical Communications Letter                                 Expert Report: Blume, Cheryl
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PX4711          NDA20235_MISC_002_0080                                         NDA20235_MISC_002_0080                                                Expert Report: Blume, Cheryl
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PX4712          PFIZER_LALPHS_0084338       PFIZER_LALPHS_0084703         366 FDA FOI Documents for Neurontin NDA Approval                           Expert Report: Blume, Cheryl
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PX4713          PFIZER_LCASTRO_0026268      PFIZER_LCASTRO_0026269          2 FDA Contact Report                                                     Expert Report: Blume, Cheryl
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PX4714          PFIZER_LCASTRO_0039757      PFIZER_LCASTRO_0039759          3 Letter to Andrea Garrity re: NDA #s 20-235, 20-882 Neurontin           Expert Report: Blume, Cheryl
                                                                              (gabapentin) MACMIS # 10174                                            10/22/2007 p149 fn71
PX4715          PFIZER_LCASTRO_0065672      PFIZER_LCASTRO_0065681         10 Potential for Drug Abuse with Gabapentin: A Post-Marketing Safety      Expert Report: Blume, Cheryl
                                                                              Analysis                                                               10/22/2007 p160 fn106
PX4716          PFIZER_LCASTRO_0068931      PFIZER_LCASTRO_0068945         15 Response to FDA regarding suicide and suicide attempt in Neurontin     Expert Report: Blume, Cheryl
                                                                              (gabapentin) clinical trials-Phase 1 Studies                           10/22/2007 p156 fn88
PX4717          PFIZER_LCASTRO_0073127      PFIZER_LCASTRO_0073132          6 Fax transmittal of letter to Lucy Castro re: Neurontin                 Expert Report: Blume, Cheryl
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PX4718          RR 720-04229                                                   Research Report No:RR 720-04229                                       Expert Report: Blume, Cheryl
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PX4719          PFIZER_JSU_0026537          PFIZER_JSU_0026537              1 Email from Michelle Clausen re: Neurontin-med info letter              Expert Report: Blume, Cheryl
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PX4720          NDA21397_MISC_008_0085                                         NDA21397_MISC_008_0085                                                Expert Report: Blume, Cheryl
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PX4721          RR 720-03856                                                   RR 720-03856                                                          Expert Report: Blume, Cheryl
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PX4722          WLC_FRANKLIN_0000041293     WLC_FRANKLIN_0000041296         4 Letter to Sherry Danese re: Advertising and Promotion                  Expert Report: Blume, Cheryl
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PX4723          AER_SOURCE_0145583                                             AER_SOURCE_0145583                                                    Expert Report: Blume, Cheryl
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PX4724          IND60622_MISC_002_0011_24   IND60622_MISC_002_0011_24       1 Pfizer Meeting Minutes Summary                                         Expert Report: Blume, Cheryl
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PX4725          MAA_MISC_030_0075           MAA_MISC_030_0077               3 Parke-Davis Memorandum: Gabapentin MAA-Product Profle                  Expert Report: Blume, Cheryl
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PX4726          NDA20235_MISC_002_080                                          Parke-Davis Worldwide Regulatory Affairs FDA Contact                  Expert Report: Blume, Cheryl
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PX4728          PFIZER_CPACELLA_0050918   PFIZER_CPACELLA_0050933      16 Pfizer Drug Safety (Ann Arbor) Product Reference Guide Gabapentin    Expert Report: Blume, Cheryl
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PX4729          PFIZER_MEVERTSZ_0079431   PFIZER_MEVERTSZ_0079435       5 Letter to Russell Katz re: Request for Information-Response to FDA   Expert Report: Blume, Cheryl
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PX4730                                                                    GABITRIL PUBLIC HEALTH ADVISORY                                      Expert Report: Blume, Cheryl
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PX4731                                                                     DAVID FRANKLIN AFIDAVIT - MAY 19, 2003                              Expert Report: Blume, Cheryl
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PX4732          PFIZER_PSUR_0002058                                        PFIZER_PSUR_0002058                                                 Expert Report: Blume, Cheryl
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PX4733          PFIZER_PSUR_0002049                                        PFIZER_PSUR_0002049                                                 Expert Report: Blume, Cheryl
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PX4737          NDA21397_MISC_007_0051    NDA21397_MISC_007_0067       17 Section 3.1 (Background) for NDA 21-397                              Expert Report: Blume, Cheryl
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PX4738          RR 740-03075                                               Research Report No: RR 740-03075                                    Expert Report: Blume, Cheryl
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PX4739          PFIZER_LCASTRO_0073452    PFIZER_LCASTRO_0073452        1 Neurontin Warning Label                                              Expert Report: Blume, Cheryl
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PX4740                                                                     AGITATION                                                           Expert Report: Blume, Cheryl
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PX4741          RR 720-04174                                               Research Report No: RR 720-04174                                    Expert Report: Blume, Cheryl
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PX4742                                                                     1-10% AES REPORTED                                                  Expert Report: Blume, Cheryl
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PX4743          RR 720-04231                                               Research Report No: RR 720-04231                                    Expert Report: Blume, Cheryl
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PX4744          RR 720-04232                                               Research Report No: RR 720-04232                                    Expert Report: Blume, Cheryl
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PX4746          RR 720-30135                                               Research Report No: RR-REG 720-30135                                Expert Report: Blume, Cheryl
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PX4747          RR 720-03891****0389                                       Research Report No: RR 720-03891                                    Expert Report: Blume, Cheryl
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PX4748          RR 740-03253                                               Research Report No: RR 740-03253                                    Expert Report: Blume, Cheryl
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PX4750          RR 720-03362                                               Research Report No: RR-X 720-03362                                  Expert Report: Blume, Cheryl
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PX4751          RR 720-03381                                               Research Report No: RR-X 720-03381                                  Expert Report: Blume, Cheryl
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PX4752          RR 720-03480                                               Research Report No: RR-X 720-03480                                  Expert Report: Blume, Cheryl
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PX4753          WLC_CBU_000836            WLC_CBU_000874               39 Dear Healthcare Professional Letter from Bill Sigmund                 Expert Report: Blume, Cheryl
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PX4754          WLC_FRANKLIN_0000038943   WLC_FRANKLIN_0000038945       3   Fax sent to James Parker re: NDA#20-235 Neurontin (gabapentin)      Expert Report: Blume, Cheryl
                                                                            capsules MACMIS ID# 3224                                            10/22/2007 p90 fn56
PX4755          RR 720-04363                                                Research Report No: RR 720-04363                                    Expert Report: Blume, Cheryl
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PX4756          RR 770-00286                                                Parke-Davis Memorandum: Gabapentin Analgesia Studies                Expert Report: Blume, Cheryl
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PX4757          PFIZER_MPATEL_0039110     PFIZER_MPATEL_0039168        59   Response to FDA regarding suicide and suicide attempt in Neurontin Expert Report: Blume, Cheryl
                                                                            (gabapentin) clinical trials and postmarketing surveillance         10/22/2007 p156 fn87, fn91,
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PX4758          PFIZER_PSUR_0002015       PFIZER_PSUR_0002193         179   Postmarketing Experience Report according to CIOMS II April 1993 to Expert Report: Blume, Cheryl
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PX4759          PFIZER_PSUR_0003596       PFIZER_PSUR_0004595         101   Periodic Safety Update Report Gabapentin February 1, 2003 through   Expert Report: Blume, Cheryl
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PX4760          PFIZER_THO_0001538        PFIZER_THO_0001541            4   Email from Manini Patel to Tina Ho re: Neurontin                    Expert Report: Blume, Cheryl
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PX4761          PFIZER_THO_0004955        PFIZER_THO_0004956            2   Email from Tina Ho to Steve Baldwin re: Neurontin and Suicide       Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p153 fn72
PX4762          PFIZER_THO_0005262        PFIZER_THO_0005273           12   Report on Gabapentin and Suicide                                    Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p155 fn81, fn83,
                                                                                                                                                fn85, fn86
PX4763          RR 720-03894                                                Research Report No: RR 720-03894                                    Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p179 para274
PX4764          RR 740-02959                                                Research Report No: RR 740-02959                                    Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p84 para130
PX4765          RR 4192-0166                                                Research Report No: RR 4192-0166                                    Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p185 fn139
PX4766          RR 4301-0124                                                Research Report No: RR 4301-00124                                   Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p14 paraB
PX4767          RR 720-02816                                                Research Report No: RR 720-02816                                    Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p14 paraC
PX4768          RR 720-02837                                                Research Report No: RR 720-02837                                    Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p13 fn37; p15
                                                                                                                                                paraD; p179
PX4769          RR 720-02883                                                Research Report No: RR 720-02883                                    Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p16 paraE, paraF
PX4770          RR 720-02993                                                Research Report No: RR 720-02993                                    Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p17 paraG
PX4771          RR 720-03498                                                Research Report No: RR 720-03498                                    Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p179 para274
PX4772          RR 720-03732                                                Research Report No: RR-REG 720-03732                                Expert Report: Blume, Cheryl
                                                                                                                                                10/22/2007 p79 para123
PX4773          PFIZER_THO_0005335        PFIZER_THO_0005395           61   Response to FDA regarding suicide and suicide attempt in Neurontin Expert Report: Blume, Cheryl
                                                                            (gabapentin) clinical trials and postmarketing surveillance         10/22/2007 p155 fn84
PX4812          RR 720-02957                                                720-02957.pdf (Integrated Summary of Safety of Gabapentin)          Expert Report: Furberg supp
                                                                                                                                                expert report doc 1503-3 REF
                                                                                                                                                MATERIALS 1
PX4844                                                                      FDA Amicus Brief regarding Neurontin and Suicidality dated July 1, Expert Report: Gibbons002
                                                                            2008
PX4846                                                                      Pfizer Slide presentation to Columbia University Antiepileptic Drug Expert Report: Gibbons002
                                                                            Meeting dated June 2, 2008

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PX4848          PFIZER_JMARINO_0000703    PFIZER_JMARINO_0000704        2 Email sent to Elizabeth Mutisya from John Marino re: POPP Study       Expert Report: King III, Charles
                                                                                                                                                10/22/07 p37 fn140
PX4849          WLC_CBU_038946            WLC_CBU_038948                3 Neurontin 1996 SE CBU Plan                                            Expert Report: King III, Charles
                                                                                                                                                10/22/07 p32 fn104
PX4850          WLC_FRANKLIN_0000052548   WLC_FRANKLIN_0000052548       1 Parke-Davis Memorandum: Reporting of Neurontin Indication             Expert Report: King III, Charles
                                                                          Publications Analysis                                                 10/22/07 p12 fn34; p31 fn100
PX4851          PFIZER_LTIVE_0008275      PFIZER_LTIVE_0008292         18 8/2/2001 Neurontin Field Force Allocation                             Expert Report: King III, Charles
                                                                                                                                                10/22/07 p43 fn164, fn165; p47
                                                                                                                                                fn177, fn178
PX4852          PFIZER_LTIVE_0009300      PFIZER_LTIVE_0009327         28 Email sent to Michelle Mays from Leslie Tive re: April PSC meeting    Expert Report: King III, Charles
                                                                          action report                                                         10/22/07 p38 fn146
PX4853          PFIZER_RGLANZMAN_0000650 PFIZER_RGLANZMAN_0000776     127 Neurontin 2001 US Operating Plan                                      Expert Report: King III, Charles
                                                                                                                                                10/22/07 p36 fn137; p37 fn139
PX4854          PFIZER_RGLANZMAN_0054596 PFIZER_RGLANZMAN_0054609      14 Letter to Andrea Garrity re: NDA #s 20-235, 20-882 Neurontin          Expert Report: King III, Charles
                                                                          (gabapentin) MACMIS # 10174                                           10/22/07 p38 fn155
PX4855          PFIZER_LKNAPP_0091179     PFIZER_LKNAPP_0091182         4 Email sent from John Marino re: Neurontin, Boston Globe Report,       Expert Report: King III, Charles
                                                                          November 25, 2002                                                     10/22/07 p32 fn102
PX4856          PFIZER_SDOFT_0026331      PFIZER_SDOFT_0026387         57 Neurontin Publications Subcommittee Current Status and 2002 Plans     Expert Report: King III, Charles
                                                                                                                                                10/22/07 p37 fn143; p38 fn146,
                                                                                                                                                fn147
PX4857          PFIZER_LKNAPP_0070556     PFIZER_LKNAPP_0070558         3 Email sent from Larry Alphs re: Minutes from NeP expert panel         Expert Report: King III, Charles
                                                                                                                                                10/22/07 p38 fn152
PX4858          WLC_FRANKLIN_0000041005   WLC_FRANKLIN_0000041005       1 Fax including a copy of the Meeting Minutes of the Core Marketing     Expert Report: King III, Charles
                                                                          Team Meeting with conclusions and action items                        10/22/07 p30 fn89
PX4859          WLC_FRANKLIN_0000041006   WLC_FRANKLIN_0000041016      11 Conclusions and Action Items: Neurontin                               Expert Report: King III, Charles
                                                                                                                                                10/22/07 p30 fn89
PX4860          WLC_FRANKLIN_0000045772   WLC_FRANKLIN_0000046077     306 Neurontin Core Marketing Team Meeting in New York, NY                 Expert Report: King III, Charles
                                                                                                                                                10/22/07 p30 fn89
PX4861          WLC_FRANKLIN_0000047966   WLC_FRANKLIN_0000047971       6 Parke-Davis Memorandum: Meeting Minutes from August 29, 1995          Expert Report: King III, Charles
                                                                          Neurontin Indications Decision Analysis Group Meeting                 10/22/07 p31 fn100
PX4862          WLC_FRANKLIN_0000052547   WLC_FRANKLIN_0000052547       1 Email sent from Francie Kivel re: Neurontin Indication Publications   Expert Report: King III, Charles
                                                                          Analysis Report (includes Appendices)                                 10/22/07 p12 fn34; p31 fn100
PX4863          PFIZER_JMARINO_0001268    PFIZER_JMARINO_0001273        6 Fax transmittle of Exploratory Development Plan for Psychiatric       Expert Report: King III, Charles
                                                                          Indications for Gabapentin                                            10/22/07 p12 fn35
PX4864          PFIZER_RGLANZMAN_0134501 PFIZER_RGLANZMAN_0134503       3 Email sent from Elizabeth Mutisya re: GBP-post amputation pain        Expert Report: King III, Charles
                                                                                                                                                10/22/07 p37 fn140
PX4865          PFIZER_JMARINO_0000367    PFIZER_JMARINO_0000367        1 Email sent from John Marino re: Neurontin GDRC Presentation           Expert Report: King III, Charles
                                                                                                                                                10/22/07 p38 fn151
PX4866          0008597                   0008608                          AED Advisory Board Presentations by Mike Valentino                   Expert Report: King III, Charles
                                                                                                                                                10/22/07 p30 fn87
PX4867          PFIZER_AFANNON_0002912    PFIZER_AFANNON_0002967       56 Neurontin Publication Planning 2003 by Allison Fannon                 Expert Report: King III, Charles
                                                                                                                                                10/22/07 p38 fn144, fn145
PX4868          PFIZER_APANDE_0000544     PFIZER_APANDE_0000548         5 USPTO Patent Full-Text and Image Database                             Expert Report: King III, Charles
                                                                                                                                                10/22/07 p9 fn23
PX4869          PFIZER_CTAYLOR_0000412    PFIZER_CTAYLOR_0000451       40 Gabapentin PPT slides                                                 Expert Report: King III, Charles
                                                                                                                                                10/22/07 p17 fn39
PX4870          PFIZER_JMARINO_0000153    PFIZER_JMARINO_0000154        2 Email sent to John Marino from Steve Piron re: GDRC Meeting           Expert Report: King III, Charles
                                                                          Minutes for September 19, 2001                                        10/22/07 p38 fn151, fn152,
                                                                                                                                                fn153
PX4871          PFIZER_LTIVE_0008228      PFIZER_LTIVE_0008260         33 Neurontin 2002 Operating Plan PPT Slides                              Expert Report: King III, Charles
                                                                                                                                                10/22/07 p36 fn137
PX4872          PFIZER_JMARINO_0000363    PFIZER_JMARINO_0000366        4 Neurontin PPT slides                                                  Expert Report: King III, Charles
                                                                                                                                                10/22/07 p38 fn151

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Ex#      Date   Beg Bates                   End Bates                   Pages Description                                                          Exhibit Source
PX4873          WLC_FRANKLIN_0000052549     WLC_FRANKLIN_0000052576         1 Neurontin (CI-945) Indication Publications Decision Analysis         Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p12 fn34; p31 fn100
PX4874          PFIZER_JMARINO_0000809      PFIZER_JMARINO_0000809          1 Email sent from John Marino to Elizabeth Mutisya re: POPP Study      Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p37 fn140, fn141; p38
                                                                                                                                                   fn149, fn151
PX4875          PFIZER_LCASTRO_0002678      PFIZER_LCASTRO_0002682          5 Email sent from David Probert re: Publication of Key Studies         Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p37 fn141; p38 fn149
PX4876          PFIZER_LESLIETIVE_0020985   PFIZER_LESLIETIVE_0020986       2 Email sent from Judy Brown re: 25 and 26 Studies                     Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p37 fn141, fn142; p38
                                                                                                                                                   fn149
PX4877          PFIZER_LESLIETIVE_0080783   PFIZER_LESLIETIVE_0080784       2 Email sent to Leslie Tive from John Marino re: 224 Study             Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p37 fn141
PX4878          PFIZER_LKNAPP_0009569       PFIZER_LKNAPP_0009573           5 Pfizer Consultants Meeting                                           Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p38 fn151
PX4879          PFIZER_LKNAPP_0070537       PFIZER_LKNAPP_0070544           8 Expert Meeting Report: development of compounds for neuropathic      Expert Report: King III, Charles
                                                                              pain                                                                 10/22/07 p46 fn175
PX4880          PFIZER_JMARINO_0000155      PFIZER_JMARINO_0000157            Global Development Review Committee Meeting Minutes                  Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p38 fn151, fn152,
                                                                                                                                                   fn153
PX4881          WLC_FRANKLIN_0000111299     WLC_FRANKLIN_0000111302         4 Letter to Phil Magistro from Jacki Gordon                            Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p32 fn102
PX4882          WLC_FRANKLIN_0000166608     WLC_FRANKLIN_0000166635        28 Parke-Davis Memorandum: Neurontin Marketing Assessments              Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p11 fn33; p12 fn34;
                                                                                                                                                   p29 fn85
PX4883          WLC_FRANKLIN_0000134637     WLC_FRANKLIN_0000134637         1 Interoffice Memorandum from Atul Pande: Gabapentin Psychiatric       Expert Report: King III, Charles
                                                                              Studies                                                              10/22/07 p12 fn34; p29 fn85
PX4884          WLC_FRANKLIN_0000134428     WLC_FRANKLIN_0000134436         9 Parke-Davis Memorandum: Meeting Minutes, October 18, 1994,           Expert Report: King III, Charles
                                                                              Neurontin Development Team Meeting                                   10/22/07 p29 fn82
PX4885          WLC_FRANKLIN_0000134381     WLC_FRANKLIN_0000134386         6 Parke-Davis Memorandum: Minutes, January 17, 1995, Neurontin         Expert Report: King III, Charles
                                                                              Development Team Meeting                                             10/22/07 p29 fn82
PX4886          WLC_FRANKLIN_0000134376     WLC_FRANKLIN_0000134380         5 Parke-Davis Memorandum: Meeting Minutes, February 21, 1995,          Expert Report: King III, Charles
                                                                              Neurontin Development Team Meeting                                   10/22/07 p29 fn82
PX4887          WLC_FRANKLIN_0000134368     WLC_FRANKLIN_0000134373         6 Parke-Davis Memorandum: Meeting Minutes, March 14, 1995,             Expert Report: King III, Charles
                                                                              Neurontin Development Team Meeting                                   10/22/07 p12 fn34; p29 fn85
PX4888          WLC_FRANKLIN_0000134331     WLC_FRANKLIN_0000134335         5 Parke-Davis Memorandum: Meeting Minutes, November 14, 1995,          Expert Report: King III, Charles
                                                                              Neurontin Development Team Meeting                                   10/22/07 p30 fn89
PX4889          WLC_FRANKLIN_0000112124     WLC_FRANKLIN_0000112148        25 1998 Neurontin Tactics                                               Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p33 fn106
PX4890          WLC_FRANKLIN_0000111583     WLC_FRANKLIN_0000111583         1 Articles on Antiepileptic Drug Use in Epilepsy and Other Disorders   Expert Report: King III, Charles
                                                                              Project Staus as of July 18, 1997                                    10/22/07 p30 fn87
PX4891          WLC_FRANKLIN_0000111303     WLC_FRANKLIN_0000111307         5 Invoices #s: 7094, 7093, 7014, 7065, 7064                            Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p32 fn102
PX4892          WLC_FRANKLIN_0000108236     WLC_FRANKLIN_0000108252        17 Neurontin Northeast CBU 1997                                         Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p33 fn106
PX4893          WLC_FRANKLIN_0000096534     WLC_FRANKLIN_0000096539         6 Presentation: ACE Inhibitor South East Share                         Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p30 fn87
PX4894          WLC_FRANKLIN_0000096525     WLC_FRANKLIN_0000096533         9 Neurontin 1996 SE CBU Plan                                           Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p30 fn87
PX4895          WLC_FRANKLIN_0000062105     WLC_FRANKLIN_0000062110         6 1998 Strategic Plan and A and P Allocation Grid Neurontin            Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p30 fn97
PX4896          WLC_FRANKLIN_0000111581     WLC_FRANKLIN_0000111582         2 Parke-Davis Memorandum: Selected Physician Titration Update          Expert Report: King III, Charles
                                                                                                                                                   10/22/07 p30 fn87


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PX4897          WLC_FRANKLIN_0000089885   WLC_FRANKLIN_0000089885       1 Parke-Davis Memorandum: Neurontin Verbatims                          Expert Report: King III, Charles
                                                                                                                                               10/22/07 p30 fn96
PX4898          WLC_FRANKLIN_0000056748   WLC_FRANKLIN_0000056760      13   Northeast CBU 1997 Situation Analysis                              Expert Report: King III, Charles
                                                                                                                                               10/22/07 p33 fn106, fn107
PX4899          WLC_FRANKLIN_0000056316   WLC_FRANKLIN_0000056352      37   Emerging Applications in the Uses of AEDs, An Educational Proposal Expert Report: King III, Charles
                                                                                                                                               10/22/07 p31 fn98
PX4900          WLC_FRANKLIN_0000068350   WLC_FRANKLIN_0000068353       5   Neurontin Article Series                                           Expert Report: King III, Charles
                                                                                                                                               10/22/07 p32 fn102 *Author
                                                                                                                                               wrote V06976326
PX4901          WLC_FRANKLIN_0000081254   WLC_FRANKLIN_0000081279      26   Parke-Davis Memorandum: Neurontin Marketing Assessment             Expert Report: King III, Charles
                                                                            (included)                                                         10/22/07 p12 fn34; p29 fn85
PX4902          WLC_FRANKLIN_0000085334   WLC_FRANKLIN_0000085339       6   Parke-Davis Memorandum: Minutes/Action Items from Marketing        Expert Report: King III, Charles
                                                                            Council Meeting February 28 - March 2, 1995, Lyon, France          10/22/07 p29 fn85
PX4903          WLC_FRANKLIN_0000089332   WLC_FRANKLIN_0000089373      42   Marketing Assessment: Neurontin in Psychiatric Disorders           Expert Report: King III, Charles
                                                                                                                                               10/22/07 p29 fn82, fn85
PX4904          WLC_FRANKLIN_0000089884   WLC_FRANKLIN_0000089884       1   Parke-Davis Memorandum: Neurontin Details                          Expert Report: King III, Charles
                                                                                                                                               10/22/07 p30 fn96
PX4905          WLC_FRANKLIN_0000056353   WLC_FRANKLIN_0000056357       5   Emerging Applications in the Use of AEDs                           Expert Report: King III, Charles
                                                                                                                                               10/22/07 p31 fn98
PX4906          IND_28454_SUB_004_0101                                      Research Report No: RR 4192-0166                                   Expert Report:
                                                                                                                                               Kruszewski,Stefan P 00/00/2007
                                                                                                                                               p21 fn42
PX4907          PFIZER_CPACELLA_0009404   PFIZER_CPACELLA_0009421      18   Behavioural Disturbance with Gabapentin by Professor Michael       Expert Report:
                                                                            Trimble                                                            Kruszewski,Stefan P 00/00/2007
                                                                                                                                               p23 fn113
PX4908          MAA_MISC_030_0077                                           Parke-Davis Memorandum: Gabapentin MAA-Product Profle              Expert Report:
                                                                                                                                               Kruszewski,Stefan P 00/00/2007
                                                                                                                                               p21 fn62
PX4909          PFIZER_PSUR_0001882       PFIZER_PSUR_0002014         133   Periodic Report: Drug Safety Gabapentin / Neurontin                Expert Report:
                                                                                                                                               Kruszewski,Stefan P 00/00/2007
                                                                                                                                               p23 fn112
PX4910          MAA_MISC_028_0224                                           Email sent from Charlie Taylor re: Neurontin pharmacology (re:     Expert Report:
                                                                            France)                                                            Kruszewski,Stefan P 00/00/2007
                                                                                                                                               p21 fn54
PX4911          RR 740-02866                                                RR 740-02866; Affinity of Gabapentin in Various Receptor Binding   Expert Report: Pages from Ex 8
                                                                            Assays                                                             Trimble General Causation
                                                                                                                                               report REF MATERIALS
PX4912          RR 740-03545                                                RR 740-03545; Monoamine Neuronal Reuptake Affinities of            Expert Report: Pages from Ex 8
                                                                            Gabapentin and Pregabalin                                          Trimble General Causation
                                                                                                                                               report REF MATERIALS
PX4928          PFIZER_SCRISTO_0000513    PFIZER_SCRISTO_0000519            PMP Minutes (16 Jan 03) [Pfizer_Scristo_0000513 to 19]             Expert Report: Ruggieri002 87
PX4929          PFIZER_GGRIBKO_0002762                                      May 4, 2004 E-mail from Greg Gribko to Douglas Kargman              Expert Report: Ruggieri002 99
                                                                            [Pfizer_GGribko_0002762]
PX4930                                                                      Neurontin label (revised September 2003)                            Expert Report: Ruggieri002 4
PX4931          PFIZER_LCASTRO_0076898    PFIZER_LCASTRO_0076900            RMWG Minutes (16 Jan 02) [Pfizer_LCastro_0076898 to 900]            Expert Report: Ruggieri002 97
PX4932          PFIZER_LKNAPP_0025486     PFIZER_LKNAPP_0025490             RMWG Minutes (24 Sep 01) [Pfizer_LKnapp_0025486 to 90]              Expert Report: Ruggieri002 96
PX4933          PFIZER_RGLANZMAN_0036788 PFIZER_RGLANZMAN_0036792           RMWG Minutes (12 Jun 01) [Pfizer_Rglanzman_0036788 to 92]           Expert Report: Ruggieri002 95
PX4934          PFIZER_LCASTRO_0084739    PFIZER_LCASTRO_0084741            PMP Labeling CWG Minutes (4 Mar 04) [Pfizer_Lcastro_0084739 to      Expert Report: Ruggieri002 94
                                                                            41]


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Ex#      Date   Beg Bates                  End Bates                  Pages Description                                                              Exhibit Source
PX4935          PFIZER_MEVERTSZ_0015747    PFIZER_MEVERTSZ_0015748           PMP Labeling CWG Minutes (1 Mar 04) [Pfizer_Mevertsz_0015747 to         Expert Report: Ruggieri002 93
                                                                             48]
PX4937          PFIZER_RGLANZMAN_0166311 PFIZER_RGLANZMAN_0166314            PMP Labeling CWG Minutes (25 Jul 02) [Pfizer_RGlanzman_0166311          Expert Report: Ruggieri002 89
                                                                             to 14]
PX4939          PFIZER_GGRIBKO_0002764     PFIZER_GGRIBKO_0002835            Periodic Safety Update Report (Gabapentin), United Kingdom,             Expert Report: Ruggieri002 100
                                                                             February 1, 2003 through January 31, 2004 [Pfizer_Ggribko_0002764
                                                                             to 835]
PX4949                                                                       Neurontin label (December 30,1993)                                      Expert Report: Ruggieri002 2
PX4951                                                                       Neurontin label (revised July 2001)                                     Expert Report: Ruggieri002 3
PX4952          RR 720-03322                                                 RR-REG 720-03322 (December 14,1993)                                     Expert Report: Ruggieri002 123
PX4953          RR 720-03132                                                 RR-REG 720-03132 (December 30,1992)                                     Expert Report: Ruggieri002 121
PX4954          RR 720-03079                                                 RR-REG 720-03079 (May 29,1992)                                          Expert Report: Ruggieri002 120
PX4957                                                                       "Gabapentin and Suicide" by Jeffrey Mohan (October 2005)                Expert Report: Ruggieri002 9
PX4958                                                                       "Gabapentin and Suicide" by Tina Ho (August 2004)                       Expert Report: Ruggieri002 6
PX4959                                                                       Neurontin label (revised December 2005)                                 Expert Report: Ruggieri002 5
PX4963          PFIZER_THO_0001634                                           E-mail from Lesia Tontisakis to Michael Campbell (January 16, 2003,     Expert Report: Ruggieri002 69
                                                                             4:19 PM) [Pfizer_THO_0001634]
PX4964          PFIZER_THO_0001633                                           E-mail from Cathy Sigler to Tina Ho (January 9, 2003, 4:54 PM)          Expert Report: Ruggieri002 68
                                                                             [Pfizer_THO_0001633]
PX4969          PFIZER_MEVERTSZ_00131185   PFIZER_MEVERTSZ_00131202          February 2000 Review of the Neuropsychiatric Adverse Events             Expert Report: Ruggieri002 57
                                                                             Reported in Association with the Use of Gabapentin During the Period
                                                                             1: January 1996 to 31 December 1999, Warner-Lambert's Drug Safety
                                                                             Surveillance [Pfizer_Mevertsz_00131185 to 202]
PX4970          PFIZER_LCASTRO_0015365     PFIZER_LCASTRO_0015371            PMP Minutes (17 Oct 02) [Pfizer_Lcastro_0015365 to 71]                  Expert Report: Ruggieri002 86
PX4974          PFIZER_LKNAPP_0135257      PFIZER_LKNAPP_0135258             E-mail from James Leonard to Elizabeth Garofalo (February 8,2000)       Expert Report: Ruggieri002 52
                                                                             Pfizer_Lknapp_0135257 to 58
PX4980          PFIZER_ELUCZAK_0067016                                       Pfizer Worldwide Development Safety and Risk Management: Master         Expert Report: Ruggieri002 44
                                                                             Document on Pharmacovigilance (August 2005)
                                                                             Pfizer_Eluczak_0067016-0067016
PX4981          PFIZER_ELUCZAK_0067211     PFIZER_ELUCZAK_0067255            Pfizer Worldwide Development Safety and Risk Management: Master         Expert Report: Ruggieri002 43
                                                                             Document on Pharmacovigilance (October 2004)
                                                                             Pfizer_Eluczak_0067211- 0067255
PX4989          PFIZER_LCASTRO_0015331     PFIZER_LCASTRO_0015338            PMP Minutes (19 Jul 01) [Pfizer_Lcastro_0015331 to 38]                  Expert Report: Ruggieri002 81
PX4991          PFIZER_MEVERTSZ_0091472    PFIZER_MEVERTSZ_0091478          Tabular Summary of the Indications and Medical History in Cases          Expert Report: Ruggieri002 79
                                                                            Reporting Patients Who Committed Suicide or Attempted Suicide
                                                                            While Receiving Gabapentin, by Jigna Shaw, Pharm. D., July 28, 2006
                                                                            [Pfizer_Mevertsz_0091472 to 78]
PX4993          PFIZER_JSU_0026449                                          E-mail from Linda LaMoreaux to Julia Su (November 6, 2003, 2:02          Expert Report: Ruggieri002 76
                                                                            PM) [Pfizer_Jsu_0026449]
PX4994          PFIZER_BPARSONS_0134014                                     E-mail from Bruce Parsons to Claire Wohlhuter (October 14, 2003,         Expert Report: Ruggieri002 75
                                                                            4:04 PM) [Pfizer_Bparsons_0134014]
PX4995          PFIZER_SDOFT_0056764                                        E-mail from Suzanne Doft to Jill Bruzga, et al. (October 9, 2003, 5:07   Expert Report: Ruggieri002 72
                                                                            PM) [Pfizer_SDoft_0056764]
PX4997          PFIZER_SDOFT_0055890                                        E-mail from Ed Whalen to Claire Wohlhuter, et al. (October 9, 2003,      Expert Report: Ruggieri002 73
                                                                            7:08 PM) [Pfizer_Sdoft_0055890]
PX5028          PFIZER_MCLAUSSEN_0003564   PFIZER_MCLAUSSEN_0003569       6 Neurontin (gabapentin) Pharmacology-General mechanism of drug            Expert Report: Trimble, Michael

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Ex#      Date       Beg Bates                 End Bates                 Pages Description                                                            Exhibit Source
                                                                                action                                                               00/00/2007 p23; p28
PX5029              PFIZER_CTAYLOR_0011499    PFIZER_CTAYLOR_0011502        4 Comparison of pharmacology of gabapentin and vigabatrin                Expert Report: Trimble, Michael
                                                                                                                                                     00/00/2007 p31
PX5030              PFIZER_CTAYLOR_0001612    PFIZER_CTAYLOR_0001643       32   Report: Mechanisms of Action of Gabapentin by Charles Taylor         Expert Report: Trimble, Michael
                                                                                                                                                     00/00/2007 p34
PX5031              PFIZER_CTAYLOR_0001567    PFIZER_CTAYLOR_0001611       45   Report: Mechanisms of Action of Gabapentin by Charles Taylor (draft) Expert Report: Trimble, Michael
                                                                                                                                                     00/00/2007 p30
PX5032              PFIZER_CTAYLOR_0000094    PFIZER_CTAYLOR_0000121       28   The Biology and Pharmacology of Calcium Channel (alpha-2-gamma) Expert Report: Trimble, Michael
                                                                                Proteins (Presentation)                                              00/00/2007 p32
PX5033              PFIZER_LCASTRO_0071507    PFIZER_LCASTRO_0071885      379   Neurontin Annual Report (August 19, 2003-August 19, 2004)            Expert Report: Trimble, Michael
                                                                                                                                                     00/00/2007 p35
PX5034              PFIZER_CTAYLOR_0020168    PFIZER_CTAYLOR_0020179       12   Executive Summary: Mechanisms of Action Data-Sharing Meeting         Expert Report: Trimble, Michael
                                                                                                                                                     00/00/2007 p35
PX5057              RR 720-03850                                                Research Report 720-03 850 (March 19, 1999) (social phobia study)    Expert Report: Weiss-Smith002-
                                                                                                                                                     Reliance Materials
PX5063              RR 720-03851                                                Research Report 720-0385 1 (April 9, 1999) (panic disorder study)    Expert Report: Weiss-Smith002-
                                                                                                                                                     Reliance Materials
PX5083                                                                          PFOENIX                                                              MISC
PX5084   19921201   120192QUERY               120192QUERY                       Memorandum: Committee Mailing-Neurontin (Gabapentin) NDA 20-         MISC
                                                                                235
PX5101   19920330   MAA_MISC_0030_0075        MAA_MISC_0030_0077                Parke-Davis Memorandum: Gabapentin MAA-Product Profle                MISC
PX5102   20020531   MDL_PL_0002               MDL_PL_0005                       USMI Standard Monthly Reports re: US Medical Information Standard MISC
                                                                                Monthly Reports
PX5105              NEURONTI_SR_80047AC8      NEURONTI_SR_80047AC8              Suicide Clinical Communications Letter                            MISC
PX5106   19910618   PATENT_DEPRESSION         PATENT_DEPRESSION                 United States Patent                                                 MISC
PX5108   20020522   PFIZER_AGARRITY_0002266   PFIZER_AGARRITY_0002269           Email sent from John Marino re: Neurontin labeling, Ground rules and MISC
                                                                                Agenda, Meeting, May 22
PX5109   20010524   PFIZER_AGARRITY_0005216   PFIZER_AGARRITY_0005217           5/24/2001 Email from Pande to Distribution                           MISC
PX5112   20041026   PFIZER_APANDE_0003795     PFIZER_APANDE_0003813             Letter to Douglas Throckmorton, Russell Katz, and Bob Rappaport      MISC
                                                                                from Jonathon Parker re: Lyrica (pregabalin) Capsules, etc.
PX5114   20011031   PFIZER_CGROGAN_0012289    PFIZER_CGROGAN_0012289            10/31/2001 Email from Piron to Doft et al                            MISC
PX5115   20020221   PFIZER_CGROGAN_0012492    PFIZER_CGROGAN_0012492            Email sent from John Marino re: NEU-0032890 Labeling                 MISC
                                                                                Subcommittee Review of Gabapentin Neuropathic Pain BOP
PX5116              PFIZER_CGROGAN_0012493    PFIZER_CGROGAN_0012590            BOP Labeling_Neurontin                                               MISC
PX5121              PFIZER_CTAYLOR_0000204    PFIZER_CTAYLOR_0000220            Gabapentin PPT slides                                                MISC
PX5123              PFIZER_CTAYLOR_0000414    PFIZER_CTAYLOR_0000414            Gabapentin PPT slides                                                MISC
PX5124              PFIZER_CTAYLOR_0005341    PFIZER_CTAYLOR_0005389            Gabapentin: Pharmacology Written Summary                             MISC
PX5127              PFIZER_CTAYLOR_0010827    PFIZER_CTAYLOR_0010860            PPT Presentation Slides: Clinical Development in the Slipstream of   MISC
                                                                                Gabapentin
PX5128   00000100   PFIZER_CTAYLOR_0011178    PFIZER_CTAYLOR_0011184            Neurontin Usage PPT slides                                           MISC
PX5129              PFIZER_CTAYLOR_0011878    PFIZER_CTAYLOR_0011899            Query after 1st Review Gabapentin                                    MISC
PX5133   20000905   PFIZER_CTAYLOR_0012843    PFIZER_CTAYLOR_0012843            Gabapentin Mechanism Work Group Team Chapter                         MISC
PX5135   20020523   PFIZER_CTAYLOR_0017228    PFIZER_CTAYLOR_0017229            Email sent from Drusilla Scott re: Neurontin PHN SNDA; status and    MISC
                                                                                labeling
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Ex#      Date       Beg Bates                   End Bates                   Pages Description                                                          Exhibit Source
PX5144   20040425   PFIZER_GDIECK_0000142       PFIZER_GDIECK_0000142              Email sent from Manfred Hauben re: FDA request for teleconference   MISC
                                                                                   with Pfizer to discuss safety concerns with Neurontin
PX5145   00000002   PFIZER_GDIECK_0002605       PFIZER_GDIECK_0002614              Neurontin Medical Initiatives for 2002 PPT slides                   MISC
PX5149   19910618   PFIZER_INRE_0002701         PFIZER_INRE_0002704                United States Patent                                                MISC
PX5150   19950519   PFIZER_JMARINO_0001274      PFIZER_JMARINO_0001316             Parke-Davis Memorandum: Neurontin Marketing Assessment              MISC
PX5154              PFIZER_LCASTRO_0003585      PFIZER_LCASTRO_0003653            Clinical Expert Report and Written Summary of Clinical Studies:      MISC
                                                                                  Gabapentin for the Treatment of Neuropathic Pain
PX5155   20020515   PFIZER_LCASTRO_0011438      PFIZER_LCASTRO_0011519         82 Investigator's Brochure Addendum for Epilepsy Neurontin              MISC
                                                                                  (Gabapentin), May 2002
PX5160   20040816   PFIZER_LCASTRO_0041975      PFIZER_LCASTRO_0042547        573 Gabapentin and Suicide Report                                        MISC
PX5163   20001113   PFIZER_LESLIETIVE_0020922   PFIZER_LESLIETIVE_0020945         Email sent to Leslie Tive from Angela Crespo re: Revised draft of    MISC
                                                                                  publication for 945-224
PX5164   20020301   PFIZER_LKNAPP_0012750       PFIZER_LKNAPP_0012773          24 Research Report No: RR-MEMO 720-30106                                MISC
PX5171   20041001   PFIZER_LKNAPP_0103774       PFIZER_LKNAPP_0103781           8 Suicide Rates in Neurontin Treated Populations                       MISC
PX5173   00000019   PFIZER_LTIVE_0005147        PFIZER_LTIVE_0005148               Mechanisms of Action of anticonvulsants                             MISC
PX5174   20020403   PFIZER_LTIVE_0006479        PFIZER_LTIVE_0006497               Email sent to Michelle Mays from Leslie Tive re: Neurontin          MISC
                                                                                   Information
PX5185   20010910   PFIZER_LTIVE_0012408        PFIZER_LTIVE__0012414              Psychiatrist Use of Anticonvulsants Discussion Guide                MISC
PX5187              PFIZER_LTIVE_0028530        PFIZER_LTIVE_0028540               PPT slides                                                          MISC
PX5188              PFIZER_LTIVE_0028559        PFIZER_LTIVE_0028571               PPT slides Gabapentin                                               MISC
PX5190   20030321   PFIZER_LTIVE_0040120        PFIZER_LTIVE_0040940          821 Periodic Safety Update Report Gabapentin February 1, 1998 through    MISC
                                                                                  January 31, 2003
PX5193   20030613   PFIZER_MCLAUSSEN_0001790    PFIZER_MCLAUSSEN_0001826       37 Neurontin PPT Presentation by Michelle Clausen and Yuan Wang         MISC
PX5198   20040806   PFIZER_MCLAUSSEN_0005652    PFIZER_MCLAUSSEN_0005736       85 Adverse Event Reporting Rate (PT)                                    MISC
PX5200   20010305   PFIZER_MDONG_0000061        PFIZER_MDONG_0000069               Drugs in Clinical Development for Epilepsy                          MISC
PX5201   20000301   PFIZER_MDONG_0000112        PFIZER_MDONG_0000114               Project Operating Plan (POP)                                        MISC
PX5202   20000225   PFIZER_MEVERTSZ_0013185     PFIZER_MEVERTSZ_0013202            Review of the Neuropsychiatric Adverse Events Reported in           MISC
                                                                                   Association with the Use of Gabapentin during the Period
                                                                                   January 1, 1996 to December 31, 1999
PX5203              PFIZER_MEVERTSZ_0015802     PFIZER_MEVERTSZ_0015811            Increase Frequency Analysis                                         MISC
PX5204   20000806   PFIZER_MEVERTSZ_0015812     PFIZER_MEVERTSZ_0015813            Neurontin (gabapentin) Tablets Single Moiety Increased Frequency    MISC
                                                                                   Analysis NDA#20-882
PX5205   20060607   PFIZER_MEVERTSZ_0079561     PFIZER_MEVERTSZ_0079568            Neurontin Suicidality Overview Table                                MISC
PX5210   20021014   PFIZER_RGLANZMAN_0022069 PFIZER_RGLANZMAN_0022072              Pfizer Memorandum: Gabapentin Product Maintenance and               MISC
                                                                                   Pharmacovigilance (PMP) Labeling Core Working Group (CWG)
PX5211   20071022   PFIZER_RGLANZMAN_0022073 PFIZER_RGLANZMAN_0022075              Pfizer Memorandum: Gabapentin Product Maintenance and               MISC
                                                                                   Pharmacovigilance (PMP) Labeling Core Working Group (CWG)
PX5212   20010913   PFIZER_RGLANZMAN_0040003 PFIZER_RGLANZMAN_0040004              9/13/2001 Email from Mutisya to Murphy et al                        MISC
PX5213   20010914   PFIZER_RGLANZMAN_0040032 PFIZER_RGLANZMAN_0040033              Email sent from Kirk Taylor re: GBP-post amputation pain            MISC
PX5215   20010418   PFIZER_RGLANZMAN_0095109 PFIZER_RGLANZMAN_0095118              Neurontin: Safety Surveillance                                      MISC


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PX5216   20021121   PFIZER_RGLANZMAN_0121697 PFIZER_RGLANZMAN_0121700          Email sent from Angela Crespo re: Backonja                          MISC
PX5219              PFIZER_THO_0000145       PFIZER_THO_0000150             6 Adverse Event Reporting Rate (PT)                                    MISC
PX5220              PFIZER_THO_0000197       PFIZER_THO_0000198             2 FDA Contact Report                                                   MISC
PX5223              PFIZER_THO_0000248       PFIZER_THO_0000249             2 Costart Report                                                       MISC
PX5224              PFIZER_THO_0000746       PFIZER_THO_0000756            11 Email sent from Kay Samulak re: Gabapentin MEB assessment            MISC
PX5226   20040818   PFIZER_THO_0001943       PFIZER_THO_0001957            15 MedWatch Mfr Report #041-0912-860001-01                              MISC
PX5227   20031009   PFIZER_THO_0004952       PFIZER_THO_0004953                Email sent from Julia Su re: Neurontin and Suicide                  MISC
PX5228   20031009   PFIZER_THO_0004954       PFIZER_THO_0004954                Email sent from Tina Ho re: Neurontin and Suicide                   MISC
PX5230   20040802   PFIZER_THO_0005023       PFIZER_THO_0005056            34 MedWatch Mfr Report #001-0945-900031-00                              MISC
PX5231   20040802   PFIZER_THO_0005057       PFIZER_THO_0005057             1 MedWatch Mfr Report #001-0945-940103-00                              MISC
PX5234   20040902   PFIZER_THO_0006829       PFIZER_THO_0006830             2 Narrative Line Listing AER Number: 032-0945-M0000010                 MISC
PX5235   20040902   PFIZER_THO_0006831       PFIZER_THO_0006833             3 Narrative Line Listing AER Number: 001-0945-940009                   MISC
PX5239   20031104   PFIZER_THO_0008019       PFIZER_THO_0008168           150 Serious Adverse Events Gabapentin Clinical Study Cases 01/01/1980-   MISC
                                                                              15/10/2003
PX5240   20030904   PFIZER_THO_0008296       PFIZER_THO_0008300               Letter from Jovi Bacud-van der Kallen re: Periodic Safety Update     MISC
                                                                              Report (PSUR) February 1, 1998 through January 31, 2003 Neurontin
                                                                              (gabapentin)
PX5242   20020331   PFIZER_THO_0011189       PFIZER_THO_0011194               Hallucinations and Gabapentin Report (draft)                         MISC
PX5247   20031024   PFIZER_THO_0024852       PFIZER_THO_0024856             5 MedWatch Mfr Report #001-0945-880004-01                              MISC
PX5249   20051130   PFIZER_TMF_CRF_001124    PFIZER_TMF_CRF_001132          9 Warner-Lambert Company WAERS Composite Report Event No:              MISC
                                                                              13089
PX5250   20051130   PFIZER_TMF_CRF_001133    PFIZER_TMF_CRF_001138          6 Warner-Lambert Memorandum: Routing Slip: WAERS Reports               MISC
PX5251   20051130   PFIZER_TMF_CRF_001139    PFIZER_TMF_CRF_001140          2 Warner-Lambert Company WAERS Composite Report Event No:              MISC
                                                                              14362
PX5252   20051130   PFIZER_TMF_CRF_001141    PFIZER_TMF_CRF_001148          8 Warner-Lambert Memorandum: Routing Slip: WAERS Reports               MISC
PX5253   20051130   PFIZER_TMF_CRF_001149    PFIZER_TMF_CRF_001151          3 Warner-Lambert Memorandum: Routing Slip: WAERS Reports               MISC
PX5254   20051130   PFIZER_TMF_CRF_001152    PFIZER_TMF_CRF_001153          2 Warner-Lambert Company WAERS Composite Report Event No:              MISC
                                                                              22288
PX5255   20051130   PFIZER_TMF_CRF_001154    PFIZER_TMF_CRF_001160          7 Warner-Lambert Memorandum: Routing Slip: WAERS Reports               MISC
PX5256   20051130   PFIZER_TMF_CRF_001168    PFIZER_TMF_CRF_001169          2 Warner-Lambert Company WAERS Composite Report Event No:              MISC
                                                                              14801
PX5257   20051130   PFIZER_TMF_CRF_001177    PFIZER_TMF_CRF_001179          3 Warner-Lambert Memorandum: Routing Slip: WAERS Reports               MISC
PX5258   20051130   PFIZER_TMF_CRF_001180    PFIZER_TMF_CRF_001184          5 Parke-Davis Memorandum: Follow-up Adverse Event Report               MISC
PX5259   20051130   PFIZER_TMF_CRF_001196    PFIZER_TMF_CRF_001201          6 Warner-Lambert Memorandum: Routing Slip: WAERS Reports               MISC
PX5260   20051130   PFIZER_TMF_CRF_001202    PFIZER_TMF_CRF_001208          7 Warner-Lambert Memorandum: Routing Slip: WAERS Reports               MISC
PX5261   20051130   PFIZER_TMF_CRF_001290    PFIZER_TMF_CRF_001296          7 Warner-Lambert Memorandum: Routing Slip: WAERS Reports               MISC
PX5262   20051130   PFIZER_TMF_CRF_001297    PFIZER_TMF_CRF_001298          2 Warner-Lambert Company WAERS Composite Report Event No:              MISC
                                                                              25691
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Ex#      Date       Beg Bates                 End Bates                 Pages Description                                                       Exhibit Source
PX5263   20051130   PFIZER_TMF_CRF_001319     PFIZER_TMF_CRF_001321         3 Warner-Lambert Memorandum: Routing Slip: WAERS Reports            MISC
PX5264   20051130   PFIZER_TMF_CRF_001809     PFIZER_TMF_CRF_001820        12 Statprobe, Inc.data Clarification Form-Gabapentin CI945-94        MISC
PX5265   20051201   PFIZER_TMF_CRF_002765     PFIZER_TMF_CRF_002766         2 Warner-Lambert Adverse Event Report Form                          MISC
PX5266   20051201   PFIZER_TMF_CRF_002767     PFIZER_TMF_CRF_002773         7 Parke-Davis Memorandum: Initial Adverse Event Report              MISC
PX5267   20051201   PFIZER_TMF_CRF_002841     PFIZER_TMF_CRF_002842         2 Letter addressed to David Dunner re: study of Gabapentin in Bipolar MISC
                                                                              Disorder
PX5268   19970609   RESPONSE                  RESPONSE                        Letter addressed to Lesley Frank re: MACMIS File ID #4162 NDA-20- MISC
                                                                              235, Neurontin (gabapentin capsules)
PX5269   20010709   RR 720-30077                                              Research Report No: RR-REG 720-30077                                MISC
PX5270   20011128   RR 720-30134                                               Research Report No: RR-REG 720-30134                             MISC
PX5271   20021105   RR 720-30154                                               Research Report No: RR 720-30154                                 MISC
PX5272   20010719   RR 740-03550                                               Research Report No: RR-REG 740-03550                             MISC
PX5275              WLC_CBU_000152            WLC_CBU_000153                   Medical Mania                                                    MISC
PX5279              WLC_CBU_007901            WLC_CBU_007901                1 Letter from William Sigmund re: Neurontin                         MISC
PX5283   19960515   WLC_FRANKLIN_0000020869   WLC_FRANKLIN_0000020878          Assessing New Clinical Uses for Neurontin: A Meeting for Neurology MISC
                                                                               and Psychiatry Consultants
PX5285   19950726   WLC_FRANKLIN_0000038501   WLC_FRANKLIN_0000038502          Parke-Davis Memorandum: Selected Physician Titration Analysis      MISC
PX5287              WLC_FRANKLIN_0000166566   WLC_FRANKLIN_0000166607          PD Marketing Assessment Neurontin in Psychiatric Disorders       MISC
PX5289              WLC_JTURNER_000524        WLC_JTURNER_000527            4 Record of FDA Contact                                             MISC
PX5290              WLC_JTURNER_000535        WLC_JTURNER_000539            5 Record of FDA Contact                                             MISC
PX5291              WLC_JTURNER_000757        WLC_JTURNER_000758            2 Record of FDA Contact                                             MISC
PX5292              WLC_JTURNER_000826        WLC_JTURNER_000828            3 Record of FDA Contact                                             MISC
PX5293              WLC_JTURNER_000936        WLC_JTURNER_000937            2 Record of FDA Contact                                             MISC
PX5294              WLC_JTURNER_000952        WLC_JTURNER_000954            3 Record of FDA Contact                                             MISC
PX5296              WLC_JTURNER_002791        WLC_JTURNER_002792            2 Record of FDA Contact                                             MISC
PX5299   20030401   PFIZER_LTIVE_0032827      PFIZER_LTIVE_0032828          2 1000 Days of NEURONTIN                                            MISC
PX5300   20040127   PFIZER_LALPHS_0011639     PFIZER_LALPHS_0011710        72 2                                                                 MISC
PX5301   20010214   PFIZER_LTIVE_0027716      PFIZER_LTIVE_0027784         69 945-186                                                           MISC
PX5303   19971003   PFIZER_CTAYLOR_0008068    PFIZER_CTAYLOR_0008116       49 A SUMMARY OF MECHANISTIC HYPOTHESES OF                            MISC
                                                                              GABAPENTIN PHARMACOLOGY
PX5309                                                                        ALPHS VIDEO                                                       MISC
PX5310              PFIZER_CTAYLOR_0008905    PFIZER_CTAYLOR_0008922           An Update on the Possible Mechanisms of Action of Gabapentin     MISC
PX5311                                                                         ARISGDatabase                                                    MISC
PX5313                                                                         Audio Alphs                                                      MISC
PX5314                                                                         Audio Pande                                                      MISC

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PX5315                                                                           Audiofiles                                                       MISC
PX5316                                                                           Betsy                                                            MISC
PX5318   20011115   PFIZER_LKNAPP_0028682      PFIZER_LKNAPP_0028704         23 C O N F I D E N T I A L                                           MISC
PX5319                                                                           Clary Audio File                                                 MISC
PX5320              PFIZER_LTIVE_0008792       PFIZER_LTIVE_0008813          22 CLINICAL PLAN-LT#1/MEDICAL                                        MISC
PX5323                                                                           CMMS                                                             MISC
PX5324                                                                           Crognale CMMS and Sherlock Notes                                 MISC
PX5325                                                                           Crognale NDC Data                                                MISC
PX5326   20040817   PFIZER_THO_0004368         PFIZER_THO_0004380                CTD-pev[g                                                        MISC
PX5330                                                                           Declaration of Joshua Peteet Dated April 14, 2009                MISC
PX5334                                                                           FDADatabase                                                      MISC
PX5336   20030409   PFIZER_MCLAUSSEN_0001678   PFIZER_MCLAUSSEN_0001678       1 For the month of March, Neurontin remained one of the top 10     MISC
                                                                                requested products in US Medical Information, with approximately
PX5338   20041213   PFIZER_CTAYLOR_0021218     PFIZER_CTAYLOR_0021221         4 FW: **REMINDER DUE MONDAY**ACTION REQUIRED: MOA MISC
                                                                                Publications Working Group please review - Heteroaromatic Side-
                                                                                chain Analogs manuscript - Due: 12/6
PX5341   20030512   PFIZER_LTIVE_0032991       PFIZER_LTIVE_0032992           2 Fw: Professor Martin Koltzenburg question                        MISC
PX5343   20010514   PFIZER_CTAYLOR_0015156     PFIZER_CTAYLOR_0015157         2 GABA Modulator                                                    MISC
PX5344   19980317   PFIZER_CTAYLOR_0008781     PFIZER_CTAYLOR_0008797        17 Gabapentin                                                        MISC
PX5349              PFIZER_LLAMOREAUX_003128 PFIZER_LLAMOREAUX_0031638      354 GBP FOI DOCUMENTS                                                 MISC
                    5
PX5351                                                                           Goldman CMMS and Sherlock Notes                                  MISC
PX5352                                                                           Goldman NDC Data                                                 MISC
PX5353                                                                           IMSData                                                          MISC
PX5354   20040617   PFIZER_LCASTRO_0028634     PFIZER_LCASTRO_0028728        95 Investigator Brochure                                             MISC
PX5357              PFIZER_LTIVE_0007534       PFIZER_LTIVE_0007592          59 LABELING-LT#4/MAJOR MARKETS/USA                                   MISC
PX5358              PFIZER_LTIVE_0007630       PFIZER_LTIVE_0007638           9 LEGAL-LT#4/MAJOR MARKETS/USA                                      MISC
PX5359              PFIZER_LCASTRO_0074739     PFIZER_LCASTRO_0074741         3 LUCY CASTRO DAY FILE 2002                                         MISC
PX5361                                                                           Pfizer Neurontin Medical Lit Database                            MISC
PX5362   20040813   PFIZER_LCASTRO_0041937     PFIZER_LCASTRO_0041938         2 MISSING NARRATIVES                                                MISC
PX5364   20040116   PFIZER_LALPHS_0011499      PFIZER_LALPHS_0011534         36 Narratives of Adverse Events Occurring During Clinical Pharmacology MISC
                                                                                and Clinical Studies Considered Serious by
PX5365                                                                          NDC                                                                 MISC
PX5373   20010615   PFIZER_CTAYLOR_0012930     PFIZER_CTAYLOR_0012976        47 Neurontin Capsules, Tablets and Oral Solution                     MISC
PX5378              PFIZER_LTIVE_0009068       PFIZER_LTIVE_0009091          24 NEURONTIN INVESTIGATIONAL BROCHURE-LT#1/MEDICAL                   MISC


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Ex#      Date       Beg Bates                End Bates                Pages Description                                                             Exhibit Source
PX5381   20030116   PFIZER_LTIVE_0031180     PFIZER_LTIVE_0031180         1 Neurontin Monthly US Performance Report                                 MISC
PX5386   20001020   PFIZER_LTIVE_0027152     PFIZER_LTIVE_0027169        18 No Slide Title                                                          MISC
PX5388   20010906   PFIZER_LTIVE_0028397     PFIZER_LTIVE_0028475        79 No Slide Title                                                          MISC
PX5389   20020114   PFIZER_LTIVE_0028729     PFIZER_LTIVE_0028757        29 No Slide Title                                                          MISC
PX5392   20010315   PFIZER_MHAUBEN_0000123   PFIZER_MHAUBEN_0000125       3 Objective: With the post marketing use of gabapentin with patients      MISC
                                                                            other than epilepsy it is important to identify whether these
                                                                            popuylations may be particularly susceptible to specific to specific
                                                                            advdrser drug effects goth labeled and unlabeld and to i
PX5394                                                                      MERLIN                                                                  MISC
PX5395                                                                       Pande Audio                                                            MISC
PX5397   19970328                                                       293 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/1996
PX5398   19990326                                                       140 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/1998
PX5399   20000327                                                       141 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/1999
PX5400   20020328                                                       137 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/2001
PX5401   20030327                                                       156 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/2002
PX5402   20040310                                                       169 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/2003
PX5403   20050328                                                       200 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/2004
PX5404   20050301                                                       184 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/2005
PX5405   20070301                                                       191 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/2006
PX5406   20080229                                                       223 Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/2007
PX5407                                                                      Pfizer Inc - PFE Annual report which provide a comprehensive            SEC
                                                                            overview of the company for year ending 12/31/2008
PX5408   20040507                                                        51 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                            the company's financial position for quarter ending 03/28/2004
PX5409                                                                      Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                            the company's financial position for quarter ending 03/29/2009
PX5410   20020515                                                        42 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                            the company's financial position for quarter ending 03/31/2002
PX5411   20010515                                                        46 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                            the company's financial position for quarter ending 04/01/2001
PX5412   20030813                                                        42 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                            the company's financial position for quarter ending 06/29/2003
PX5413   20010814                                                        52 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                            the company's financial position for quarter ending 07/01/2001
PX5414   20000815                                                        38 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                            the company's financial position for quarter ending 07/02/2000
PX5415   20031112                                                        54 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                            the company's financial position for quarter ending 09/28/2003


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Ex#      Date       Beg Bates                 End Bates                 Pages Description                                                             Exhibit Source
PX5416   20021113                                                          53 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                              the company's financial position for quarter ending 09/29/2002
PX5417   20011113                                                          53 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                              the company's financial position for quarter ending 09/30/2001
PX5418   20001115                                                          39 Pfizer Inc - PFE Quarterly report which provides a continuing view of   SEC
                                                                              the company's financial position for quarter ending 10/01/2000
PX5423   20000922   PFIZER_LTIVE_0027070      PFIZER_LTIVE_0027085         16 PMO-Pillar Training                                                     MISC
PX5424              PFIZER_LTIVE_0010009      PFIZER_LTIVE_0010015          7 PMP                                                                     MISC
PX5426   20011101   PFIZER_LKNAPP_0014452     PFIZER_LKNAPP_0014476        25 PowerPoint Presentation                                                 MISC
PX5432   20030303   PFIZER_CTAYLOR_0019237    PFIZER_CTAYLOR_0019238        2 RE: GABAergic"" & a2d compounds""                                       MISC
PX5434   20010914   PFIZER_RGLANZMAN_0040034 PFIZER_RGLANZMAN_0040036       3 RE: GBP - post amputation pain                                          MISC
PX5436   20030612   PFIZER_LTIVE_0033369      PFIZER_LTIVE_0033369          1 RE: names of reviewers for Neurontin publications                       MISC
PX5437   20030612   PFIZER_LTIVE_0033375      PFIZER_LTIVE_0033375          1 RE: names of reviewers for Neurontin publications                       MISC
PX5438   20030117   PFIZER_LTIVE_0031255      PFIZER_LTIVE_0031257          3 Re: National Public Radio- NEURONTIN Story to be aired TONIGHT MISC
PX5440   20040823   PFIZER_THO_0005259        PFIZER_THO_0005260            2 RE: Neurontin FDA Response                                              MISC
PX5441   20020523   PFIZER_CTAYLOR_0017230    PFIZER_CTAYLOR_0017231        2 RE: Neurontin PHN sNDA; labeling: mechanism of action                   MISC
PX5449                                                                         RR Database                                                            MISC
PX5450              PFIZER_LTIVE_0009745      PFIZER_LTIVE_0009746          2 SAFETY                                                                  MISC
PX5451                                                                         ShelockDatabase                                                        MISC
PX5452   20010214   PFIZER_LTIVE_0027785      PFIZER_LTIVE_0027811         27 SOP 6-010                                                               MISC
PX5453   20040116   PFIZER_LALPHS_0011484     PFIZER_LALPHS_0011498        15 Study Number                                                            MISC
PX5651              PFIZER_LTIVE_0013173      PFIZER_LTIVE_0013176          4 UNTITLED                                                                MISC
PX5652              PFIZER_LTIVE_0013442      PFIZER_LTIVE_0013445          4 UNTITLED                                                                MISC
PX5653                                                                         Verispan                                                               MISC
PX5654                                                                         "All it takes is one" audio file                                       MISC
PX5655                                                                         "Neurontin Push" audio file                                            MISC
PX5656                                                                         "Liason Use" audio file                                                MISC
PX5657                                                                         Letter to Robert Gibbons From J.T. Coyle Dated 2/2/2009                Expert Report: Greenland,
                                                                                                                                                      Sander 05/31/2009
PX5658                                                                         Letter to Robert Gibbons From J.T. Coyle Dated 4/27/2009               Expert Report: Greenland,
                                                                                                                                                      Sander 05/31/2009
PX5659                                                                         Letter from Robert Gibbons to the editor of Archives of General        Expert Report: Greenland,
                                                                               Psychiatry dated 3/15/2009                                             Sander 05/31/2009
PX5661              PFIZER_MEVERTSZ_0131355   PFIZER_MEVERTSZ_0133814          Neurontin Periodic Report 8/19/2005 to 8/18/2006                       MISC
PX5662   20071206                                                          48 PPT Presentation_Tetrabenazine New Drug Application 21-894              MISC
PX5664   20040513                                                          15 Sentencing of case_USA v. Warner-Lambert Company, LLC                   MISC



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Ex#      Date       Beg Bates                   End Bates                   Pages Description                                                          Exhibit Source
PX5665                                                                             September 2008 FDA Health Case Alert on Phenergan (Promethazine) MISC
PX5666   20081217                                                               3 Internet Article_Suicidal Thoughts and Behavior: Antiepileptic Drugs- MISC
                                                                                  Full Version
PX5667                                                                         23 Research Report_Supplemental Data Gabapentin Receptor (alpha-2-       MISC
                                                                                  delta)-1 Is a Neuronal Thrombospondin Receptor Responsible for
                                                                                  Excitatory CNS Synaptogenesis
PX5669                                                                            PLEA AGREEMENT                                                        MISC
PX5670   20090505                                                               3 U.S. Food and Drug Administration Internet Article_Suicidal Behavior MISC
                                                                                  and Ideation and Antiepileptic Drugs
PX5671   20090828                                                              48 Settlement Agreement with Pfizer                                     MISC
PX5672   20040609                                                               3 Judgement of case_USA v. Warner-Lambert Company, LLC                 MISC
PX5673   20040513                                                               8 Letter sent from Michael Sullivan_re: Warner-Lambert Company LLC MISC
PX5674              MDL_VENDORS_008830          MDL_VENDORS_008898             69 Parke-Davis Pain AD Board                                            MISC
PX5675              MDL_VENDORS_052129          MDL_VENDORS_052261            133 Antiepileptic Drug Trials III 3/14/96                                MISC
PX5676              MDL_VENDORS_064908          MDL_VENDORS_064910              3 Neurobehavioral Sciences Working Group                               MISC
PX5677              MDL_VENDORS_103396          MDL_VENDORS_103399              4 5/7/99 Intramed Fax                                                  MISC
PX5678              PFIZER_AFANNON_0008510      PFIZER_AFANNON_0008539         30 7/31/95 Neurontin Marketing Assessment                               MISC
PX5679   20021111   Pfizer_BParsons_0002523     Pfizer_BParsons_0002525         3 Email sent from Allison Fannon_re: Gabapentin Chapter Review-        MISC
                                                                                  Treatment of Epilepsy
PX5680              Pfizer_BParsons_0022962     Pfizer_BParsons_0022965         4 Neurontin 2004 US Strategic Clinical Operating Plan Draft            MISC
PX5681   20011005   Pfizer_BParsons_0092302     Pfizer_BParsons_0092375        74 Neurontin 2002 Operating Plan                                        MISC
PX5682              PFIZER_CGROGAN_0015433      PFIZER_CGROGAN_0015434          2 Neurontin Speaker Training 8/10/2002                                 MISC
PX5683              Pfizer_CWohlhuter_0013192   Pfizer_CWohlhuter_0013238      48 Presentation Slides                                                  MISC
PX5684   20031121   Pfizer_CWohlhuter_0045553   Pfizer_CWohlhuter_0045553       2 Email sent to Allison Fannon; Timothy Hsu from Claire Wohlhuter_re: MISC
                                                                                  Joint NeP/Fibro/LCP
PX5685              PFIZER_DPROBERT_0016950     PFIZER_DPROBERT_0016983        34 Neurontin National Meeting Roster                                   MISC
PX5686   20020222   Pfizer_DProbert_0024907     Pfizer_DProbert_0024919        13 Neuropathic Pain Advisory Board Meeting_General Sessions and         MISC
                                                                                  Workshops Summary
PX5687   20001012   Pfizer_DProbert_0028501     Pfizer_DProbert_0028501         1 Letter addressed to Allison Fannon_re: Progress in Pain Management   MISC
                                                                                  for Primary Care Physicians
PX5688              Pfizer_DProbert_0028563     Pfizer_DProbert_0028627        65 Neurontin Action Plan_POA2-2004                                      MISC
PX5689              Pfizer_JBurrell_000073      Pfizer_JBurrell_000073          1 Neurontin POA Goals Marketing Contest Flyer                          MISC
PX5690   20010816   Pfizer_JSu_0032011          Pfizer_JSu_0032016              6 Email sent from Susanne Batesko_re: Neurontin Publications Report    MISC
PX5691   20030514   Pfizer_LCastro_0043191      Pfizer_LCastro_0043231         41 Final Report_Pfizer Italia S.r.l._Double-Blind, placebo controlled,    MISC
                                                                                  randomized, multicenter study on the efficacy and safety of gabapentin
                                                                                  (Neurontin) as adjuvant analgesic in neuropathic pain in patients with
                                                                                  malignancies_Protocol No. 945-420276
PX5692   19990601   Pfizer_LeslieTive_0008869   Pfizer_LeslieTive_0009673     805 Clinical Expert Report_Neurontin Neuropathic Pain                      MISC
PX5693   20030108   Pfizer_LeslieTive_0076467   Pfizer_LeslieTive_0076479      13 Presentation Slides_Neurontin Global Goal Alignment 2003             MISC


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Ex#      Date       Beg Bates                    End Bates                    Pages Description                                                              Exhibit Source
PX5694   20011107   Pfizer_LKnapp_0050948        Pfizer_LKnapp_0050948            1 Email sent from Lloyd Knapp_re: QOL abstract for AAN                     MISC
PX5695              Pfizer_MDL_Shearer_0043422   Pfizer_MDL_Shearer_0043429       8 PHN Advisory Board Meeting Summary                                       MISC
PX5696              Pfizer_MDL_Shearer_0043430   Pfizer_MDL_Shearer_0043430       1 Attendee List                                                            MISC
PX5697              Pfizer_Mfagan_0000001        Pfizer_Mfagan_00000037          37 Presentation_Treating the Migraine Patient: An Internist's Perspective   MISC
                                                                                    by Redonda Miller
PX5698              Pfizer_Mfagan_00000038       Pfizer_Mfagan_00000041           4 Presentation Slides_Neurontin vs. Lyrica                                 MISC
PX5699   20030617   Pfizer_Mfagan_00000042       Pfizer_Mfagan_00000042           1 Email sent from Alisaar Tubolino_re: Neurontin + Opiods                  MISC
PX5700   19981130   Pfizer_Mfagan_00000043       Pfizer_Mfagan_00000050           8 Internet Article_Gabapentin as an Adjuvant to Opiod Analgesia for        MISC
                                                                                    Neuropathic Cancer Pain
PX5701              Pfizer_Mfagan_0000051        Pfizer_Mfagan_0000244          194 Michael Fagan's Entire Custodial File                                    MISC
PX5702   20030627   Pfizer_MPatel_0013990        Pfizer_MPatel_0014082           93 A Double-blind Placebo-controlled trial of Gabapentin for treatment of MISC
                                                                                    Painful diabetic peripheral neuropathy
PX5703   20010115   Pfizer_RGlanzman_0063383     Pfizer_RGlanzman_0063417        35 Protocol Template                                                      MISC
PX5704              Pfizer_RGlanzman_0135187     Pfizer_RGlanzman_0135198        12 Neurontin Indication Discussion Slides                                   MISC
PX5705              Pfizer_SDoft_0022494         Pfizer_SDoft_0022505            12 Neuropathic Pain Advisory Board Meeting_General Session Summary MISC
PX5706              PFIZER_SDOFT_0064445         PFIZER_SDOFT_0064445             1 3/29/2004 Memo From Suzanne Doft                                         MISC
PX5707              Pfizer_SPiron_0024807        Pfizer_SPiron_0025033          227 Neurontin Educational Slide Kit                                          MISC
PX5708              PFIZER_THO_0000863           PFIZER_THO_0000868               6 Backonja, M. et. al. Gabapentin for the Symptomatic Treatment of         MISC
                                                                                    Painful Neuropathy in Patients with Diabetes Mellitus. JAMA 1998;
                                                                                    280(21): 1831-1836.
PX5709              Pfizer_Wohlber_012522        Pfizer_Wohlber_012531           10 Gibbons' Neurontin Study Proposal 2008                                   MISC
PX5710              Pfizer_Wohlber_012772        Pfizer_Wohlber_012773            2 Notes from 2008 Harvard Presentation of Robert Gibbons                   MISC
PX5711              Pfizer_Wohlberg_013808       Pfizer_Wohlberg_013815           8 PFE Neurontin Back-up Slides                                             MISC
PX5712   20080423   Pfizer_Wohlberg_019343       Pfizer_Wohlberg_019344           2 Email sent from Kevin Phelan_re: BD Section on AED Usage                 MISC
PX5713   20080404   Pfizer_Wohlberg_019526       Pfizer_Wohlberg_019527           2 Email sent to Christopher Wohlberg from Ed Whalen_re: update             MISC
PX5714   20060811   Pfizer_Wohlberg_050250       Pfizer_Wohlberg_050261          12 Clinical Protocol Synopsis_Protocol Number A0081047                      MISC
PX5715              RR 720-03495                                                     Research Report 720-03495                                               MISC
PX5716   19930501   WLC_CBU_000000               WLC_CBU_000000                   3 Neurontin Product Monograph                                              MISC
PX5717              WLC_CBU_000168               WLC_CBU_000172                   5 Broadening the Neuropathic Pain Algorithm Invitation 12/7/98             MISC
PX5718              WLC_CBU_032919               WLC_CBU_032922                   4 12/1/98 Press Release                                                    MISC
PX5719              WLC_CBU_092827               WLC_CBU_092830                   4 12/3/98 Fax from K. Lewis to Laura Johnson                               MISC
PX5720              WLC_CBU_132158               WLC_CBU_132248                  91 12/8/97 Memo From Vic Delimata                                           MISC
PX5721              WLC_CBU_170739               WLC_CBU_170744                   6 3/14/95 Meeting Minutes                                                  MISC
PX5722              WLC_FRANKLIN_0000031981      WLC_FRANKLIN_0000031992         12 3/22/96 Meeting Participant List                                         MISC
PX5723              WLC_FRANKLIN_0000039703      WLC_FRANKLIN_0000039710          8 7/12/95 Letter from Frary to Rizzo                                       MISC


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Ex#      Date         Beg Bates                   End Bates                   Pages Description                                                                Exhibit Source
PX5724   19950412     WLC_FRANKLIN_0000039703     WLC_FRANKLIN_0000039710         8 letter from Tracy Frary (Miguara Kaplan Assoc) to J Rizzo (P-D) re:        MISC
                                                                                    topline assessment of the results of the Quantitiative Evaluation of the
                                                                                    Opportunity for Neurontin
PX5725                WLC_FRANKLIN_0000042225     WLC_FRANKLIN_0000042225         1 P-D Portfolio Management Dinners                                           MISC
PX5726                WLC_FRANKLIN_0000053520     WLC_FRANKLIN_0000053526         7 9/18/95 Memo From Griffin to Ulrich                                        MISC
PX5727                WLC_FRANKLIN_0000063467     WLC_FRANKLIN_0000063474         8 8/6/97 Letter from Johnson to Dobson                                       MISC
PX5728                WLC_FRANKLIN_0000067262     WLC_FRANKLIN_0000067277        16 3/4/96 Memo from Johnson to Krukar                                         MISC
PX5729                WLC_FRANKLIN_0000072447     WLC_FRANKLIN_0000072448         2 Neurontin Advocates                                                        MISC
PX5730                WLC_FRANKLIN_0000087766     WLC_FRANKLIN_0000087900       135 PD Post Investigators Meeting 945-211                                      MISC
PX5731                WLC_FRANKLIN_0000092062     WLC_FRANKLIN_0000092082        21 Epilepsy Disease Speakers Bureau                                           MISC
PX5732   19950519     WLC_FRANKLIN_0000223121     WLC_FRANKLIN_0000223180        60 Neurontin Marketing Assessment in Psychiatric Disorders                    MISC
PX5733                WLC_FRANKLIN_0000223121     WLC_FRANKLIN_0000223180        60 5/19/95 Neurontin Marketing Assessment Psych Disorders                     MISC
PX5747                N/A                         N/A                                USA vs. Warner-Lambert Company LLC                                        Depo Exhibit: Taylor, Charles
                                                                                                                                                               8/27/2009 EX:032
PX5748                N/A                         N/A                                Judgement for USA vs. Warner-Lambert Company LLC                          Depo Exhibit: Taylor, Charles
                                                                                                                                                               8/27/2009 EX:033
PX5749                Pfizer_CTaylor_0001427      Pfizer_CTaylor_0001429             Pfizer Global Research and Development Memorandum: A capsule              Depo Exhibit: Taylor, Charles
                                                                                     history of the alpha-2-delta story                                        8/27/2009 EX:035
PX5750                Pfizer_CTaylor_0017041      Pfizer_CTaylor_0017069             PPT: The Q3 alpha-2-delta Ligand Project                                  Depo Exhibit: Taylor, Charles
                                                                                                                                                               8/27/2009 EX:039
PX5752                Pfizer_LTive_0031181        Pfizer_LTive_0031182               Email (January 16, 2003) from John Marino_subj: National Public           Depo Exhibit: Taylor, Charles
                                                                                     Radio- Neurontin Story to be aired Tonight                                8/27/2009 EX:040
PX5753                N/A                         N/A                                Chart: GABA Elevation Does Not Predict Mechanism of Action or             Depo Exhibit: Taylor, Charles
                                                                                     Effects                                                                   8/27/2009 EX:043A
PX5754                N/A                         N/A                                Fax of Depression Study Results                                           Depo Exhibit: Taylor, Charles
                                                                                                                                                               8/27/2009 EX:044
PX5760   5/9/2003     Pfizer_BParsons_0192267     Pfizer_BParsons_0192268         2 Pfizer Meeting Agenda                                                      MISC
PX5761   6/10/2000    MDL_Vendors_056885          MDL_Vendors_056887              3 Faculty Statement of Financial Interests and Affiliations                  MISC
PX5762   12/29/1998   Pfizer_LCastro_0075698      Pfizer_LCastro_0075892          2 Parke-Davis Research Report No: RR 995-00070                               MISC
PX5763   1/18/2001    Pfizer_LTive_0013795        Pfizer_LTive_0013795            1 Letter from David Murphy re: Pain Disease State Management                 MISC
                                                                                    Proposal from Key Opinion Leader
PX5764                WLC_CBU_000168              WLC_CBU_000172                  5 Invitation to dinner program: Broadening the Neuropathic Pain              MISC
                                                                                    Treatment Algorithm
PX5765   11/6/2002    Pfizer_CWohlhuter_0011993   Pfizer_CWohlhuter_0012012      20 Neurontin Publication Planning and Execution                               MISC
PX5766                Pfizer_TMF_CRF_074113       Pfizer_TMF_CRF_074125          13 Curriculum Vitae of Edgar L. Ross                                          MISC
PX5767   4/22/1996    Pfizer_TMF_CRF_074177       Pfizer_TMF_CRF_074178           2 Parke-Davis Medical Research Protocol for Clinical Research Trial          MISC
PX5768   5/12/1999    WLC_CBU_028618              WLC_CBU_028624                  7 Memorandum re: Updated Speaker Lists                                       MISC
PX5769   2/1/2002     Pfizer_SDoft_0012058        Pfizer_SDoft_0012059            2 MAP-PM 2002 Advisory Board Meeting Agenda                                  MISC
PX5770   08/00/2000   Pfizer_DProbert_0028466     Pfizer_DProbert_0028473         8 Article:Neuropathic Pain: The Evolving Role of Anticonvulsants in          MISC
                                                                                    Pain Management
PX5771                WLC_CBU_045720              WLC_CBU_045727                  8 PPT NeuroBehavioral Working Group                                          MISC

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Ex#      Date         Beg Bates                    End Bates                    Pages Description                                                                 Exhibit Source
PX5772                WLC_CBU_072904               WLC_CBU_072923                  20 The Evolving Role of Anticonvulsants in Pain Management by Edgar            MISC
                                                                                      L. Ross
PX5773   1/18/2001    Pfizer_LTive_0013795         Pfizer_LTive_0013821            27 Letter from David Murphy re: Pain Disease State Management                  MISC
                                                                                      Proposal from Key Opinion Leader
PX5774   6/7/2000     MDL_Vendors_073013           MDL_Vendors_073017               5 Letter sent from E. Ross to Marilyn Abel re: Pain Programs in July          MISC
PX5775   5/31/2000    WLC_CBU_040534               WLC_CBU_040579                  46 Neurontin Update                                                            MISC
PX5776   6/8/2000     MDL_Vendors_073009           MDL_Vendors_073012               4 Letter sent from Marilyn Abel to E. Ross re: Re your checks                 MISC
PX5777   8/15/2006                                                                 11 Narrative Review: The Promotion of Gabapentin: An Analysis of               MISC
                                                                                      Internal Industry Documents
PX5778   03/12/2001   Pfizer_MDL_Shearer_0007920   Pfizer_MDL_Shearer_0007926         Letter from James Rouhandeh to Susan Hanson-Philbrick                       MISC
PX5779   03/29/2004   Pfizer_MDL_Shearer_0043422   Pfizer_MDL_Shearer_0043429          PHN Advisory Board Meeting                                                 MISC
PX5780   00/00/0000   Pfizer_MDL_Shearer_0043430   Pfizer_MDL_Shearer_0043430          Attendee List                                                              MISC
PX5781   01/31/2008   Pfizer_Wohlberg_011886       Pfizer_Wohlberg_011887              Communications Action Plan re:FDA Review of Labelling                      MISC
PX5782   00/00/0000   Pfizer_Wohlberg_011914       Pfizer_Wohlberg_011923              Pfizer Response To FDA Alert on Suicidality                                MISC
PX5783   03/14/2008   Pfizer_Wohlberg_012085       Pfizer_Wohlberg_012101              AED Executive Committee Presentation                                       MISC
PX5784   04/11/2008   Pfizer_Wohlberg_012157       Pfizer_Wohlberg_012171              AED EC Update                                                              MISC
PX5785   04/18/2008   Pfizer_Wohlberg_012172       Pfizer_Wohlberg_012182              ELT Update                                                                 MISC
PX5786   02/10/2008   Pfizer_Wohlberg_012224       Pfizer_Wohlberg_012226              Minutes of Lyrica/Neurontin Product Meeting                                MISC
PX5787   00/00/0000   Pfizer_Wohlberg_012522       Pfizer_Wohlberg_012531              Study Protocol                                                             MISC
PX5788   00/00/0000   Pfizer_Wohlberg_012772       Pfizer_Wohlberg_012773              Statistical Issues in Drug Safety: The curious case of anti-depressants,   MISC
                                                                                       anti-epilespy drugs?? and suicide
PX5789   10/14/2009   Pfizer_Wohlberg_013717       Pfizer_Wohlberg_013752              PowerPoint Presentation: Suicidality and Anti-Epileptic Drugs              MISC
PX5790   12/19/2008   Pfizer_Wohlberg_013756       Pfizer_Wohlberg_013807              PhRMA Suicidality White Paper                                              MISC
PX5791   06/19/2008   Pfizer_Wohlberg_013997       Pfizer_Wohlberg_013997              Chart of Gabapentin Reporting Rates                                        MISC
PX5792   06/23/2008   Pfizer_Wohlberg_014100       Pfizer_Wohlberg_014141              Presentation to Pharmacovigilance Working Party                            MISC
PX5793   00/00/0000   Pfizer_Wohlberg_018662       Pfizer_Wohlberg_018672              AED Advisory Committee Communications Plan                                 MISC
PX5794   04/23/2008   Pfizer_Wohlberg_019343       Pfizer_Wohlberg_019344              Email from Phelan to Hakkinen                                              MISC
PX5795   04/04/2008   Pfizer_Wohlberg_019526       Pfizer_Wohlberg_019527              Email from Whalen to Wohlberg Re: update                                   MISC
PX5796   03/22/2008   Pfizer_Wohlberg_019883       Pfizer_Wohlberg_019886              Email From Romano to Phelan ReL Update on Israel MOH request               MISC
PX5797   02/18/2008   Pfizer_Wohlberg_020042       Pfizer_Wohlberg_020044              Email from Scheer to Wohlberg Re: Russ Portenoy                            MISC
PX5798   02/04/2008   Pfizer_Wohlberg_020237       Pfizer_Wohlberg_020238              Email from Knapp to Wohlberg Rel FDA Alert                                 MISC
PX5799   02/01/2008   Pfizer_Wohlberg_020294       Pfizer_Wohlberg_020298              Email from Barrett to Wohlberg                                             MISC
PX5800   07/21/1999   Pfizer_Wohlberg_020650       Pfizer_Wohlberg_020651              Email from Wohlberg to Rodriguez Re:Social phobia                          MISC
PX5801   02/01/2008   Pfizer_Wohlberg_021482       Pfizer_Wohlberg_021483              Email from Wohlberg to Bykoriz Re; Postmarketing Reports                   MISC
PX5802   03/19/2008   Pfizer_Wohlberg_022265       Pfizer_Wohlberg_022272              Memo from Eng to Suicidality Assessment Work Group                         MISC

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Ex#      Date         Beg Bates                End Bates                Pages Description                                                           Exhibit Source
PX5803   07/10/2008   Pfizer_Wohlberg_023026   Pfizer_Wohlberg_023028          Email from Whlberg to Bijlani ReL FYI AC Members                     MISC
PX5804   06/09/2008   Pfizer_Wohlberg_023676   Pfizer_Wohlberg_023677          Email from Wohlberg to French Re: Suicidality and AED meeting.       MISC
PX5805   06/05/2008   Pfizer_Wohlberg_023702   Pfizer_Wohlberg_023703          Email from Wohlberg to Cox Re: Lyrica                                MISC
PX5806   06/02/2008   Pfizer_Wohlberg_023812   Pfizer_Wohlberg_023813          Suicidality and Anti-Epileptic Drugs Agenda                          MISC
PX5807   00/00/0000   Pfizer_Wohlberg_023835   Pfizer_Wohlberg_023835          Faculty                                                              MISC
PX5808   00/00/0000   Pfizer_Wohlberg_024478   Pfizer_Wohlberg_024484          Minutes from the March 23-24, 2009 Suicidality Consensus             MISC
                                                                               Conference
PX5809   03/31/2009   Pfizer_Wohlberg_025059   Pfizer_Wohlberg_025059          Email from Wohlberg to Brandicourt re: FDA teleconference            MISC
PX5810   06/25/2008   Pfizer_Wohlberg_025176   Pfizer_Wohlberg_025189          PhVWP Review of AEDs                                                 MISC
PX5811   08/18/2008   Pfizer_Wohlberg_025239   Pfizer_Wohlberg_025308          Letter from Bartley to Gonzales: Response to Outstanding Questions   MISC
PX5812   00/00/0000   Pfizer_Wohlberg_026046   Pfizer_Wohlberg_026057          Antiepileptics and suicide-related PTs/SMQs FDA FOI AERS Q4          MISC
                                                                               2007 Non clinical trial cases
PX5813   06/19/2008   Pfizer_Wohlberg_026328   Pfizer_Wohlberg_026328          Reporting Rate For Suicide Chart                                     MISC
PX5814   06/19/2008   Pfizer_Wohlberg_026329   Pfizer_Wohlberg_026329          Report Rate For Suicide Chart                                        MISC
PX5815   06/19/2008   Pfizer_Wohlberg_026430   Pfizer_Wohlberg_026430          Reporting Reate For Suicide Chart                                    MISC
PX5816   06/19/2008   Pfizer_Wohlberg_026431   Pfizer_Wohlberg_026431          Reporting Rate For Suicide                                           MISC
PX5817   02/15/2008   Pfizer_Wohlberg_027104   Pfizer_Wohlberg_027109          Dear Investigator Letter                                             MISC
PX5818   02/12/2008   Pfizer_Wohlberg_028308   Pfizer_Wohlberg_028311          Email from Garofalo to Knapp re: Safety Alert                        MISC
PX5819   07/10/2008   Pfizer_Wohlberg_030690   Pfizer_Wohlberg_030713          Presentation to Combined Advisory Committee                          MISC
PX5820   06/05/2008   Pfizer_Wohlberg_030855   Pfizer_Wohlberg_030856          email from Cox to Wohlberg Re: Slide 8                               MISC
PX5821   06/02/2008   Pfizer_Wohlberg_031382   Pfizer_Wohlberg_031383          Email from Chappell to Wohlberg re: AED and FDA                      MISC
PX5822   09/26/2007   Pfizer_Wohlberg_037687   Pfizer_Wohlberg_037688          Email from Zeiher to Wohlberg re: Feedback Appreciated               MISC
PX5823   06/19/2007   Pfizer_Wohlberg_038121   Pfizer_Wohlberg_038121          Email from Schwizer to Wohlberg Re: Neurontin Project                MISC
PX5824   07/06/2007   Pfizer_Wohlberg_038159   Pfizer_Wohlberg_038161          Email from Whalen to Gooch                                           MISC
PX5825   04/03/2009   Pfizer_Wohlberg_038879   Pfizer_Wohlberg_038880          Email from Feltner to Wohlberg re: Jackie French suicidality methods MISC
                                                                               study
PX5826   04/03/2009   Pfizer_Wohlberg_038885   Pfizer_Wohlberg_038887          Email from Wohlberg to Knapp Re: Jackie French suicidality methods MISC
                                                                               study
PX5827   12/15/2008   Pfizer_Wohlberg_046322   Pfizer_Wohlberg_046322          email from Richardson to Wohlberg Rel AED EC Agenda                  MISC
PX5828   00/00/2005   Pfizer_Wohlberg_069373   Pfizer_Wohlberg_069390          Strategic Risk Management Plan                                       MISC
PX5829   05/08/2006   Pfizer_Wohlberg_078291   Pfizer_Wohlberg_078291          Email from Wohlberg to Garcia: ReL So I'm having trouble going to    MISC
                                                                               sleep
PX5830   04/22/2009   Pfizer_Wohlberg_080303   Pfizer_Wohlberg_080306          Lyrica/AED Class Labeliing Media Statement                           MISC
PX5831   01/31/2008   Pfizer_Wohlberg_082643   Pfizer_Wohlberg_082644          Communications Action Plan re:FDa Alert                              MISC
PX5832   06/04/2008   Pfizer_Wohlberg_090003   Pfizer_Wohlberg_090004          Email from Roman to Wohlberg re: WSJ Blog                            MISC
PX5833   12/17/2008   Pfizer_Wohlberg_095326   Pfizer_Wohlberg_095326          Email from Cox re: Summary of AED Media Coverage                     MISC

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Ex#      Date         Beg Bates                   End Bates                   Pages Description                                                         Exhibit Source
PX5834   01/28/2009   Pfizer_Wohlberg_102618      Pfizer_Wohlberg_102642             Pfizer Product Training-Lyrica                                     MISC
PX5835   11/04/2008   Pfizer_Wohlberg_106408      Pfizer_Wohlberg_106427             Gabapentin RMC Meeting                                             MISC
PX5836   01/30/2008   Pfizer_Wohlberg_109329      Pfizer_Wohlberg_109332             Email from Kremer to Glue re: Assessment of Suicidality            MISC
PX5837   00/00/0000   Pfizer_Wohlberg_109409      Pfizer_Wohlberg_109421             Regulatory Update for AED Executive Committee Meeting              MISC
PX5838   00/00/0000   Pfizer_Wohlberg_111103      Pfizer_Wohlberg_111103             Email from Stampp to DL-Lyrica re : 2005 Lyrica GPP                MISC
PX5839   03/14/2004   Pfizer_Wohlberg_111104      Pfizer_Wohlberg_111111             Lyrica 2005 Global Product Plan                                    MISC
PX5840   02/23/2009   Pfizer_Wohlberg_114129      Pfizer_Wohlberg_114130             CIOMS-I Report                                                     MISC
PX5841   03/07/2006   Pfizer_Wohlberg_114137      Pfizer_Wohlberg_114158             Lyrica Clinical Trial Evaluation                                   MISC
PX5842   04/24/2006   Pfizer_Wohlberg_114312      Pfizer_Wohlberg_114365             Lyrica Additional Clinical Trials                                  MISC
PX5843   00/00/0000   Pfizer_Wohlberg_114814      Pfizer_Wohlberg_114887             Post-Marketing Gabapentin Cumulative Review of Suicidality         MISC
PX5844   00/00/0000   Pfizer_Wohlberg_115238      Pfizer_Wohlberg_115240             AED AC BOP Scenarios                                               MISC
PX5845   03/22/2009   Pfizer_Wohlberg_155923      Pfizer_Wohlberg_155925             McNamara Email Re: ROC                                             MISC
PX5846   00/00/0000   Pfizer_Wohlberg_155938      Pfizer_Wohlberg_155943             FDA ANALYSIS ON ANTIEPILEPTIC DRUGS AND RISK OF                    MISC
                                                                                     SUICIDALITY
PX5847   00/00/0000   Pfizer_Wohlberg_157544      Pfizer_Wohlberg_157545             Medication Guide                                                   MISC
PX5848   01/24/2001   Pfizer_Wohlberg_162524      Pfizer_Wohlberg_162530             Email from McKinnell re: Fourth quarter and Full Year 2000 Financial MISC
                                                                                     Results
PX5849                WLC_CBU_123550              WLC_CBU_123553                     Neurontin Studies/ JAMA Video News Release                           MISC
PX5850                                                                               MAC Communications Neurontin Powerpoint Dated 10/21/2002
PX5851                Pfizer_Lcastro_0073854      Pfizer_Lcastro_0073858            Article: The Effect of Gabapentin on Brain Gamma-aminobutyric Acid Depo Exhibit: Glenmullen,
                                                                                    in Patients with Epilepsy                                          Joseph 1/11/2010 EX:007
PX5852                Pfizer_CTaylor_0007138      Pfizer_CTaylor_0007139            Article: Gabapentin raises human brain GABA within thirty minutes  Depo Exhibit: Glenmullen,
                                                                                                                                                       Joseph 1/11/2010 EX:008
PX5853                N/A                         N/A                               Review and Evaluation of Clinical Data re: Neurontin               Depo Exhibit: Hynes, Wilfred
                                                                                                                                                       11/13/2009 EX:010
PX5854                N/A                         N/A                               Settlement Agreement                                               Depo Exhibit: Hynes, Wilfred
                                                                                                                                                       11/13/2009 EX:007
PX5855                Pfizer_CWohlhuter_0029851   Pfizer_CWohlhuter_0029894      44 Neurontin Mid-POA1 February 3, 2004                                MISC
PX5856                Pfizer_LeslieTive_0068871   Pfizer_LeslieTive_0068922      52 Neurontin 2003 Strategic Planning Meeting                           MISC
PX5857                Pfizer_RGlanzman_0072024    Pfizer_RGlanzman_0072150      127 Neurontin 2001 US Operating Plan October 11, 2000                   MISC
PX5858                Pfizer_SPiron_0023041       Pfizer_SPiron_0023042           2 Email sent from John Marino October 16, 2001 re: Gabapentin         MISC
                                                                                    Neuropathic Pain Indication
PX5859                Pfizer_TMF_CRF_045908                                       1 Handwritten Notes re: Meeting with Leslie and Paula P.              MISC
PX5860                WLC_CBU_011128              WLC_CBU_011141                 14 Gabapentin Presentation                                             MISC
PX5861                WLC_CBU_089566              WLC_CBU_089575                 10 Precision Marketing Fax to Edda Guerrero from Lawton Griffin       MISC
                                                                                    8/21/1995 re: AED report on the STEPS Physicians
PX5862                WLC_CBU_091696              WLC_CBU_091700                  5 Parke-Davis Memo to John Marino 7/24/2000 re: Neurontin Market     MISC
                                                                                    Research: Rheumatologists and Orthopedists who prescribe Neurontin
PX5863                WLC_CBU_106901              WLC_CBU_106906                  6 1998 Strategic Plan and A&P Allocation Grid for Neurontin          MISC

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Ex#      Date   Beg Bates                 End Bates                 Pages Description                                                          Exhibit Source
PX5864          WLC_CBU_166434                                          1 SE-CBU Neurontin 2000 A&P Budget                                     MISC
PX5865          WLC_CBU_166593            WLC_CBU_166599                7 Boron-Lepore Neurontin Conferences_132 MDs with ME#s, Events         MISC
                                                                          held in Oct 97
PX5866          WLC_FRANKLIN_0000091673   WLC_FRANKLIN_0000091737      65 Parke-Davis Email with attachments sent to Field Sales Colleagues    MISC
                                                                          from Epilepsy Disease Team re: AEDs Early Adopters
PX5867          WLC_FRANKLIN_0000197869   WLC_FRANKLIN_0000197909      41 Neurontin Presentation                                               MISC
PX5868          WLC_FRANKLIN_0000238095   WLC_FRANKLIN_0000238191      97 Parke-Davis Neurontin Promotional Analyses Presentation_March 13, MISC
                                                                          1995
PX5869                                                                    Antiepileptic drugs and risk of suicide: a nationwide study. Olesen et MISC
                                                                          al. Pharmaceutical and Drug Safety 2010.
PX5870                                                                    Anticonvulsant Medications and the Risk of Suicide, Attempted          MISC
                                                                          Suicide, or Violent Death. Patorno et al. JAMA 303:14 1401




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